Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 1 of 110 PageID #:3787




        EXHIBIT 2
     Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 2 of 110 PageID #:3788

                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION




Afshin Zarinebaf, Zachary Chernik, and Joan
Meyer, individually and on behalf of a class
of similarly situated individuals,

              Plaintiffs,

v.
                                                Case No. 1:18-cv-06951
Champion Petfoods USA, Inc. and
Champion Petfoods LP,

              Defendants.




                              Expert Report of Dominique M. Hanssens
                                          March 29, 2021
 Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 3 of 110 PageID #:3789




                                                        Table of Contents

I.      Qualifications ...................................................................................................................... 1
II.     Case Background, Plaintiffs’ Allegations, and Plaintiffs’ Expert Reports ......................... 2
III.    Assignment and Materials Relied Upon ............................................................................. 6
IV.     Summary of Opinions ......................................................................................................... 7
V.      Overview of Mr. Boedeker’s Conjoint Surveys ............................................................... 11
VI.     Mr. Boedeker’s Theoretical Framework for Economic Loss Does Not Estimate Market
        Prices and Is Unconnected to Plaintiffs’ Price Premium Theory of Damages ................. 16
        A.         Plaintiffs’ Theory of Damages Requires Estimating the Difference, If Any,
                   Between Market Prices in the Actual World and the But-For World ....................16
        B.         Mr. Boedeker Considered Changes to Product Demand Only and Therefore
                   Cannot Measure Market Prices ..............................................................................18
        C.         Mr. Boedeker’s Explanation for Ignoring the Supply Side Is Based on Faulty and
                   Unsupported Assertions .........................................................................................21
                   1.          Mr. Boedeker Misinterprets the Reference Guide on Estimation of
                               Economic Damages .................................................................................. 21
                   2.          Mr. Boedeker’s Fixed Quantity Assertion Is Economically Unsound ..... 23
VII.    Mr. Boedeker’s Conjoint Surveys Cannot Generate Reliable Estimates of Consumer
        Preferences or Demand for At-Issue Products in the Actual World or the But-For World
        ........................................................................................................................................... 26
        A.         Mr. Boedeker’s Survey Samples Are Not Representative of Proposed Class
                   Members and Cannot Be Used to Estimate Their Preferences ..............................26
        B.         Mr. Boedeker’s Survey Instruments Are Fundamentally Flawed .........................35
                   1.          Misrepresentations Surveys ...................................................................... 37
                   2.          Omissions Surveys .................................................................................... 43
VIII.   Mr. Boedeker’s “Market Simulation” Approach Cannot Estimate a Change in Demand
        Attributable to the Alleged Misrepresentations and Omissions, and His Estimates of
        Economic Loss Cannot Be Combined Across His Conjoint Surveys, Lack External
        Validity, and Are Internally Inconsistent .......................................................................... 51
        A.         Mr. Boedeker Cannot Reliably Estimate a Change in Demand Attributable to the
                   Alleged Misrepresentations and Omissions ...........................................................51
        B.         Mr. Boedeker’s Conjoint Surveys Cannot Reliably Estimate Economic Loss for
                   an At-Issue Product with Both Alleged Misrepresentations and Alleged
                   Omissions and Should Not Be Used to Do So .......................................................53
        C.         Mr. Boedeker’s Estimates of Economic Loss Lack External Validity and Are
                   Internally Inconsistent ............................................................................................55
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 4 of 110 PageID #:3790




IX.   Mr. Boedeker’s Expectation Survey Is Fundamentally Flawed and Cannot Provide
      Reliable Information On Consumer Expectations ............................................................ 59
      A.         Overview of Mr. Boedeker’s Expectation Survey .................................................59
      B.         Mr. Boedeker’s Expectation Survey Sample Is Not Representative of Proposed
                 Class Members and Cannot Be Used to Estimate Their Perceptions or Purchase
                 Intentions................................................................................................................64
      C.         Mr. Boedeker’s Expectation Survey Does Not Include a Control Group And Is
                 Subject To Acquiescence Bias; Therefore, It Cannot Reliably Estimate Consumer
                 Perceptions or Purchase Intent for the At-Issue Products ......................................67
      D.         Mr. Boedeker Failed To Pretest His Expectation Survey ......................................71
X.    Mr. Silverman’s Opinions on Consumer Perceptions and Purchase Decisions Related to
      the Alleged Misrepresentations and Omissions Lack Empirical Basis and Are Unreliable
      ........................................................................................................................................... 72
      A.         Mr. Silverman Has Not Conducted Any Research of Actual Champion Purchasers
                 and Thus Cannot Provide Opinions Regarding Their Perceptions of the Alleged
                 Misrepresentations and Omissions ........................................................................73
      B.         Mr. Silverman Did Not Consider Factors That Can Influence the Perceptions and
                 Purchase Decisions of Proposed Class Members ..................................................75
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 5 of 110 PageID #:3791




I.     Qualifications

1.     I am a Distinguished Research Professor of Marketing at the UCLA Anderson School of
Management in Los Angeles, California, where I have served on the faculty since 1977. I
received my Licentiate from the University of Antwerp in Applied Economics and received my
M.S. and Ph.D. degrees in Management from Purdue University. At UCLA, I have taught a
variety of marketing courses including Elements of Marketing, Marketing Strategy & Planning,
and Customer Information Strategy. I have received awards for distinguished teaching in the
MBA and Executive MBA programs, including the UCLA Anderson School’s Neidorf “Decade”
teaching award.
2.     My research focuses on strategic marketing problems, to which I apply expertise in data-
analytic methods, such as surveys, econometrics, and time-series analysis. My research includes
analysis of how consumers respond to alternative information disclosures and the economic
implications of those responses. One of my books, Market Response Models: Econometric and
Time Series Analysis, is focused on the impact assessment of various marketing actions on firms’
business performance. I have served as an area editor for Marketing Science and an associate
editor for Management Science and the Journal of Marketing Research. My papers have
appeared in the leading academic and professional journals in marketing, economics, and
statistics. Five of these articles have won Best Paper awards, in Marketing Science (1995, 2001),
Journal of Marketing Research (1999, 2007), and Journal of Marketing (2010), and ten were
award finalists.
3.     From 2005 to 2007, I served as the Executive Director of the Marketing Science Institute
in Cambridge, Massachusetts. The American Marketing Association awarded me the Churchill
Award (2007) and the Mahajan Award (2013) for Career Contributions to Marketing Research
and Marketing Strategy, respectively. The INFORMS Society for Marketing Science elected me
as a Fellow (2010) and awarded me the Buck Weaver Award (2015) for lifetime contributions to
the theory and practice of marketing.
4.     I have frequently consulted on marketing issues for companies in a variety of industries
such as automobile, consumer products, technology, information services, and retail. These
consulting assignments include the design and supervision of dozens of consumer surveys in a
variety of sectors. I am also a founding partner of MarketShare, a global marketing analytics



                                                                                             Page 1
    Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 6 of 110 PageID #:3792




firm headquartered in Los Angeles. A copy of my curriculum vitae, setting forth my
professional experience and qualifications is attached as Appendix A.
5.       I have served as an expert witness or offered consulting services in matters relating to
factors impacting consumer behavior in a variety of product categories. Many of these matters
involved assessing the economic impact of alleged false advertising and product
misrepresentation by the manufacturer of the product at issue in consumer class actions. I have
provided expert testimony and consulted on assessment of damages (including in the class action
context) for a variety of products, and evaluated suitability of conjoint analysis and other
marketing research techniques in determining alleged damages on a class-wide basis, among
others. As part of my expert witness work, I also conducted consumer surveys in multiple
matters. A list of my testimony in the past four years is attached as Appendix B.

II.      Case Background, Plaintiffs’ Allegations, and Plaintiffs’ Expert Reports

6.       Champion Petfoods USA Inc. and Champion Petfoods LP (collectively, “Champion”)
produce and sell a variety of dry foods, freeze-dried foods, and treats for dogs and cats under two
brand names: ACANA and ORIJEN.1
7.       Plaintiffs Mr. Afshin Zarinebaf (“Mr. Zarinebaf”),2 Mr. Zachary Chernik (“Mr.
Chernik”)3, and Ms. Joan Meyer (“Ms. Meyer”)4 allege that the following phrases on the



1 “Our Foods,” Champion Petfoods, https://championpetfoods.com/our-brands html.
2 Mr. Zarinebaf purchased the following Champion products: ORIJEN Six Fish, ORIJEN Regional Red, ORIJEN
Tundra, ACANA Singles Lamb and Apple, ACANA Singles Pork and Squash, ACANA Heritage Red Meat. See
Third Amended Class Action Complaint, Afshin Zarinebaf et al., v. Champion Petfoods USA, Inc. et al, United
States District Court, Northern District of Illinois, Eastern Division, Case No. 1:18-cv-06951, June 17, 2020 (“Third
Amended Complaint”), ¶ 9; Deposition of Afshin Zarinebaf, November 23, 2020 (“Zarinebaf Deposition”), pp.
72:19–73:12.
3 Mr. Chernik purchased the following Champion products: ORIJEN Six Fish, ORIJEN Adult, ORIJEN Regional

Red, ORIJEN Senior, ACANA Heritage Free Run Poultry, ACANA Heritage Meats, ACANA Regionals Wild
Atlantic, ACANA Regionals Grasslands, ACANA Regionals Wild Prairie, ACANA Regionals Ranchlands,
ACANA Regionals Pacifica, ACANA Singles Lamb and Apple, ACANA Singles Pork and Squash, and ACANA
Singles Duck and Pear. See Third Amended Complaint, ¶ 7; Deposition of Zachary Chernik, December 8, 2020
(“Chernik Deposition”), pp. 98:25–101:6.
4 Ms. Meyer purchased the following Champion products: ORIJEN Six Fish, ORIJEN Adult, ACANA Pacifica,

ACANA Singles Lamb and Apple, ACANA Singles Duck and Pear, ACANA Singles Wild Mackerel, ACANA
Heritage Meats, and ACANA Regionals Meadowland. See Third Amended Complaint, ¶ 9; Deposition of Joan
Meyer, November 13, 2020, p. 53:12–23.




                                                                                                               Page 2
    Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 7 of 110 PageID #:3793




packages of select ACANA and ORIJEN branded dry dog food products (“At-Issue Products”5)
are false or misleading (“Alleged Misrepresentations”):6

            “Biologically Appropriate,”
            “Fresh Regional Ingredients,”
            “Delivering Nutrients Naturally.”

8.       Plaintiffs also allege that Champion omitted material information about the alleged
presence of the following ingredients and contaminants in the At-Issue Products (“Alleged
Omissions”):7

            Non-fresh ingredients,
            Non-regional ingredients,
            Heavy metals (i.e., arsenic, cadmium, lead, and mercury),
            Bisphenol A (“BPA”),
            Pentobarbital.

9.       Plaintiffs seek to certify a class of Illinois residents who purchased the At-Issue Products
from July 1, 2014 to the present (“Proposed Class Members”),8 and claim that Proposed Class
Members paid inflated prices for the At-Issue Products due to the Alleged Misrepresentations
and Omissions.9 As I understand Plaintiffs’ theory of damages, Plaintiffs claim that, as a result
of Champion’s Alleged Misrepresentations and Omissions, market prices of the At-Issue
Products in the real world (“Actual World”) were higher than the prices Proposed Class
Members would have paid in a counterfactual world (“But-For World”) in which Champion


5 According to Mr. Boedeker, the At-Issue Products include the following 11 Champion products: ACANA Free
Run Poultry, ACANA Grasslands, ACANA Heritage Meats, ACANA Lamb and Apple, ACANA Pork and Squash,
ACANA Meadowlands, ACANA Mackerel and Greens, ORIJEN Fish, ORIJEN Original, ORIJEN Regional Red,
and ORIJEN Senior. See Expert Report of Stefan Boedeker, Afshin Zarinebaf et al., v. Champion Petfoods USA,
Inc. et al., United States District Court, Northern District of Illinois, Eastern Division, Case No. 1:18-cv-06951,
February 24, 2021 (“Boedeker Zarinebaf Report”), Table 1.
6 Third Amended Complaint, ¶¶ 2, 12, 52–54.
7 Third Amended Complaint, ¶¶ 2–3, 13, 55.
8 Third Amended Complaint, ¶ 213. The Third Amended Complaint also defines five subclasses based on which

specific Champion products Proposed Class Members purchased: the Orijen Class, the Acana Singles Class, the
Acana Regionals Class, the Acana Heritage Class, and the Red Meat Class. See Third Amended Complaint, ¶ 213.
9 Third Amended Complaint, ¶¶ 226–236, 240–247.




                                                                                                             Page 3
 Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 8 of 110 PageID #:3794




disclosed the Alleged Omissions and removed the Alleged Misrepresentations from the products’
packaging. I understand that Plaintiffs claim they are entitled to recover as damages the amount
of this alleged overpayment (i.e., difference in market prices between the Actual World and the
But-For World at the time of purchase).
10.     Mr. Stefan Boedeker (“Mr. Boedeker”) submitted an expert report on behalf of Plaintiffs
in this matter on February 24, 2021.10 For his report, Mr. Boedeker designed and conducted a
total of four conjoint surveys (“Mr. Boedeker’s Conjoint Surveys”) using a nationwide sample:
two conjoint surveys related to the Alleged Misrepresentations (one survey for ACANA and one
survey for ORIJEN), and two additional conjoint surveys related to the Alleged Omissions (one
survey for ACANA and one survey for ORIJEN).11
11.     In the two surveys related to the Alleged Misrepresentations (“Misrepresentations
Surveys”), Mr. Boedeker asked respondents to assume they were purchasing a Champion
product and then to indicate their preference between two sets of marketing labels that could
appear on the packaging at the specified price levels.12 These marketing labels were presented as
images that were intended to resemble the Alleged Misrepresentations found on the At-Issue
Products.13 In the two surveys related to the Alleged Omissions (“Omissions Surveys”), Mr.
Boedeker asked respondents to assume that they were purchasing their “favorite dry dog food”
and then to indicate their preference between two sets of warning labels that could appear on the
packaging at the specified price levels.14 These warning labels were intended to describe the
possible presence of the ingredients and contaminants related to the Alleged Omissions.15
12.     Using the data from the Misrepresentations Surveys, Mr. Boedeker conducted a
regression analysis which he claims estimates demand curves for the dog food products with and
without the marketing labels associated with the Alleged Misrepresentations.16 Similarly, using
data from the Omissions Surveys, Mr. Boedeker conducted a regression analysis which he claims


10 Boedeker Zarinebaf Report.
11 Boedeker Zarinebaf Report, ¶¶ 102, 108.
12 Boedeker Zarinebaf Report, Figures 5, 7.
13 Boedeker Zarinebaf Report, ¶¶ 131, 135.
14 Boedeker Zarinebaf Report, Appendix 1, pp. 63, 136.
15 Boedeker Zarinebaf Report, ¶¶ 121–122, Table 7.
16 Boedeker Zarinebaf Report, ¶ 166.




                                                                                            Page 4
 Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 9 of 110 PageID #:3795




estimates demand curves for dog food products with and without the warning labels associated
with the Alleged Omissions.17 Mr. Boedeker claims that the difference between the “demand
curves” with and without these labels represents the economic loss associated with the
corresponding Alleged Misrepresentations or Alleged Omissions.18
13.     Mr. Boedeker’s estimated economic loss stemming from the Alleged Misrepresentations
ranges from 10 to 32 percent of the purchase price, depending on the brand and the particular
Alleged Misrepresentation or combination of Alleged Misrepresentations.19 His estimated
economic loss stemming from the Alleged Omissions ranges from 10 to 85 percent of the
purchase price, depending on the brand and the particular Alleged Omission or combination of
Alleged Omissions. 20 Mr. Boedeker’s proposed method for calculating class-wide damages was
to sum his estimates for the Alleged Misrepresentations and his estimates for the Alleged
Omissions. Based on this approach, Mr. Boedeker estimated total class-wide damages that
amounted to 104 percent of his estimate for total sales of the At-Issue Products in Illinois.21
14.     Mr. Boedeker also designed and conducted a survey purportedly to assess consumer
perceptions of the Alleged Misrepresentations and Omissions and to determine the degree to
which they were material to consumers’ purchase decisions (“Expectation Survey”).22 As in his
Conjoint Surveys, Mr. Boedeker’s Expectation Survey used a nationwide sample of U.S. adults.23
In his Expectation Survey, Mr. Boedeker showed respondents an image of either an ACANA or
ORIJEN dog food bag and then presented them with a series of statements related to the Alleged
Misrepresentations and Omissions and asked them to indicate the extent to which they agreed or


17 Boedeker Zarinebaf Report, ¶ 166.
18 Boedeker Zarinebaf Report, ¶¶ 87–88.
19 Boedeker Zarinebaf Report, Appendix 4.
20 Boedeker Zarinebaf Report, Appendix 4.
21 Mr. Boedeker applied his economic loss percentages to the revenue from ACANA and ORIJEN products sold in

Illinois during the class period. Based on these calculations, Mr. Boedeker estimated median damages for the
Alleged Misrepresentations on ACANA products of $1,627,688; median damages for the Alleged
Misrepresentations on ORIJEN products of $2,003,098; median damages for the Alleged Omissions on ACANA
products of $4,280,703; median damages for the Alleged Omissions on ORIJEN products of $5,851,978; and
median total damages for the Alleged Misrepresentations and Omissions on ACANA and ORIJEN products of
$13,763,467. It is worth noting that Mr. Boedeker’s median total damages estimate exceeds Champion’s total sales
in Illinois by almost $500,000. See Boedeker Zarinebaf Report, Table 16.
22 Boedeker Zarinebaf Report, ¶ 173.
23 Boedeker Zarinebaf Report, ¶ 175.




                                                                                                           Page 5
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 10 of 110 PageID #:3796




disagreed with the statement.24 Based on the results of his Expectation Survey, Mr. Boedeker
concluded that “a significant portion of consumers interpret the Products’ packaging to be
misleading” and claimed that results of this survey “show the impact of misrepresentations and
omissions on the purchase intention of the dog food consumers.”25
15.      In addition to Mr. Boedeker’s Report, Mr. Bruce G. Silverman (“Mr. Silverman”) also
submitted an expert report on behalf of Plaintiffs in this matter on February 24, 2021.26 Basing
his opinions predominantly on his experience as an advertising industry practitioner, and not on
any empirical research conducted specific to this case, Mr. Silverman opined on consumer
perceptions regarding the Alleged Misrepresentations and Omissions and on whether the Alleged
Misrepresentations and Omissions were material to consumers’ purchase decisions.27

III.     Assignment and Materials Relied Upon

16.      I have been asked by counsel for Champion to evaluate Mr. Boedeker’s conjoint study
and his findings, and to determine whether Mr. Boedeker’s conjoint study can be used to assess
consumer preferences for the At-Issue Products and to reliably calculate damages on a class-
wide basis in this matter. I have also been asked to assess the reliability of Mr. Boedeker’s
Expectation Survey and the validity of its results. In addition, I have been asked by counsel for
Champion to review and respond to Mr. Silverman’s opinions on consumers’ perceptions of the
Alleged Misrepresentations and Omissions and the impact of the Alleged Misrepresentations and
Omissions on consumers’ purchase decisions.
17.      My review and evaluation are informed by my education and academic work in the field
of marketing, including research on consumer behavior, consumer preferences, and consumer
purchase decision making. In undertaking this assignment, I utilized my expertise in assessing
consumers’ evaluation of product attributes through survey research methods such as conjoint
analysis. In reaching my conclusions, I have reviewed the complaint, named plaintiff
depositions, the expert report of Stefan Boedeker (including reports that Mr. Boedeker submitted
on the same date in two other related matters), the deposition of Mr. Boedeker (for this matter

24 Boedeker Zarinebaf Report, Appendix 1.
25 Boedeker Zarinebaf Report, ¶¶ 179–180.
26 Expert Report of Bruce G. Silverman, Afshin Zarinebaf et al., v. Champion Petfoods USA, Inc. et al., United

States District Court, Northern District of Illinois, Eastern Division, Case No. 1:18-cv-06951, February 24, 2021
(“Silverman Zarinebaf Report”).
27 Silverman Zarinebaf Report, ¶ 5.




                                                                                                               Page 6
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 11 of 110 PageID #:3797




and in a prior related matter), the expert report of Bruce G. Silverman (including reports that Mr.
Silverman submitted on the same date in two other related matters), the deposition of Mr.
Silverman (for this matter and in a prior related matter), the expert report of Robert H. Poppenga
(including reports that Mr. Poppenga submitted on the same date in two other related matters),
academic and practitioner literature, and public press, among other documents. A list of the
materials I have relied upon in forming my opinions is attached as Appendix C.
18.    I am being compensated at my standard billing rate of $900 per hour. I have been
assisted in this matter by staff of Cornerstone Research, who worked under my direction. I
receive compensation from Cornerstone Research based on its collected staff billings for its
support of me in this matter. Neither my compensation in this matter nor my compensation from
Cornerstone Research is in any way contingent or based on the content of my opinion or the
outcome of this or any other matter.
19.    My work is ongoing, and I reserve the right to supplement my report and modify my
opinions as I review additional data and information.

IV.    Summary of Opinions

20.    Plaintiffs’ theory of damages requires estimating price premiums associated with the
Alleged Misrepresentations and Omissions for the At-Issue Products. Mr. Boedeker’s economic
loss estimates are untethered to Plaintiffs’ theory of damages because:
           a. Mr. Boedeker’s economic loss measures for both the Alleged Misrepresentations
               and the Alleged Omissions are, at best, measures of willingness to pay (which
               requires properly estimating product demand) and not measures of market prices
               (which requires properly estimating product demand and accounting for supply-
               side factors), and
           b. Mr. Boedeker’s economic loss measures for the Alleged Omissions are based on
               preferences solicited from surveys about irrelevant products (i.e., respondents’
               “favorite dry dog food” products) that do not feature a single mention or image of
               the ORIJEN or ACANA products that are at issue in this case.
21.    Mr. Boedeker’s economic loss estimates are also unreliable and unscientific. First, Mr.
Boedeker’s intended goal was to generate these estimates based on changes in demand for At-
Issue Products, but he failed at his task. The vast majority of Mr. Boedeker’s respondents (87



                                                                                               Page 7
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 12 of 110 PageID #:3798




percent) neither purchased nor considered purchasing ACANA or ORIJEN in the last 3 years.
Thus, he attempts to extrapolate from individuals who did not purchase or even consider
purchasing Champion products to individuals who actually purchased the products (including
those who purchased the products repeatedly for years with no claimed harm to their dogs). The
data collected from Mr. Boedeker’s Conjoint Surveys therefore cannot be used to reliably
estimate the demand for At-Issue Products.
22.    Second, Mr. Boedeker’s economic loss estimates rely on data generated by
fundamentally flawed conjoint survey instruments and data that are susceptible to multiple
biases. In particular:
           a. The products used in the choice tasks in Mr. Boedeker’s Misrepresentations and
               Omissions Surveys, as well as the choice tasks themselves, were unrealistic and
               did not resemble any choices that consumers would face in the real world. In the
               real world, consumers do not evaluate which labels they would prefer on a
               product (and definitely not on a product that they are told to assume they are
               buying) or make product choices based only on a subset of claims on that
               product’s packaging. Rather, they evaluate dog food products based on product
               characteristics (e.g., ingredients, brand, protein content, or flavor) and personal
               circumstances (e.g., income, or their dog’s age, breed, or preferences), as well as
               recommendations from veterinarians and their own individual past experiences
               with a specific product or products from a specific manufacturer. The importance
               of these experiences cannot be overstated, and Mr. Boedeker’s survey respondents
               contained so few persons who had experience with Champion products that any
               results he obtained cannot reliably be extrapolated to Proposed Class Members.
               Indeed, respondents’ comments indicated that they were confused by Dr.
               Boedeker’s choice tasks and lacked sufficient context to evaluate the options
               presented in the survey.
           b. Mr. Boedeker’s product label evaluation exercise for the respondents in his
               Omissions Surveys was particularly problematic because the label evaluation
               exercise did not reference the At-Issue Products at all (but instead referenced
               respondents’ “favorite dry dog food”) and used vague language that provided the




                                                                                                 Page 8
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 13 of 110 PageID #:3799




               negative (and potentially alarming) information about the product (that Plaintiffs’
               counsel provided) without sufficient context. Thus, Mr. Boedeker’s Omissions
               Surveys essentially asked respondents to “choose” between two bags of
               contaminants that are available at different price levels. This bears no
               resemblance to purchase decisions in the real world for any dog food product, and
               the results certainly bear no connection to the At-Issue Products. Indeed, in the
               majority of the choice tasks in the Omissions Surveys (61 percent), respondents
               indicated that they would not purchase the product they indicated they preferred.
               This exposes the underlying methodological flaws in his survey design, and thus
               renders any conclusions based on his survey meaningless.
23.    Third, Mr. Boedeker’s reported median economic losses rely on a series of so-called
“market simulations” that purport to analyze changes in demand—and only changes in
demand—for hypothetical bundles of labels that bear no resemblance to the At-Issue Products in
the Actual or the But-For World. Thus, Mr. Boedeker’s reported median economic losses are not
measures of market price premiums, which require a consideration of supply factors, and cannot
be reliably attributed to the Alleged Misrepresentations or Omissions, which are specific to the
At-Issue Products. Considered separately, Mr. Boedeker’s damages estimates from his
Misrepresentations Surveys and Omissions Surveys lack face validity and are internally
inconsistent. For example, Mr. Boedeker’s estimates imply that correcting for the Alleged
Omissions, Champion would have sold a 25-pound bag of ACANA dog food in the But-For
World for $10.24, a price that is substantially below even the cheapest available dog foods on the
market. If one were to add together Mr. Boedeker’s estimated economic losses for the Alleged
Misrepresentations and Omissions, the results are even more absurd, in some instances leading to
estimated economic losses that exceed the prices of the At-Issue Products. Put another way, Mr.
Boedeker concluded that Champion’s dog foods not only have zero value, but Champion would
have to pay consumers to take the products off its hands. Yet, Mr. Boedeker also concluded that
Champion would have continued to manufacture its products at the same output levels. These
conclusions are both unreasonable for reasons set forth below, and underscore the fundamental
unreliability of Mr. Boedeker’s methodology. Given that Proposed Class Members received dog




                                                                                             Page 9
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 14 of 110 PageID #:3800




food and presumably fed it to their dogs (without alleged harm to the dogs, I understand), Mr.
Boedeker’s de facto full-refund model is inappropriate.
24.    Finally, Mr. Boedeker’s Expectation Survey is fundamentally flawed and unable to
provide reliable information about consumer perceptions or consumer purchase intentions for the
At-Issue Products. In particular:
           a. As in the case of Mr. Boedeker’s Conjoint Surveys, the vast majority of
               respondents in Mr. Boedeker’s Expectation Survey (89 percent) neither purchased
               nor considered purchasing ACANA or ORIJEN. The data collected from Mr.
               Boedeker’s Expectation Survey therefore cannot be extrapolated to buyers of the
               At-Issue Products.
           b. Even though his Expectation Survey was purportedly designed to test a causal
               proposition, Mr. Boedeker failed to include a control group in his Expectation
               Survey. This is a fundamental design flaw that violates best practices from
               academic research, and makes it impossible to determine whether his results are
               due to the Alleged Misrepresentations and Omissions or due to respondents’ pre-
               existing beliefs, other information they reviewed in the survey, or simply the
               result of poor survey design.
           c. Mr. Boedeker did not conduct a pre-test of his survey instrument despite the fact
               that academic research recommends conducting pre-tests, the fact that Mr.
               Boedeker discussed the importance of pre-tests in his own report, and the fact that
               Mr. Boedeker conducted pre-tests for his Conjoint Surveys.
25.    Plaintiffs’ other expert, Mr. Silverman, provided opinions on how Proposed Class
Members perceived the Alleged Misrepresentations and Omissions, and whether these Alleged
Misrepresentations and Omissions were material to their purchase decisions. Mr. Silverman
reached these opinions without performing any empirical research on Champion purchasers or
Proposed Class Members. Instead, Mr. Silverman offered his personal opinions based on his
own review of Champion’s packaging and his personal experiences as an advertising practitioner
creating ad campaigns for a variety of products. This subjective approach lacks empirical basis
and does not follow the scientific standards required for a rigorous study. In addition, Mr.
Silverman failed to consider factors beyond the Alleged Misrepresentations and Omissions that




                                                                                               Page 10
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 15 of 110 PageID #:3801




can influence consumer perceptions and purchase decisions, such as other information on the
product packaging or information beyond the product packaging. Thus, Mr. Silverman’s
opinions are unreliable and amount to no more than unsubstantiated speculations and subjective
responses that apply only to Mr. Silverman himself.

V.      Overview of Mr. Boedeker’s Conjoint Surveys

26.      In his report, Mr. Boedeker stated that he was asked to “[a]scertain if it is possible to
quantify economic losses to consumers, including Plaintiffs and the Class, attributable to the
purchase of a product advertised with misrepresentations and omissions, and if so, to provide a
framework for the computation of class-wide damages.”28 Based on this assignment, Mr.
Boedeker designed and conducted four conjoint surveys–two for the Alleged Misrepresentations
and two for the Alleged Omissions.
27.     As mentioned above, Mr. Boedeker conducted two conjoint surveys, one for ORIJEN and
one for ACANA, in his attempt to assess consumer preferences for the At-Issue Products with
and without the Alleged Misrepresentations.29 Mr. Boedeker began these surveys by instructing
respondents to assume they were purchasing a 13-pound bag of ORIJEN Regional Red dry dog
food (for the ORIJEN survey) 30 or a 25-pound bag of ACANA Regionals Meadowland dry dog
food (for the ACANA survey).31 Mr. Boedeker then had respondents review images of the front
and back packaging of these products, followed by close-up images of several labels on the
product packaging, including the Alleged Misrepresentations.32 These labels made up the
attribute levels in the conjoint survey. For the Misrepresentations Surveys, the labels that could
appear in the choice tasks are shown in Figure 1 (with the labels that relate to the Alleged
Misrepresentations shown above and the “decoy” labels shown below).33




28 Boedeker Zarinebaf Report, ¶ 12.
29 Boedeker Zarinebaf Report, ¶ 102.
30 Boedeker Zarinebaf Report, Appendix 1, p. 22.
31 Boedeker Zarinebaf Report, Appendix 1, p. 94.
32 Boedeker Zarinebaf Report, ¶¶ 129–134.
33 Boedeker Zarinebaf Report, Tables 8, 9. The decoy labels used in the ACANA Misrepresentations Survey were

“Wholeprey Diet” and “High Palatability.” The decoy labels used in the ORIJEN Misrepresentations Survey were
“Nourish as Nature Intended,” “Wholeprey Diet,” and “Low Temperature.”



                                                                                                       Page 11
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 16 of 110 PageID #:3802




                                            Figure 1
                Labels Used in the ORIJEN and ACANA Misrepresentations Surveys




28.        Mr. Boedeker then presented his respondents with choice tasks featuring two different
sets of labels, each with a given price. In each choice task, respondents were asked to (i) choose
which of the two sets of labels they would prefer given the prices shown, and (ii) indicate
whether they would actually purchase a product with the labels and price they selected.34 Each
respondent completed 15 of these choice tasks.35 An example choice task from the ORIJEN
Misrepresentation Survey is shown in Figure 2 below.




34   Boedeker Zarinebaf Report, Figures 5, 7.
35   Boedeker Zarinebaf Report, ¶ 125.



                                                                                              Page 12
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 17 of 110 PageID #:3803




                                        Figure 2
        Example Choice Task from Mr. Boedeker’s ORIJEN Misrepresentations Survey36




29.        Using the data from the Misrepresentations Surveys, Mr. Boedeker estimated the utility
or disutility (often referred to in conjoint analyses as “part-worths”) that respondents derived
from each of the labels corresponding to the Alleged Misrepresentations. For each Alleged
Misrepresentation label and every combination of the Alleged Misrepresentations labels (e.g.,
“Biologically Appropriate” and “Delivering Nutrients Naturally”), Mr. Boedeker then attempted
to estimate demand curves for the products with the Alleged Misrepresentation label(s) on the
product packaging and without the Alleged Misrepresentation label(s) on the product packaging.


36   Boedeker Zarinebaf Report, Appendix 1, p. 36.




                                                                                              Page 13
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 18 of 110 PageID #:3804




He used the difference between these two sets of demand curves as the economic loss associated
with the corresponding Alleged Misrepresentation(s).37
30.      In addition, Mr. Boedeker designed and conducted two conjoint surveys, one for ORIJEN
and one for ACANA, intended to assess consumer preferences for the At-Issue Products with
and without the Alleged Omissions. In the Omissions Surveys, Mr. Boedeker asked respondents
to assume they were purchasing a 25-pound bag of “[their] favorite dry dog food.”38 Following
this instruction, Mr. Boedeker asked respondents to review five labels which they were told
could appear on the product packaging of their favorite dry dog food.39 The set of labels that
could appear on the product packaging are shown in Figure 3 below (including the labels that
relate to the Alleged Omissions and the “decoy” label, “Artificial Preservatives”).40 The text for
the labels was given to Mr. Boedeker by counsel for Plaintiffs.41

                                           Figure 3
                   Labels Used in the ORIJEN and ACANA Omissions Surveys

                                                        May contain expired ingredients. Expired ingredients are
                               Expired Ingredients
                                                        ingredients that have passed their "shelf life" date.
                                                        May contain measurable amounts of heavy metals such as
                                 Heavy Metals
                                                        lead, arsenic, mercury, and/or cadmium.
Labels Related to the                                   May contain measureable amounts of BPA. BPA is a chemical
                                      BPA
 Alleged Omissions                                      compound used in plastic.
                                                        May contain regrinds. Regrinds are previously made dry dog
                                    Regrinds            food that is ground and then used in another batch of dry dog
                                                        food.
                                                        May contain artifical preservatives. Artificial preservatives are
        “Decoy” Label        Artificial Preservatives   added to food to fight spoilage caused by bacteria, molds,
                                                        fungus, and yeast.

                            Source: Boedeker Report, Table 7




37 Boedeker Zarinebaf Report, ¶¶ 163–169.
38 Boedeker Zarinebaf Report, Appendix 1, pp. 65, 138.
39 Boedeker Zarinebaf Report, ¶ 139.
40 Mr. Boedeker did not include any labels that relate to the alleged presence of pentobarbital. Nor did he provide

any damages estimates related to pentobarbital. In his report, Mr. Boedeker did not address why he excluded
pentobarbital from his conjoint analysis and only considered the Alleged Omissions related to heavy metals, BPA,
regrinds, and expired ingredients.
41 Boedeker Zarinebaf Report, ¶ 124.




                                                                                                                  Page 14
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 19 of 110 PageID #:3805




31.     As with the Misrepresentations Surveys, Mr. Boedeker then presented his respondents
with choice tasks featuring two different sets of labels, each with a given price. Respondents
were asked to choose which of the two sets of labels they would prefer given the prices shown,
and to indicate whether they would actually purchase a product with the labels and price they
selected.42 The only difference between the ACANA Omissions Survey and the ORIJEN
Omissions Survey was the price levels used in the choice tasks.43 As in the Misrepresentations
Surveys, each respondent completed 15 of these choice tasks.44 An example choice task from the
ACANA Omissions Survey is shown in Figure 4 below.
32.     For each Alleged Omission label and every combination of Alleged Omissions labels,
Mr. Boedeker attempted to calculate the difference between demand curves for a dog food
product with the related Alleged Omissions label(s) on the product packaging and without the
related Alleged Omissions label(s) on the product packaging. He then used this difference as the
economic loss associated with the corresponding Alleged Omission(s).45




42 Boedeker Zarinebaf Report, ¶¶ 125–126.
43 See Boedeker Zarinebaf Report, ¶¶ 137–140, Table 7, and Appendix 1, pp. 43–73, 116–146.
44 Boedeker Zarinebaf Report, ¶ 125.
45 Boedeker Zarinebaf Report, ¶¶ 163–169.




                                                                                             Page 15
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 20 of 110 PageID #:3806




                                            Figure 4
                Example Choice Task from Mr. Boedeker’s ACANA Omissions Survey46




VI.        Mr. Boedeker’s Theoretical Framework for Economic Loss Does Not Estimate
           Market Prices and Is Unconnected to Plaintiffs’ Price Premium Theory of Damages

           A.       Plaintiffs’ Theory of Damages Requires Estimating the Difference, If Any,
                    Between Market Prices in the Actual World and the But-For World

33.        Plaintiffs claim that Proposed Class Members would not have paid a price premium for
the At-Issue Products had they known the product packaging contained Alleged
Misrepresentations and Omissions.47 To measure this alleged price premium, Plaintiffs need to

46   Boedeker Zarinebaf Report, Appendix 1, p. 66.
47   Third Amended Complaint, ¶¶ 235–237.



                                                                                           Page 16
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 21 of 110 PageID #:3807




estimate the difference between the market prices that Proposed Class Members already paid in
the Actual World for the At-Issue Products and the market prices that would have prevailed in
the But-For World in which the Alleged Misrepresentations and Omissions were corrected at the
time of purchase.48 The calculation of an alleged price premium that is consistent with Plaintiffs’
theory of damages can be summarized as follows:


        𝑷𝒓𝒊𝒄𝒆 𝑷𝒓𝒆𝒎𝒊𝒖𝒎 according to Plaintiffs' theory of damages
           𝑨𝒄𝒕𝒖𝒂𝒍 𝑴𝒂𝒓𝒌𝒆𝒕 𝑷𝒓𝒊𝒄𝒆 i.e., with Alleged Misrepresentations and/or Omissions
           But-For 𝑴𝒂𝒓𝒌𝒆𝒕 𝑷𝒓𝒊𝒄𝒆 i.e., without Alleged Misrepresentations and/or Omissions


34.      Market prices are determined by both consumers’ willingness to pay for a product
(demand curve) and suppliers’ willingness to sell that product at different prices (supply curve).49
The market equilibrium price is the price at which the supply and demand curves intersect and
the quantity demanded is equal to the quantity supplied.50 In order to measure market prices and
to calculate the price premium, Plaintiffs therefore need to account for any changes to both the




48 Allen, M. A., R. E. Hall, and V. A. Lazear (2011), “Reference Guide on Estimation of Economic Damages,” in
Reference Manual on Scientific Evidence, Washington, D.C.: The National Academies Press, 425–502 at p. 432
(“The first step in a damages study is the translation of the legal theory of the harmful event into an analysis of the
economic impact of that event. In most cases, the analysis considers the difference between the plaintiff’s economic
position if the harmful event had not occurred and the plaintiff’s actual economic position. … The characterization
of the harmful event begins with a clear statement of what occurred. The characterization also will include a
description of the defendant’s proper actions in place of its unlawful actions and a statement about the economic
situation absent the wrongdoing, with the defendant’s proper actions replacing the unlawful ones (the but-for
scenario). Damages measurement then determines the plaintiff’s hypothetical value in the but-for scenario.
Economic damages are the difference between that value and the actual value that the plaintiff achieved.”).
49 “The supply curve shows the quantity of a good that producers are willing to sell at a given price. … The demand

curve shows how much of a good consumers are willing to buy as the price per unit changes. … The two curves
intersect at the equilibrium, or market-clearing, price and quantity.” See Pindyck, R. S., and D. L. Rubenfeld
(2009), Microeconomics, Essex, England: Pearson Education, Inc. (“Pindyck (2009)”), pp. 22–25.
50 Nicholson, W. (1998), Microeconomic Theory: Basic Principles and Extensions, Orlando, FL: The Dryden

Press, p. 11 (“[J]ust as you cannot tell which blade of a scissors does the cutting, so too you cannot say that either
demand or supply alone determines price.”). See also Pindyck (2009), pp. 22–25 (“The supply curve shows the
quantity of a good that producers are willing to sell at a given price … The demand curve shows how much of a
good consumers are willing to buy as price per unit changes … The two curves intersect at the equilibrium, or
market-clearing, price and quantity.”).




                                                                                                               Page 17
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 22 of 110 PageID #:3808




supply and demand for the At-Issue Products in the Actual World and the But-For World.51
Figure 5 presents this concept graphically:

                                                   Figure 5




        B.       Mr. Boedeker Considered Changes to Product Demand Only and Therefore
                 Cannot Measure Market Prices

35.     Mr. Boedeker acknowledged that he only attempted to estimate how demand would
change—and not how supply would change—between the Actual World and the But-For
World.52 As a result, Mr. Boedeker’s theoretical framework for economic loss cannot provide a
measure that can be used to estimate the alleged price premium for the At-Issue Products
because his analysis does not estimate a market price in his hypothetical, But-For World since it
does not account for supply.

51 See, for example, Varian, H. R. (1992), “Competitive Markets,” in Microeconomic Analysis, New York: W. W.
Norton & Company, Inc., 215–232; Mas-Colell, A., M. D. Whinston, and J. R. Green (1995), “Competitive
Markets,” in Microeconomic Theory, New York, NY: Oxford University Press, 311–343; Goolsbee, A., S. Levitt,
and C. Syverson (2013), “Supply and Demand,” in Microeconomics, New York, NY: Worth Publishers, 11–51;
Allenby, G., J. Brazell, J. Howell, and P. Rossi (2013), “Economic Valuation of Product Features,” Quantitative
Marketing and Economics, 12, 4, 421–456; Allenby, G., J. Brazell, J. Howell, and P. Rossi (2014), “Valuation of
Patented Product Features,” Journal of Law and Economics, 57, 3, 629–663; Allenby, G., J. Brazell, J. Howell, and
P. Rossi (2014), “Using Conjoint Analysis to Determine the Market Value of Product Features,” Proceedings of the
Sawtooth Software Conference, 341–355.
52 Boedeker Zarinebaf Report, ¶ 40.




                                                                                                          Page 18
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 23 of 110 PageID #:3809




36.     Figure 6 is an exact reproduction of the graphical depiction of Mr. Boedeker’s
methodology taken directly from his report:

                                        Figure 6
      Graphical Depiction of Mr. Boedeker’s Methodology from the Boedeker Report53




37.     Notably, Mr. Boedeker titled his figure, “Shifted Demand and Economic Loss,” and
indeed, there are no supply curves presented anywhere in the figure. The blue line, DActual(P),
represents the demand for the At-Issue Products in the Actual World.54 The orange line, DBut-
For(P), represents the demand for the At-Issue Products in the But-For World.55            The D on the
Volume axis represents the number of units of the At-Issue Products that were sold in the Actual
World.56 Then, according to Mr. Boedeker, “[t]he vertical distance Δ between points A and B is
equal to the compensation required to make all purchasers whole.”57
38.     Mr. Boedeker is wrong. The demand curve in the But-For World represents the
willingness to pay of all potential consumers for the At-Issue Products without the Alleged
Misrepresentations or Omissions.58 However, estimating the demand in the But-For World alone

53 Boedeker Zarinebaf Report, Figure 1.
54 Boedeker Zarinebaf Report, ¶ 41.
55 Boedeker Zarinebaf Report, ¶ 41.
56 Boedeker Zarinebaf Report, ¶ 41.
57 Boedeker Zarinebaf Report, ¶ 41.
58 See, e.g., Mankiw, N. G. (2008), “The Market Forces of Supply and Demand,” in Principles of Microeconomics,

Mason, OH: South-Western Cengage Learning, 65–88 (“Mankiw (2008)”), p. 135.




                                                                                                        Page 19
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 24 of 110 PageID #:3810




is not sufficient for estimating market prices. This is because what consumers are willing to pay
for a product does not necessarily reflect what consumers would actually have to pay in the
market.59 Since Mr. Boedeker did not even attempt to account for any changes to product supply
in the But-For World, his damages estimates can, at best, measure a difference in consumers’
willingness to pay and not a difference in what they would actually pay (i.e., difference in market
prices).
39.        The distinction between willingness to pay and market price is important because
Plaintiffs’ theory of damages relies on the existence of an alleged market price premium (not a
willingness to pay premium). In addition, academic findings show that willingness to pay
estimates typically overstate the actual changes to market prices. For example, Allenby et al.
(2013) finds that “[i]n general, the [willingness to pay] measure will overstate the change in
equilibrium price.”60 Similarly, consider the example provided by Bryan Orme, President and
CEO of Sawtooth Software, the software Mr. Boedeker used for his damages estimates:

           What is your willingness to pay for a color monitor for your laptop computer versus
           a monochrome screen? Assume we conducted a conjoint analysis including
           monochrome versus color monitors. If we computed your willingness to pay for
           color over monochrome, we would likely find that the incremental value of color
           over monochrome is worth a thousand dollars or more. But how meaningful is this
           information to a laptop manufacturer given the fact that laptops with color monitors
           are readily available in the market at quite inexpensive prices?61


There is nothing in Mr. Boedeker’s theoretical framework that accounts for supply or what is
“readily available in the market.”62 In sum, Mr. Boedeker’s estimates—which are based solely
on changes in consumers’ willingness to pay—are inadequate to calculate any But-For World
market price and, therefore, are irrelevant to the “overpayment” damages Plaintiffs claim.




59 Mankiw (2008), pp. 138–139.
60 Allenby, G., J. Brazell, J. Howell, and P. Rossi (2013), “Using Conjoint Analysis to Determine the Market Value
of Product Features,” Proceedings of the Sawtooth Software Conference, 341–355 at p. 342. Emphasis added.
61 Orme, B. K. (2014), Getting Started with Conjoint Analysis: Strategies for Product Design and Pricing Research,

Manhattan Beach, CA: Research Publishers LLC (“Orme (2014)”), p. 91.
62 Even Mr. Boedeker’s so-called “market simulation” only attempted to calculate demand curves (and no supply

curves) for hypothetical unbranded products depicted as a bundle of labels at specific price points. See Boedeker
Zarinebaf Report, ¶ 85; Boedeker Backup Materials, “BOEDEKER000148.nb.”



                                                                                                          Page 20
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 25 of 110 PageID #:3811




        C.      Mr. Boedeker’s Explanation for Ignoring the Supply Side Is Based on Faulty
                and Unsupported Assertions

40.     Mr. Boedeker attempted to justify his disregard for supply side factors in his theoretical
framework for economic loss with two assertions:

            According to Mr. Boedeker, the Reference Guide on Estimation of Economic
             Damages states that the But-For World should only correct for the harmful act, and
             this implies that demand in the But-For World can change, but supply in the But-For
             World cannot.63
            According to Mr. Boedeker, the quantity of the At-Issue Products sold in the But-For
             World without the Alleged Misrepresentations and Omissions would be exactly the
             same as the quantity of the At-Issue Products sold in the Actual World (“Fixed
             Quantity Assertion”).64
Both assertions violate basic economic theory and are entirely unfounded, as I explain below.

                1.       Mr. Boedeker Misinterprets the Reference Guide on Estimation of
                         Economic Damages


41.     According to the Reference Guide on Estimation of Economic Damages, which Mr.
Boedeker quoted in his report, a damages analysis measures the difference between the Actual
World and a But-For World where the only difference is the harmful act:

        Because the but-for scenario differs from what actually happened only with
        respect to the harmful act, damages measured in this way isolate the loss of value
        caused by the harmful act and exclude any change in the plaintiff’s value arising
        from other sources. Thus, a proper construction of the but-for scenario and
        measurement of the hypothetical but-for plaintiff’s value by definition includes in
        damages only the loss caused by the harmful act.65


42.     In the current matter, the “harmful act” is the Alleged Misrepresentations and Omissions.
Thus, a proper damages analysis needs to construct a But-For World that is identical to the


63 Boedeker Zarinebaf Report, ¶¶ 36–39.
64 Boedeker Zarinebaf Report, ¶ 39.
65 Boedeker Zarinebaf Report, ¶ 25; Allen, M. A., R. E. Hall, and V. A. Lazear (2011), “Reference Guide on

Estimation of Economic Damages,” in Reference Manual on Scientific Evidence, Washington, D.C.: The National
Academies Press, 425–502 at p. 432.



                                                                                                      Page 21
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 26 of 110 PageID #:3812




Actual World except that the Alleged Misrepresentations and Omissions did not occur in the
But-For World. Damages should then be calculated as the difference between the market price
in the Actual World and the market price that would prevail in the But-For World.
43.     Basic economics states that the market price is the intersection of demand and supply.66
Thus, per the instructions in the Reference Guide, estimating the market price in the But-For
World necessitates estimating whether and how both demand and supply would change if the
Alleged Misrepresentations and Omissions had not occurred.
44.     In fact, Mr. Boedeker acknowledged that as a result of the harmful act, both demand and
supply may change in the But-For World:

        Next, I will frame the appropriate But-For-World. If consumers perceive the
        product without the claim to be inferior to the product with the claim, then the
        demand at a given price will be lower.67

        In the But-For-World, the manufacturer faces a lower demand and – if it
        could - would set a different price which maximizes profits. Therefore, the
        manufacturer would achieve a different volume in the But-For-World.68


45.     Despite his acknowledgement that “the manufacturer would achieve a different volume in
the But-For World” (i.e., his acknowledgement that product supply may change), Mr. Boedeker
asserted that allowing supply to change “would contradict the postulate of the Reference Guide
on Estimation of Economic Damages that the But-For-World should only correct for the harmful
act.”69 In other words, according to Mr. Boedeker’s interpretation of the Reference Guide,
correcting for the harmful act in the But-For World would involve: (i) removing the Alleged
Misrepresentations and Omissions and (ii) assessing consumers’ reactions.
46.     The Reference Guide is clear that the purpose of the hypothetical But-For World is to
correct for the harmful act (i.e., remove the Alleged Misrepresentations and Omissions), to trace
the impact on all relevant parties (i.e., both consumers (demand) and producers (supply)), and
estimate any resulting changes (i.e., changes to market price). Further, assessing the impact of
the harmful act in the But-For World entails estimating the But-For World market price, a task
66 Mankiw (2008), p. 77 (“The equilibrium is found where the supply and demand curves intersect. At the

equilibrium price, the quantity supplied equals the quantity demanded.”).
67 Boedeker Zarinebaf Report, ¶ 30.
68 Boedeker Zarinebaf Report, ¶ 36. Emphasis added.
69 Boedeker Zarinebaf Report, ¶¶ 36–37.




                                                                                                          Page 22
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 27 of 110 PageID #:3813




that requires Mr. Boedeker to account for any changes to both product demand and product
supply. Thus, contrary to Mr. Boedeker’s claims, following the principles laid out by the
Reference Guide requires allowing the But-For World supply to change.

                    2.      Mr. Boedeker’s Fixed Quantity Assertion Is Economically Unsound


47.        Mr. Boedeker’s assertion that the quantity of the At-Issue Products sold in the But-For
World would be exactly the same as the quantity of the At-Issue Products sold in the Actual
World is not based on principles of economic analysis and ignores important marketplace
realities. As one can see from Mr. Boedeker’s own Figure 1, the only way for the quantity to be
identical in the But-For World and the Actual World is if the supply curve is vertical. In order to
illustrate this, I added such a supply curve to the figure from Mr. Boedeker’s report in Figure 7
below.

                                             Figure 7
                  Hypothetical Supply Implied by Mr. Boedeker’s Fixed Quantity70




48.        It is clear in Figure 7 that, Mr. Boedeker’s Fixed Quantity Assertion, which involves a
scenario in which the supply curve is vertical, necessitates determining market prices only by the

70   Boedeker Zarinebaf Report, Figure 1.




                                                                                               Page 23
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 28 of 110 PageID #:3814




movements of the But-For World demand. Indeed, Mr. Boedeker asserts “there is no need for
information on the cost structure of the manufacturer or the shape of its supply function.”71 The
implication of Mr. Boedeker’s Fixed Quantity Assertion is that Champion must act as a price
taker who is forced to liquidate a fixed inventory. In other words, regardless of how little (or
how much) consumers are willing to pay for the At-Issue Products in the But-For World, Mr.
Boedeker assumes that Champion could not sell any fewer (or any more) of the At-Issue
Products. Even under a scenario where the market price was below its production costs,
Champion would be forced to sell its products at a loss for the entire class period without making
any adjustment to how much product it made and attempted to sell. Thus, Mr. Boedeker’s But-
For World is at odds with economic logic as it disallows profit-maximizing firms from adjusting
the quantity supplied based on the market price (as shown in Mr. Boedeker’s Equations 1 and 2
in his report).72 At his deposition, Mr. Boedeker reiterated that his But-For World might result in
Champion selling the At-Issue Products at a loss, and even agreed that in such a scenario “there
would be … no market for these products,” but claimed that this was “irrelevant for the
economic loss that the consumer suffered by overpaying for such a product.”73
49.     Mr. Boedeker provides an example of a horizontal supply curve in Figure 2 of his report
to try to support his claim that supply can be ignored. He provides no explanation of why one
would expect Champion’s supply curve to be horizontal, but even ignoring this, his example
actually shows why supply cannot be ignored when calculating damages. Mr. Boedeker argues
that, in this hypothetical scenario, the price of Champion products would not change if demand
were to decrease.74 Mr. Boedeker is absolutely correct. If the price of the At-Issue Products is
the same in the But-For World as in the Actual World, then there can be no damages. Thus, Mr.
Boedeker’s hypothetical example highlights why supply must be considered in any damages
calculation.



71 Boedeker Zarinebaf Report, ¶ 37.
72 Boedeker Zarinebaf Report, ¶¶ 27–28. Basic economic theory indicates that profit-maximizing firms will adjust
the quantity supplied depending on the market price. See, e.g., Pindyck (2009), p. 279.
73 Deposition of Stefan Boedeker (Rough Transcript), December 2, 2020 (“Boedeker Song Deposition (Rough)”), p.

132:3–17.
74 Boedeker Zarinebaf Report, ¶ 58.




                                                                                                         Page 24
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 29 of 110 PageID #:3815




50.      Mr. Boedeker also argues that the quantity in the But-For World needs to be fixed at the
quantity in the Actual World in order to “fully compensate all purchasers for their economic
losses.”75 Mr. Boedeker is conflating two distinct concepts. Namely, he is conflating (i) the
quantity that is arguably needed for class-wide damages calculations (i.e., actual sales) with (ii)
the quantity that would be sold in the But-For World at the market equilibrium price. Estimating
market prices in the But-For World would entail determining supply as well as demand for the
At-Issue Products without the Alleged Misrepresentations and Omissions. It is possible that in
the But-For World, supply and demand intersect at a different price and associated quantity than
the Actual World price and quantity (higher or lower).76 Any difference in market price between
the Actual World and the But-For World is the alleged price premium. To the extent this per
unit price premium can be reliably calculated, Plaintiffs may argue that determining damages
would involve multiplying this estimated price premium with the quantity sold in the Actual
World (regardless of whether the But-For World quantity is equal to the Actual World quantity
or not). Even so, the quantity sold in the Actual World cannot be a fixed data point in
determining market price in the But-For World.
51.      Ultimately, neither of Mr. Boedeker’s assertions make sense. The critical flaw in Mr.
Boedeker’s theoretical framework for economic loss is that, by his own admission, what he is
purporting to estimate is not a market price that is determined by the intersection of supply and
demand.77 No Proposed Class Member would have paid Mr. Boedeker’s estimated “price” in the
But-For World and therefore it is irrelevant to a price premium damages calculation.




75 Boedeker Zarinebaf Report, ¶ 41.
76 Boedeker Zarinebaf Report, ¶ 36 (“The First Order Condition in the But-For-World is different from the First
Order Condition in the Actual-World. In the But-For-World, the manufacturer faces a lower demand and – if it
could - would set a different price which maximizes profits”).
77 Boedeker Zarinebaf Report, ¶ 58 (“Restitution for all class members can only be achieved if the price premium is

calculated as the difference between the actual and the but-for demand for the quantity sold in the actual world.”).



                                                                                                             Page 25
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 30 of 110 PageID #:3816




VII.    Mr. Boedeker’s Conjoint Surveys Cannot Generate Reliable Estimates of Consumer
        Preferences or Demand for At-Issue Products in the Actual World or the But-For
        World

        A.       Mr. Boedeker’s Survey Samples Are Not Representative of Proposed Class
                 Members and Cannot Be Used to Estimate Their Preferences

52.     To estimate demand curves for the At-Issue Products, Mr. Boedeker relies on data
collected from respondents in four conjoint surveys. One of the fundamental requirements in
proper survey design is identifying the appropriate universe or population and drawing a sample
that is representative of that population. As discussed in Dr. Shari Diamond’s Reference Guide
on Survey Research:

        One of the first steps in designing a survey or in deciding whether an existing
        survey is relevant is to identify the target population (or universe). The target
        population consists of all elements (i.e., individuals or other units) whose
        characteristics or perceptions the survey is intended to represent.78


Defining the target population, and appropriately sampling from that population, is critical
because “[a] survey that provides information about a wholly irrelevant population is itself
irrelevant.”79
53.     If Mr. Boedeker’s goal was to estimate the demand curves for the At-Issue Products, then
the target population must be the set of consumers who have purchased (or would have
considered purchasing) the At-Issue Products. Consider, for example, a researcher interested in
estimating how different product features influence demand for the Nike Vaporfly, a premium
running shoe marketed to elite runners.80 The Nike Vaporfly, which has an MSRP of $250, is
more than twice as expensive as the average pair of running shoes in a specialty-running store,81
and features technologies such as a lightweight carbon fiber plate in the foam for energy return.82
Surveying all consumers who have purchased or considered purchasing any shoes or even

78 Diamond, S. S. (2011), “Reference Guide on Survey Research,” in Reference Manual on Scientific Evidence,
Washington, D. C.: The National Academies Press, 359–423 (“Diamond (2011)”), at p. 376.
79 Diamond (2011), p. 377.
80 See “Nike ZoomX Vaporfly NEXT%,” Nike, https://www.nike.com/t/zoomx-vaporfly-next-running-shoe-

4Q5jfG/AO4568-800.
81 See “Cheap Vs. Expensive Shoes: Does It Matter,” Podium Runner, https://www.podiumrunner.com/gear/cheap-

vs-expensive-shoes-matter/.
82 See “Nike ZoomX Vaporfly NEXT%,” Nike, https://www.nike.com/t/zoomx-vaporfly-next-running-shoe-

4Q5jfG/AO4568-800.



                                                                                                    Page 26
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 31 of 110 PageID #:3817




running shoes generally in the past three years would be an unreliable method for understanding
how the population of interest, elite runners, consider and value different product features. The
market for elite running shoes is simply different from the market for all shoes (which would
include shoes at all price points and for purposes other than running), and even the market for
running shoes. Yet Mr. Boedeker makes an analogous error in his survey sample selection. His
survey sample consists primarily of respondents who have not purchased (or would not have
considered purchasing) the At-Issue Products, which is a wholly irrelevant population. As a
result, the data collected from Mr. Boedeker’s Conjoint Surveys cannot be used to reliably
estimate the demand for the At-Issue Products.
54.     To qualify for Mr. Boedeker’s surveys, respondents were not required to have purchased
or considered purchasing ACANA or ORIJEN.83 Instead, respondents only had to have
purchased or considered purchasing84 one or more dog food brands from a list of 32 brands


83  Mr. Boedeker selectively included some of the respondents from the surveys that he conducted in the Song matter
in his sample for the current matter. See Deposition of Stefan Boedeker, March 16, 2021 (“Boedeker Colangelo
Deposition”), pp. 63:15–64:1. Many of the open-ended responses provided by Mr. Boedeker’s respondents in the
current matter are identical to those in the Song matter. See Boedeker Backup Materials; Boedeker Backup
Materials (Song Report). It is unclear whether Mr. Boedeker fielded his surveys for the current matter and the Song
matter during the same time period. In his report, Mr. Boedeker said that his surveys for the current matter were
fielded in September and October of 2020. See Boedeker Zarinebaf Report, ¶ 149. However, at his deposition, Mr.
Boedeker stated that he thought this date was incorrect: “September, October, 2020 would have been too early for
these three states.” See Boedeker Colangelo Deposition, p. 62:3–11. If Mr. Boedeker fielded his surveys for the
current matter at a different time than the Song matter, then this could lead to substantial data integrity issues.
Specifically, he may have surveyed the same individuals multiple times. Mr. Boedeker did not provide any details
on this in his report or appendices (and, as noted, appears to have provided an inaccurate date for when his surveys
in the current matter were fielded in his report). Furthermore, Mr. Boedeker did not provide details on how he
selected the respondents from the Song matter to include in his sample for the current matter. This calls into
question the integrity of his sampling process. See Diamond (2011), p. 415.
84 Note that in his report Mr. Boedeker claims he restricted his sample to only respondents who had actually

purchased one or more of the qualifying brands in his list. See Boedeker Zarinebaf Report, ¶ 108. However, Mr.
Boedeker’s Appendix 1 indicates that any respondent who purchased or considered one or more of the qualifying
brands would qualify for his survey. See Boedeker Zarinebaf Report, Appendix 1, pp. 15, 56, 87, 129. Therefore,
respondents need not have been purchasers, and there is apparently no way to tell which respondents were
purchasers vs. considerers of the qualifying brands. This criterion differs from Mr. Boedeker’s survey in the Loeb
matter, where respondents were required to have purchased at least one brand from a similar list of qualifying
brands. Mr. Boedeker acknowledged at his deposition that his survey did not include any follow-up questions that
would allow him to identify survey respondents who considered, but never purchased, one of the qualifying brands.
Boedeker Song Deposition (Rough), pp. 41:12–42:3. See Expert Report of Stefan Boedeker in Support of Plaintiff’s
Motion for Class Certification, Kellie Loeb et al., v. Champion Petfoods USA Inc. et al., United States District
Court, Eastern District of Wisconsin, Case No. 18-494, November 16, 2018 (“Loeb Boedeker Report”), ¶ 112. The
Loeb Boedeker Report was filed in Kellie Loeb et al., v. Champion Petfoods USA Inc. et al., United States District
Court for the Eastern District of Wisconsin, Case No. 18-494.




                                                                                                            Page 27
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 32 of 110 PageID #:3818




provided in Mr. Boedeker’s surveys.85 Figure 8 below summarizes how many respondents in
Mr. Boedeker’s surveys purchased or considered purchasing ACANA or ORIJEN products.86
Across the four Conjoint Surveys, 2,068 respondents out of the total 2,375 respondents (87.1
percent) neither purchased nor considered purchasing ACANA or ORIJEN in the last three
years.87 In other words, only 307 respondents out of 2,375 (12.9 percent) purchased or
considered purchasing ACANA or ORIJEN in the last three years.




85 The qualifying brands used to screen respondents include the following: ACANA, Blue, Blue Wilderness, Castor
& Polloux Pristine-Raw Bites, Earthborn Natural, Fromm 4 Star, Fromm Gold, Go! Sensitive, Go! Fit and Free,
Holistic Select, Instinct Original Grain Free, K9 Natural, Kirkland Signature Nature’s Domain, Merrick
Backcountry, Merrick Classics, Merrick Grain Free, Natural Balance, Nature’s Variety, NOW Fresh, NutriSource
Grain Free, Nutro, Open Farm, ORIJEN, Primal, Purina Pro Plan, Rawz, SOJO’s Complete Beef, Stella & Chewy’s,
Taste of the Wild, Vital Essentials Limited Ingredient, Wellness CORE, and Zignature.
86 Mr. Boedeker only produced information regarding his final sample of 2,375 respondents. It is worth noting that

the Reference Guide on Survey Research states that, “[t]he completeness of the survey report is one indicator of the
trustworthiness of the survey and the professionalism of the expert who is presenting the results of the survey. A
survey report generally should provide in detail … [a] description of the results of sample implementation, including
the number of a. potential respondents contacted, b. potential respondents not reached, c. noneligibles, d. refusals, e.
incomplete interviews or terminations, and f. completed interviews.” See Diamond (2011), p. 415. Neither Mr.
Boedeker’s report nor his appendices or production files include information regarding how many survey invitations
were sent, how many of the total invitees took the survey, how many respondents began but did not complete the
surveys, and how many respondents completed the surveys but were excluded from Mr. Boedeker’s final sample.
87 At his deposition for the Song matter in Minnesota, Mr. Boedeker agreed that his surveys were “designed to

predict the behavior of people in Minnesota who bought Champion Petfoods,” yet also testified that there was “a
very strong point to be made to not limit the … respondents to just people who are [class members]” based on his
argument that non-purchasers of Champion products play a role in determining market prices. Boedeker Song
Deposition (Rough), p. 115:9–12, 116:12–25. This reasoning reflects a gross misunderstanding of the concept of
demand for a product, which is comprised of individuals who are willing and able to purchase the product at a given
price. See, e.g., Mankiw (2008), p. 67; Pindyck (2009), pp. 23–24.




                                                                                                                Page 28
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 33 of 110 PageID #:3819




                                          Figure 8
        Percent of Boedeker Conjoint Survey Respondents Who Indicated Purchasing or
                         Considering Purchasing ACANA or ORIJEN

                                                                       Number of                   Percent of
                                                                      Respondents                 Respondents

Total Respondents                                                            2,375                     100.0%

      Did Not Purchase or Consider Purchasing ACANA or
                                                                             2,068                       87.1%
      ORIJEN in the Last 3 Years
      Purchased or Considered Purchasing ACANA or
                                                                               307                       12.9%
      ORIJEN in the Last 3 Years

Source: Boedeker Report and Backup Materials


55.       An even smaller percentage of his respondents can be considered as potential Proposed
Class Members.88 Figure 9 below summarizes the proportion of respondents in Mr. Boedeker’s
surveys who indicated living in Illinois at the time they participated in the survey and having
purchased or considered purchasing ACANA or ORIJEN in the last 3 years. Across the four
conjoint surveys, only 670 respondents out of 2,375 (28.2 percent) indicated currently living in
Illinois.89 Of these 670 respondents, only 98 had purchased or considered purchasing ACANA or




88 It is worth noting that Mr. Boedeker’s surveys contain several design flaws and inconsistencies that prevent

identification of potential class members. First, none of Mr. Boedeker’s Conjoint Surveys asked respondents
whether they have resided in Illinois at any point since July 1, 2014 (a criterion for inclusion in the Proposed Class).
Mr. Boedeker’s Omissions Surveys and ACANA Misrepresentations Surveys asked respondents whether they have
“reside[d] in Minnesota anytime from January 1, 2015 to the present.” See Boedeker Zarinebaf Report, Appendix 1,
pp. 68, 110, 141. Emphasis added. Yet, residing in Minnesota at any point since January 1, 2015 is not a relevant
criterion for inclusion in the Proposed Class or Mr. Boedeker’s sample. Mr. Boedeker did not explain why he
solicited this wholly irrelevant piece of information. Additionally, Mr. Boedeker’s Omissions Surveys and ACANA
Misrepresentations Survey asked respondents whether they have purchased ORIJEN or ACANA dry dog food
between January 1, 2015 and the present. Mr. Boedeker did not explain why he selected January 1, 2015, an
arbitrary date, as a cutoff. Further, in the ORIJEN Misrepresentations Survey, Mr. Boedeker chose to completely
remove both of these questions. See Boedeker Colangelo Deposition, p. 68:1-15. He did not provide any
explanation as to why his surveys differ or why questions that are pertinent in three of his surveys are not for the
fourth. See Boedeker Zarinebaf Report, Appendix 1, pp. 2–42, 67–68, 109–110, 140–141.
89 In his work in the Loeb matter in Wisconsin, Mr. Boedeker justified his use of a nationwide sample by conducting

a pilot study regarding dog food purchasers’ preferences and testing to see if Wisconsin purchasers had significantly
different preferences than U.S. purchasers more broadly. See Loeb Boedeker Report, Table 2. Mr. Boedeker has
not conducted such analysis in this matter.




                                                                                                                 Page 29
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 34 of 110 PageID #:3820




ORIJEN in the last 3 years. Thus, only 4.1 percent of Mr. Boedeker’s sample could potentially
qualify as Proposed Class Members.90

                                          Figure 9
       Percent of Boedeker Conjoint Survey Respondents Who Could Be Members of the
                                       Proposed Class

                                                                 Number of                  Percent of
                                                                Respondents                Respondents

      Total Respondents                                                2,375                    100.0%

         Currently Reside in Illinois                                    670                     28.2%

            Currently Reside in Illinois and
            Purchased or Considered Purchasing                            98                       4.1%
            ACANA or ORIJEN in the Last 3 Years

      Source: Boedeker Report and Backup Materials


56.       Mr. Boedeker provided no justification of how his survey sample—which consisted
almost entirely of respondents who neither purchased nor considered purchasing the At-Issue
Products—can be representative of consumers who purchased (or would purchase) the At-Issue
Products. In fact, many respondents in Mr. Boedeker’s surveys explicitly stated that, in the real
world, they would not purchase dog food products at the prices that Mr. Boedeker used in his
survey. Preferences of respondents who do not purchase, and would not consider purchasing,
products at ACANA or ORIJEN price points cannot possibly be representative of the preferences
of Proposed Class Members who, by definition, actually purchased At-Issue Products. For
example, in the following open-ended comments, Mr. Boedeker’s respondents clearly indicated
that the prices that Mr. Boedeker selected as representative of ACANA and ORIJEN products
were much higher than prices they pay, or would pay, for dog food in the real world:91


90 Note that Mr. Boedeker did not ask respondents if they had lived in Illinois since January 1, 2015 in any of his
four Conjoint Surveys. Additionally, Mr. Boedeker did not ask respondents in his ORIJEN Omissions survey if they
had purchased ACANA or ORIJEN products since January 1, 2015. Thus, based on the information collected by
Mr. Boedeker, it is not possible to determine which or how many respondents, if any, would qualify as Proposed
Class Members.
91 Boedeker Zarinebaf Report, ¶ 119.




                                                                                                           Page 30
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 35 of 110 PageID #:3821




               “The prices for a 13 pound bag are outrageous”92
               “All of the options are too expensive for my budget”93
               “I have never observed the provided prices for a THIRTEEN pound bag of dog
                food”94
               “Price is too high”95
               “I would never pay that much for dog food.”96
               “The dog food was too expensive.”97
               “[U]nless an individual is bringing home a six figure income who else could
                possibly afford a weeks paycheck a month to feed their pets”98
               “While these are nice thing to have in a dog food, dog food should not be priced
                so high that it is unaffordable, or priced out of competition. If it is, than it is
                catering to a very specific financial market and shouldn’t be in a survey directed
                to the general middle class.”99
               “Prices seem high for a 13lb bag”100
               “All of the options are too expensive for us.”101
               “I find the price point high”102
               “The sample prices seemed incredibly high. We pay around $40 for a 40 pound
                bag.”103
               “All of the food prices seemed high.”104
               “The price of all of these seems really high”105


92 Respondent ID# 19 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
93 Respondent ID# 363 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
94 Respondent ID# 382 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
95 Respondent ID# 383 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
96 Respondent ID# 230 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
97 Respondent ID# 372 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
98 Respondent ID# 206 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
99 Respondent ID# 100 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
100 Respondent ID# 567 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
101 Respondent ID# 606 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
102 Respondent ID# 711 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
103 Respondent ID# 371 (ORIJEN Omissions). See Boedeker Backup Materials.
104 Respondent ID# 437 (ORIJEN Omissions). See Boedeker Backup Materials.
105 Respondent ID# 54 (ACANA Misrepresentations). See Boedeker Backup Materials.




                                                                                                      Page 31
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 36 of 110 PageID #:3822




               “I prefer to buy healthy ingredients at a discount. Over $60 for a 25# bag is
                excessive.”106
               “All of the options shown were too expensive for my budget, I find good
                alternatives that my dogs thrive on at much lower prices”107
               “the dog food at the prices listed and for the size bag is too expensive sorry”108
               “One of the key ‘critical factors’ must be cost. Dry dog food should not cost over
                $50/25lbs.\The tern wholeprey is a real turnoff..especially for non-rural
                customers”109
                “I would not buy this brand, its too expensive.”110
                “Need to offer lower pricing.”111
               “I would love to feed this to my dog but it costs more than what I eat so I am
                better off feeding him my chicken and turkey off my plate.”112
               “prices too high”113
                “This dog food is too expensive does not provide a unique product”114
               “Too expensive for regular consumers”115
               “Wow – those brands are very pricey.”116
               “the prices are insane and no normal, working class person is going to pay that
                much money for 25 lbs of dog food no matter what is in it.”117
               “the pricing on each of the choices of dog food was too high. if you seriously
                wanted to know if people will buy one over the other, more realistic pricing
                should be used”118
               “Your pricing was just way way too high. ”119

106 Respondent ID# 74 (ACANA Misrepresentations). See Boedeker Backup Materials.
107 Respondent ID# 77 (ACANA Misrepresentations). See Boedeker Backup Materials.
108 Respondent ID# 107 (ACANA Misrepresentations). See Boedeker Backup Materials.
109 Respondent ID# 110 (ACANA Misrepresentations). See Boedeker Backup Materials.
110 Respondent ID# 124 (ACANA Misrepresentations). See Boedeker Backup Materials.
111 Respondent ID# 273 (ACANA Misrepresentations). See Boedeker Backup Materials.
112 Respondent ID# 306 (ACANA Misrepresentations). See Boedeker Backup Materials.
113 Respondent ID# 310 (ACANA Misrepresentations). See Boedeker Backup Materials.
114 Respondent ID# 340 (ACANA Misrepresentations). See Boedeker Backup Materials.
115 Respondent ID# 579 (ACANA Misrepresentations). See Boedeker Backup Materials.
116 Respondent ID# 628 (ACANA Misrepresentations). See Boedeker Backup Materials.
117 Respondent ID# 48 (ACANA Omissions). See Boedeker Backup Materials.
118 Respondent ID# 834 (ACANA Omissions). See Boedeker Backup Materials.
119 Respondent ID# 893 (ACANA Omissions). See Boedeker Backup Materials.




                                                                                                Page 32
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 37 of 110 PageID #:3823




57.    These comments are not surprising in light of the price levels of dog food products that
Mr. Boedeker used to screen his respondents, which are typically lower than ACANA and
ORIJEN products. This means that respondents who qualified for Mr. Boedeker’s survey based
on their purchase, or purchase consideration, of other products may have never purchased a dog
food product at a similar price as ACANA and ORIJEN products in the real world. Figure 10
compares the price levels used in Mr. Boedeker’s Conjoint Surveys and the actual prices of Mr.
Boedeker’s qualifying brands. Almost 40 percent of the qualifying brands have prices below the
lowest price used in the ORIJEN Omissions Survey and more than 75 percent have prices below
the lowest price used in the ORIJEN Misrepresentations Survey. Additionally, 92 percent of the
qualifying brands have prices below the median price used in the ORIJEN Omissions Survey and
100 percent have prices below the median price used in the ORIJEN Misrepresentations Survey.
For ACANA, 8 percent of the qualifying brands have prices below the lowest price used in the
surveys and 62 percent have prices below the median survey price.




                                                                                           Page 33
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 38 of 110 PageID #:3824




                                            Figure 10
                         The Qualifying Brands in Mr. Boedeker’s Surveys
                             Are Cheaper than ACANA and ORIJEN

                                                                   Number of Dog            Percent of Dog
                                                                    Food Product             Food Product
                                              Package Size       Prices Below Price       Prices Below Price
                                    Price         (lbs)                Level[1]                  Level
ORIJEN Misrepresentations Survey
Survey Price Level 1                $45.99            13                    64                      75%
Survey Price Level 2                $56.99            13                    83                      98%
Survey Price Level 3                $65.99            13                    85                     100%
Survey Price Level 4                $72.99            13                    85                     100%
Survey Price Level 5                $85.99            13                    85                     100%

ORIJEN Omissions Survey
Survey Price Level 1               $56.99             25                    22                      37%
Survey Price Level 2               $69.99             25                    41                      68%
Survey Price Level 3               $80.99             25                    55                      92%
Survey Price Level 4               $89.99             25                    59                      98%
Survey Price Level 5              $105.99             25                    60                     100%

ACANA Misrepresentations and Omissions Surveys[2]
Survey Price Level 1                $46.99            25                     5                       8%
Survey Price Level 2                $57.99            25                    24                      40%
Survey Price Level 3                $66.99            25                    37                      62%
Survey Price Level 4                $73.99            25                    43                      72%
Survey Price Level 5                $87.99            25                    57                      95%

Source: Boedeker Report and Backup Materials; CPF1766183.xlsx
Note:
[1] Prices are normalized by multiplying the price per pound of a given product by the package size considered in
the survey. Because larger packages are expected to be offered at a discounted per pound price, I limited my
analysis to dog food products with package sizes within 3 pounds of the package size considered in the survey.
For dog food products for which both MSRP and online price are available, I considered the higher of the two
prices. Of the 30 brands used by Mr. Boedeker to screen survey respondents, 19 were available in the
Champion U.S.A. Pricing Guide in the package sizes I considered and are included in the above analysis (Blue,
Blue Wilderness, Earthborn Natural, Fromm 4 Star, Fromm Gold, Go Sensitive, Go Fit + Free, Instinct Original
Grain Free, Merrick Backcountry, Merrick Classics, Merrick Grain Free, Natural Balance, NOW Fresh, NutriSource
Grain Free, Open Farm, Rawz, Taste of the Wild, Wellness CORE, and Zignature). Out of the 2,375 respondents
who completed the Boedeker Conjoint Surveys, 85 percent indicated having purchased or considered
purchasing at least one of these 19 brands in the previous three years.
[2] The price levels and bag size used in the ACANA Misrepresentations and Omissions Surveys were the
same, and as such only one panel for ACANA is included above.


58.     The incomes of Mr. Boedeker’s survey respondents provide additional evidence that
respondents who took Mr. Boedeker’s Conjoint Surveys are not representative of ACANA or



                                                                                                           Page 34
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 39 of 110 PageID #:3825




ORIJEN purchasers. As Mr. Boedeker acknowledged in his report, it is likely that premium dog
foods are purchased mainly by affluent households.120 Nevertheless, almost a third of Mr.
Boedeker’s survey respondents had incomes less than $50,000.121 This is inconsistent with Mr.
Boedeker’s observation and with ACANA and ORIJEN’s positioning as premium brands. For
example, according to a January 2017 U.S. Dog Pet Food Survey commissioned by Champion
(“U.S. Dog Pet Food Survey”), individuals with annual household incomes higher than $60,000
were more likely to be aware of the ACANA and ORIJEN brands.122 The U.S. Dog Pet Food
Survey also found that, unlike Mr. Boedeker’s respondents quoted above, price is less of a
concern to individuals with higher household incomes.123
59.     Because the vast majority of Mr. Boedeker’s survey data was collected from respondents
who have not purchased, and likely would not purchase, the At-Issue Products, Mr. Boedeker
cannot use this survey data to reliably estimate demand for the At-Issue Products. If Mr.
Boedeker were to limit his analysis to focus only on respondents who indicated they currently
reside in Illinois and who indicated they purchased or considered purchasing ACANA or
ORIJEN products in the last 3 years, the resulting sample size would be less than 5 percent of his
original sample size–too small to rely on.124
        B.       Mr. Boedeker’s Survey Instruments Are Fundamentally Flawed

60.     For a conjoint survey instrument to generate reliable estimates of consumer preferences,
choice tasks should reflect as closely as possible the real-world environment in which the
purchase decision would be made for the relevant products:




120 Boedeker Zarinebaf Report, ¶ 155.
121 Boedeker Zarinebaf Report, Errata and Clarifications, p. 1.
122 See “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017,

CPF0145434–5538, at 489.
123 See “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017,

CPF0145434–5538, at 474. At his deposition, Mr. Silverman testified that “My understanding is that Acana is a
premium-priced product and Orijen are super premium-priced products.” See Deposition of Bruce Silverman,
November 24, 2020 (“Silverman Song Deposition”), pp. 63:24–64:1.
124 See Figure 9 above.




                                                                                                          Page 35
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 40 of 110 PageID #:3826




        [C]hoice tasks should be designed to be realistic and natural, approximating as
        closely as possible the actual choice context; and the choices offered should be
        credible.125

        The profiles presented [in a conjoint survey] should be believable (and should
        resemble existing products as much as possible).126

        The menus of products and their descriptions are designed to realistically mimic a
        market experience where a consumer can choose among various competing
        products.127

        Of general concern is the question about the realism of the task required
        from interviewees. The trade-offs involved in comparing alternative
        hypothetical objects may seem quite unreal to individuals cooperating
        with a conjoint analysis study. … [If] the hypothetical objects differ
        dramatically from the actual objects (products) available, the task will be
        more demanding and the judgments may not be as representative of what
        an individual would actually do in a marketplace setting.128

61.     As I explain below, both the Misrepresentations Surveys and Omissions Surveys violated
these basic guidelines and presented respondents with products and choice tasks that bore little to
no resemblance to what consumers experience in the real world. Mr. Boedeker’s Omissions
Surveys are further flawed because they solicit preferences in relation to respondents’ favorite
dog food products instead of ORIJEN or ACANA products that are at issue. As a result, Mr.
Boedeker’s Conjoint Surveys cannot provide reliable estimates of consumer demand for the At-
Issue Products.




125 Carson, R. T., J. D. Louviere, D. A. Anderson, P. Arabie, D. S. Bunch, D. A. Hensher, R. M. Johnson, W. F.

Kuhfeld, D. Steinberg, J. Swait, H. Timmermans, and J. B. Wiley (1994), “Experimental Analysis of Choice,”
Marketing Letters, 5, 4, 351–367 at p. 355. Emphasis added.
126 Rao, V. R. (2014), Applied Conjoint Analysis, New York, NY: Springer, p. 45. Emphasis added.
127 Ben-Akiva, M., D. McFadden, and K. Train (2019), “Foundations of Stated Preference Elicitation: Consumer

Behavior and Choice-Based Conjoint Analysis,” Foundations and Trends in Econometrics, 10, 1–2, 1–144 at p. 11.
Emphasis added.
128 Cattin, P. and D. R. Wittink (1982), “Commercial Use of Conjoint Analysis: A Survey,” Journal of Marketing,

46, 3, 44‒53 at 51. Emphasis added.




                                                                                                         Page 36
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 41 of 110 PageID #:3827




                 1.       Misrepresentations Surveys


62.     The premise of Mr. Boedeker’s Misrepresentations Surveys has no connection to the
purchase experience of the At-Issue Products in the real world. In his Misrepresentations
Surveys, Mr. Boedeker first instructed respondents to assume that they are already purchasing a
specific Champion product. For the ACANA Misrepresentations Survey, for example, the
instructions stated:

        Next, we have a brief exercise to help us learn about your dog food purchase
        preferences. Assume that you are purchasing a 25-pound bag of Acana Regionals
        Meadowland dry dog food.129


63.     For the ORIJEN Misrepresentations Survey, the instructions stated:

        Next, we have a brief exercise to help us learn about your dog food purchase
        preferences. Assume that you are purchasing a 13-pound bag of Orijen Regional
        Red dry dog food.130


64.     After these instructions, Mr. Boedeker asked respondents in his Misrepresentations
Surveys to view a combination of labels that could appear on the Champion product (that they
have just been asked to assume they are purchasing) and to “select the option that matches [their]
preference.”131 This type of label evaluation exercise Mr. Boedeker’s respondents were asked to
go through is fundamentally untethered to how consumers make dog food purchase decisions in
the real world. In the real world, consumers do not evaluate which labels they would prefer on a
product (and definitely not on a product that they are told to assume they are buying) and make
product choices based on a subset of claims on that product’s label.
65.     Instead, consumers in the real world select from a set of dog food products that vary
across many dimensions. As an example, consider the various options from which consumers
can choose in the real world on Petco.com. See Figure 11 below.




129 Boedeker Zarinebaf Report, ¶ 133. Emphasis added.
130 Boedeker Zarinebaf Report, ¶ 129. Emphasis added.
131 Boedeker Zarinebaf Report, Appendix 1, pp. 26, 98.




                                                                                             Page 37
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 42 of 110 PageID #:3828




                                            Figure 11
                               Example Dog Food Search on Petco.com




Here, consumers are presented with dog food products from a variety of brands, price points,
flavors, sizes, and an assortment of other product features such as diet considerations (e.g., with
grain or grain-free) or life stage (e.g., puppy, adult, or senior).132 On the left side of the web
page, consumers are presented with the option to filter their search results by price, brand,
delivery options, breed size, dietary preferences, flavor, average rating, health feature, and life
stage. When consumers navigate to a particular product, they are further presented with an
additional description of that particular product and are able to view the ingredients list.
Consumers can then choose which product to purchase depending on their individual
preferences.
66.     This ability to review and filter based on different dog food attributes caters to
consumers, whose preferences for different attributes vary from one consumer to the next.133

132 See, e.g., “Dry Dog Food,” Petco, https://www.petco.com/shop/en/petcostore/category/dog/dog-food/dry-dog-
food.
133 Peter, J. P. and J. C. Olson (2010), “Affect and Cognition and Marketing Strategy,” in Consumer Behavior and

Marketing Strategy, New York, NY: McGraw-Hill/Irwin, 36–65.




                                                                                                           Page 38
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 43 of 110 PageID #:3829




Different consumers may have specific preferences regarding ingredients due to their dog’s
breed,134 allergies,135 weight and dental concerns,136 or flavor preferences.137 Consumers’ prior
experiences with a product also play a large role in influencing their decisions.138 For example,
health issues were a factor in Minnesota Named Plaintiff Mr. Wertkin’s dog food purchase
decisions – he testified that he switched from ORIJEN to ACANA because one of his dogs was
having skin issues and the veterinarian recommended a lower-protein diet.139 Some consumers
care more about nutritional quality, while others may be more concerned with fresh ingredients,
the quantity and type of meat, or the carbohydrate percentage.140 Indeed, Minnesota Named
Plaintiff Ms. Song indicated at her deposition that a grain-free diet was important to her because
she believed it to be optimal for dogs.141 Mr. Chernik, a Named Plaintiff in this matter, also

134 For example, small or toy breed dogs tend to have high metabolisms and may require food with a high energy

content that is also easy to swallow and digest. Large and giant breeds reach adulthood quickly and are particularly
prone to joint issues, so they may need omega-3 and omega-6 fatty acids, glucosamine, and chondroitin sulphate.
Dogs with flat faces like pugs or French bulldogs often require food of particular shapes and textures. See “Why
You Should Tailor Your Dog’s Food to Their Age and Breed,” The Telegraph, December 15, 2017,
https://www.telegraph.co.uk/pets/family-animals/choose-the-right-food-for-your-dog/.
135 For example, some dogs suffer from food allergies and intolerances, which I understand often relate to the

consumption of specific animal proteins. See “What Every Pet Owner Should Know about Food Allergies,”
Clinical Nutrition Service at Cummings School, January 27, 2017, http://vetnutrition.tufts.edu/2017/01/food-
allergies/.
136 “How to Choose the Best Pet Food for Puppies,” VetStreet, March 11, 2014, http://www.vetstreet.com/drmarty-

becker/how-to-choose-the-best-pet-food-for-puppies; “Why You Should Tailor your Dog’s Food to Their
Age and Breed,” The Telegraph, December 15, 2017, https://www.telegraph.co.uk/pets/family-animals/choosethe-
right-food-for-your-dog/.
137 For example, according to the U.S. Dog Pet Food Survey, 66 percent of respondents indicated that they evaluate

dog food products on whether or not their dog likes the food. See “Brand Finance U.S. Dog Pet Food Survey,”
Brand Finance, January 13, 2017, CPF0145434–5538, at 463.
138 For example, 95 percent of respondents in the U.S. Dog Pet Food Survey indicated that they judge the quality of

their dog’s food based on their dog’s reactions to eating it (e.g., whether their dog likes the food or the appearance of
their dog’s coat). Additionally, 85 percent of respondents in the survey indicated that they always feed their dog the
same brand. See “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–
5538, at 458, 463. See also Macdonald, E. K. and B. M. Sharp (2000), “Brand Awareness Effects on Consumer
Decision Making for a Common, Repeat Purchase Product: A Replication,” Journal of Business Research, 48, 5–15.
139 Deposition of Scott Wertkin, August 31, 2020, pp. 27:5–10; 57:23–58:1. Note that Mr. Wertikin is a named

plaintiff in a similar matter and a purchaser of Champion dog food. Jennifer Song et al., v. Champion Petfoods
USA, Inc. et al., United States District Court, District of Minnesota, Case No. 18-cv-03205-PJS-KMM.
140 For example, according to the U.S. Dog Pet Food Survey, consumers age 55 and older care more about

nutritional quality, while consumers under age 55 are more concerned with fresh ingredients, the quantity and type
of meat, and the carbohydrate percentage. See “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January
13, 2017, CPF0145434–5538, at 478.
141 Deposition of Jennifer Song, August 25, 2020 (“Song Deposition”), p. 51:13–17. Note that Ms. Song is a named

plaintiff in a similar matter and a purchaser of Champion dog food. Jennifer Song et al., v. Champion Petfoods
USA, Inc. et al., United States District Court, District of Minnesota, Case No. 18-cv-03205-PJS-KMM.




                                                                                                                 Page 39
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 44 of 110 PageID #:3830




indicated that he purchased Champion products because he read the ingredients list and saw that
the product did not contain grains.142
67.      These preferences for dog food products can also change over time, for example, as dog
owners’ incomes change,143 as a dog transitions through life stages,144 or as dog owners receive
new information from experts or other third parties, such as veterinarians or pet store
employees.145 For example, Ms. Song testified that when she got her first dog, Suzy, she selected
dog food based on discussions with veterinarians and employees at a specialty pet foods store.146
Ms. Song also testified that, for a time, she fed Suzy raw dog food due to weaknesses associated
with her back leg and kidney.147 When Suzy was older, Ms. Song purchased ORIJEN Senior dog
food due to her dog’s age.148 As another example, Mr. Zarinebaf, a Named Plaintiff in this
matter, testified that he did not believe the food his veterinarian recommended was healthy, and
so did not act on the recommendation.149 However, when Mr. Zarinebaf’s veterinarian




142 Chernik Deposition, pp. 105:19–106:7.
143 Consumers with lower incomes also tend to be more price-sensitive and less willing to pay higher prices. For
example, the U.S. Dog Pet Food Survey found that, relative to higher income respondents, lower income
respondents were more likely to report that “better pricing” was important when purchasing dog food and that higher
income respondents were more likely to shop for pet food at specialty stores. See “Brand Finance U.S. Dog Pet
Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 465, 468.
144 Puppies require “easy-to-digest carbohydrates,” and specific nutrients such as calcium, phosphorus, antioxidants,

and vitamins C and E. Senior dogs may require a diet rich in omega-3 and fatty acids. Senior dogs also tend to be
less active than puppies, so owners are advised to adjust calorie counts accordingly. See “Why You Should Tailor
Your Dog’s Food to Their Age and Breed,” The Telegraph, December 15, 2017,
https://www.telegraph.co.uk/pets/family-animals/choose-the-right-food-for-your-dog/.
145 According to an article published on Pet MD, more than 75 percent of pet owners consider the nutritional advice

of their veterinarian. See “Buying & Choosing Pet Food is Priority, petMD Survey Finds,” PetMD,
https://www.petmd.com/dog/nutrition/buying-choosing-pet-food-priority-petmd-survey-finds. The U.S.
Dog Pet Food Survey similarly found that 57 percent of the 1,001 respondents identified their veterinarian as a
“source of information [they] rel[ied] on…to determine what to feed [their] dog,” while 28 percent identified their
veterinarian as the source of information they relied on the most in their purchase decision-making process.
According to the same survey, 61 percent of 1,001 respondents considered “Veterinarian’s Recommendation” as
“very influential” or “most influential” in deciding which dog food brand to purchase. Additionally, 46 percent of
respondents who shopped in specialty pet stores indicated that they found an employee’s recommendation
influential. See “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538,
at 459, 479.
146 Song Deposition, p. 32:3–10.
147 Song Deposition, p. 46:2–5.
148 Song Deposition, p. 40:5–10.
149 Zarinebaf Deposition, pp. 43:24–44:17.




                                                                                                             Page 40
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 45 of 110 PageID #:3831




recommend he feed his dog on a rice and chicken diet when the dog was sick, he did follow this
recommendation.150
68.       Commentary provided by respondents who participated in Mr. Boedeker’s
Misrepresentations Surveys demonstrate the importance of such product features when
consumers decide which dog food to purchase and the unrealistic nature of Mr. Boedeker’s
choice tasks:
         “Would need to research pet foods before buying - labels are not that important”151
         “There are so very many things that go into choosing a dig food. What you gave in this
          survey was not ever enough to make a fair and informed decision. No where did I see
          actual Ingredients.”152
         “Could not read a list of the actual ingredients thus my answer that I would not
          purchase.”153
         “I would not purchase this brand as my dog is on limited ingredients due to his
          allergies.”154
         “My dogs currently are on a vet recommended diet, but they have had other brands like
          Wellness prior.”155
         “I choose dogwood [dog food] based on online research and ratings before I ever read a
          bag.”156
         “I basically go off of vet recos [recommendations].”157
         “Dog has vet prescription food. Doesn’t apply.”158
         “I would not change my dog food (Purina Pro Plan) unless my vet advised me to. I trust
          his knowledge more than what is on a bag.”159


150 Zarinebaf Deposition, pp. 44:19–44:45:2.
151 Respondent ID# 53 (ACANA Misrepresentations). See Boedeker Backup Materials.
152 Respondent ID# 223 (ACANA Misrepresentations). See Boedeker Backup Materials.
153 Respondent ID# 311 (ACANA Misrepresentations). See Boedeker Backup Materials.
154 Respondent ID# 139 (ACANA Misrepresentations). See Boedeker Backup Materials.
155 Respondent ID# 262 (ACANA Misrepresentations). See Boedeker Backup Materials.
156 Respondent ID# 474 (ACANA Misrepresentations). See Boedeker Backup Materials.
157 Respondent ID# 450 (ACANA Misrepresentations). See Boedeker Backup Materials.
158 Respondent ID# 346 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
159 Respondent ID# 352 (ORIJEN Misrepresentations). See Boedeker Backup Materials.




                                                                                                Page 41
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 46 of 110 PageID #:3832




         “My primary concerns for food content is allergen content and digestibility. I do not
          need fancy labels or exotic ingredients for my dogs.”160
         “Unfortunately, I don’t really read the ingredients… now I should!”161
69.       The label evaluation exercise in Mr. Boedeker’s Misrepresentations Surveys is especially
problematic because the vast majority of the respondents (87.4 percent) indicated that they have
not purchased or even considered purchasing a Champion product in the last three years.162
Thus, Mr. Boedeker’s results from his Misrepresentations Surveys are based on choices made by
respondents who, by and large, have no experience with Champion products and who were
provided with combinations of labels and prices (as opposed to concrete product information that
mattered) to make these choices.163 Such data cannot be used to reliably estimate consumer
preferences for the At-Issue Products.
70.       Even if Mr. Boedeker’s Misrepresentations Surveys could sufficiently approximate real-
world purchase decisions (which they did not), Mr. Boedeker only presented respondents with
the packaging from two of the 11 At-Issue Products: ACANA Regionals Meadowland and
ORIJEN Regional Red. The results of these two Misrepresentations Surveys cannot be reliably
extrapolated to the other 9 At-Issue Products because the At-Issue Products vary substantially in
terms of the type of protein (such as chicken, fish, or lamb), fat content, grain content, package
size, and a multitude of additional factors.164 Mr. Boedeker’s framework assumes, without basis,


160 Respondent ID# 363 (ORIJEN Misrepresentations). See Boedeker Backup Materials.
161 Respondent ID# 291 (ACANA Omissions). See Boedeker Backup Materials.
162 Only 89 out of 653 respondents in the ORIJEN Misrepresentations Survey indicated purchasing or considering

for purchase ACANA or ORIJEN products in the last three years. Only 64 out of 566 respondents in the ACANA
Misrepresentations Survey indicated purchasing or considering for purchase ACANA or ORIJEN products in the
last three years.
163 Despite the emphasis on reviewing and evaluating labels, Mr. Boedeker did not screen out respondents who were

taking his Misrepresentations Surveys on a mobile device. Approximately 43 percent of respondents in the
Misrepresentations Surveys took the survey on a cell phone and several respondents left commentary indicating that
they had trouble viewing the images. See Boedeker Backup Materials; Respondent ID# 49, ACANA
Misrepresentations (“Text of dog food bag showed up too small on my smartphone”); Respondent ID# 123,
ACANA Misrepresentations (“Good comparison but some things on bag were difficult to read. Blurry.”). To the
extent Mr. Boedeker’s respondents made choices without the ability to properly view and evaluate the labels, their
responses would not be reliable.
164 See, e.g., the various dog food products available on ACANA and ORIJEN’s websites. “Six Fish,” Orijen,

https://orijen.ca/en-US/for-dogs-2/six-fish/ds-ori-six-fish-dog.html; “Lamb & Apple Recipe,” Acana,
https://acana.com/en-US/for-dogs-1/lamb-and-apple-recipe/ds-aca-singles-lamb-apple-2020 html; “Meadowland,”
Acana, https://acana.com/en_US/for-dogs-1/meadowland/ds-aca-meadowlands-dog html.




                                                                                                           Page 42
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 47 of 110 PageID #:3833




that the impact of each label is the same across all At-Issue Products for a particular brand. But,
as one example, consumers may place less importance on a “regional” label on products that
contain saltwater fish (which is unlikely to be “regional” to Kentucky).165 Indeed, even Mr.
Boedeker’s results suggest that presenting respondents with different products can result in
different estimates. For example, Mr. Boedeker’s estimated decline in economic value from all
of the Alleged Misrepresentations labels on the ACANA Regionals Meadowland product was
32.2 percent compared to 24.3 percent for ORIJEN Regional Red (see Figure 12 below).

                                          Figure 12
      Mr. Boedeker’s Estimated Decline in Economic Value for Alleged Misrepresentations

                                                    Mr. Boedeker's Estimated Decline in
                                                              Economic Value
                                                   ACANA Regionals
                 Label(s)                            Meadowland        ORIJEN Regional Red
                 Biologically Appropriate                9.6%                 10.8%
                 Fresh & Regional                        15.0%               15.2%
                 Nourish as Nature Intended /
                                                         11.8%                 -
                 Delivering Nutrients Naturally
                 All Labels                              32.2%               24.3%
                 Source: Boedeker Report, Table 14; Appendix 4


                   2.         Omissions Surveys


71.        Mr. Boedeker’s Omissions Surveys have no connection to either the At-Issue Products or
consumers’ purchase experience of the At-Issue Products in the real world. Mr. Boedeker’s
decision to probe respondents’ preferences based on their “favorite dry dog food” product
instead of ACANA and ORIJEN products is particularly problematic. Mr. Boedeker’s
Omissions Surveys generate results that are untethered to Plaintiffs’ liability theory (which is
based on omissions to ORIJEN or ACANA packages) because they solicit consumer preferences
on irrelevant products.
72.        Mr. Boedeker’s ACANA Omissions Survey and ORIJEN Omissions Survey both
instructed respondents to assume that they were purchasing their favorite dry dog food prior to
the choice tasks:


165   Silverman Song Deposition, pp. 53:21–54:4.



                                                                                               Page 43
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 48 of 110 PageID #:3834




         Next, we have a brief exercise to help us learn about your dog food purchase
         preferences. Assume that you are purchasing a 25-pound bag of your favorite dry
         dog food.166


73.      After these instructions, Mr. Boedeker asked respondents in his Omissions Surveys to
view a combination of warning labels that could appear on their favorite dry dog food (that they
have just been asked to assume they are purchasing) and to “select the option that matches [their]
preference.”167 Respondents were then asked if they would actually purchase the option with the
combination of warning labels they selected (despite the initial instruction to assume they are
already purchasing it).168
74.      Because Mr. Boedeker asked his respondents to complete their choice tasks in relation to
their “favorite dry dog food” (and not in relation to ACANA or ORIJEN), his results cannot be
reliably used to estimate the demand for the At-Issue Products (and thereby are unconnected to
Plaintiffs’ theory of damages). For example, consumers who typically purchase dog food with
high amounts of seafood (e.g., ORIJEN Six Fish) may have different expectations regarding the
level of heavy metals in their dog food compared to consumers who do not purchase dog food
with seafood.169 Since the purpose of the Omissions Surveys is to estimate the demand for the
At-Issue Products, any data collected about non-Champion products is uninformative and
irrelevant.170 This would be analogous to “estimating” the demand for Ferraris by surveying



166 Boedeker Zarinebaf Report, ¶ 137. Emphasis added. Note that this instruction was the same in both the ACANA

and ORIJEN surveys. The only difference between the ACANA Omissions Survey and the ORIJEN Omissions
Survey was the price levels used in the choice tasks. See Boedeker Zarinebaf Report, ¶¶ 136–140, Table 7, and
Appendix 1, pp. 43–73, 116–146.
167 Boedeker Zarinebaf Report, Appendix 1, pp. 63, 136.
168 Boedeker Zarinebaf Report, Appendix 1, pp. 66, 139.
169 I understand that Champion’s expert Dr. Robert H. Poppenga, a professor of clinical and diagnostic veterinary

toxicology, explained that the protein ingredients used in pet food affect the levels of heavy metals present, and that
it is not unusual to find heavy metals in ACANA and ORIJEN because ACANA and ORIJEN contain higher
amounts of animal-based proteins. See Expert Report of Dr. Robert H. Poppenga, DVM, PhD, DABVT, Afshin
Zarinebaf et al., v. Champion Petfoods USA, Inc. et al., United States District Court, Northern District of Illinois,
Case No. 18-cv-06951, February 19, 2021 (“Poppenga Zarinebaf Report”), pp. 8, 11–12.
170 As discussed above, the vast majority of respondents (87.1 percent) indicated that they neither purchased nor

considered purchasing ACANA or ORIJEN in the past three years. See Figure 8. To the extent Mr. Boedeker
assumes that his respondents would use a Champion product as their favorite dog food while they took the
Omissions Surveys, he provided no basis for such an assumption. Nor did he propose a methodology that would be
able to separate out respondents whose favorite dog food is a Champion product versus a non-Champion product.




                                                                                                               Page 44
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 49 of 110 PageID #:3835




those who have not considered purchasing a Ferrari and have only purchased or considered
purchasing a Honda Civic.
75.        Mr. Boedeker’s label evaluation exercise in the Omissions Surveys is also unconnected to
how consumers make dog food purchase decisions in the real world. Figure 13 below shows the
warning labels Mr. Boedeker presented to his respondents. Notably, none of these warning
labels are actual labels that have appeared (or are likely to appear) on a dog food package.
Instead, they are all negative product descriptions (and in essence warnings), provided by
Plaintiffs’ counsel,171 about the potential presence of contaminants in dog food.

                                               Figure 13
                          Labels Shown In the Omissions Surveys Choice Tasks




76.        In the real world, consumers do not decide which product to purchase by evaluating
labels containing negative information and warnings about a product (and definitely not on their
favorite dog food that they are told to assume they are buying). They instead typically evaluate


171   Boedeker Zarinebaf Report, ¶ 124, Table 7.



                                                                                               Page 45
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 50 of 110 PageID #:3836




concrete product information across multiple dimensions (such as ingredients), and then make a
selection. Mr. Boedeker did not provide information about the dog food presented beyond these
negative labels, and thus, the choice tasks in the Omissions Surveys essentially amount to a
“choice” between two bags of contaminants that are available at different price levels. This
bears no resemblance to purchase decisions in the real world.
77.     Mr. Boedeker’s respondents indeed indicated confusion at having to “choose” a dog food
based only on negative warning labels and price:
               “I don’t know what dog food you're selling, but scrap it and start over. Not only
                are the ingredients HORRIBLE, but the prices are insane and no normal, working
                class person is going to pay that much money for 25 lbs of dog food no matter
                what is in it.”172
               “the choices on the food where generally bad.”173
               “What dog food is this?! I would never want to feed my fur babies garbage like
                that!”174
               “There weren’t many good options for a dog food I would purchase.”175
               “I feel like I missed the point of this survey and none of the brands you showed
                are anything I currently buy my dog.”176
               “I don’t want to give my dog harmful products.”177
               “This was interesting since I would never purchase anyone of these dog foods.
                All ingredients were bad.”178
78.     Leaving aside the issues with the lack of realism and relevance of Mr. Boedeker’s choice
task, the vague language in Mr. Boedeker’s labels and the lack of proper context for the
information provided are likely to bias respondents’ choices. Conjoint survey best practices
prescribe that attributes (or in the context of the Omissions Surveys, the labels) and their levels


172 Respondent ID# 48 (ACANA Omissions). See Boedeker Backup Materials.
173 Respondent ID# 178 (ORIJEN Omissions). See Boedeker Backup Materials.
174 Respondent ID# 281 (ORIJEN Omissions). See Boedeker Backup Materials.
175 Respondent ID# 407 (ORIJEN Omissions). See Boedeker Backup Materials.
176 Respondent ID# 57 (ORIJEN Omissions). See Boedeker Backup Materials.
177 Respondent ID# 518 (ORIJEN Omissions). See Boedeker Backup Materials.
178 Respondent ID# 574 (ORIJEN Omissions). See Boedeker Backup Materials.




                                                                                               Page 46
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 51 of 110 PageID #:3837




must be defined clearly and concretely.179 Consider, for example, the warning label Mr.
Boedeker used to estimate the impact regarding the alleged presence of heavy metals. As shown
in Figure 14 below, Mr. Boedeker’s heavy metal warning label consisted of two levels.
Respondents either saw the entire heavy metals warning label or a completely blank label.180

                                       Figure 14
         Heavy Metals Warning Label and Blank Label Used In Omissions Surveys181




79.      Mr. Boedeker described the alleged presence of heavy metals using the qualifier, “May
contain.” The “May contain” language is vague as to the actual amount of heavy metals present.
It is also devoid of context about where the “heavy metals” came from, and thus respondents
could not know whether they were naturally occurring in the raw materials used to make the
products or were added in by the manufacturer during the manufacturing process. Accordingly,
Mr. Boedeker cannot ensure that his respondents were answering questions with an
understanding that was tied to the facts of the case.
80.      Given the vagueness of the language Mr. Boedeker used, all of the following scenarios
(and many others) could accurately be interpreted as “May contain measurable amounts of heavy
metals” by any given respondent:

179 Orme (2014), p. 54 (“Attribute descriptions should be concise statements with concrete meaning. Avoid using
ranges to describe a single level of an attribute, such as ‘weighs 3 to 5 kilos.’ Rather than leaving the interpretation
to the respondent, it would be better to specify ‘weighs 4 kilos.’ Levels such as ‘superior performance’ also leave
too much in question. What does ‘superior performance’ mean? Try to use specific language to quantify (if
possible) the exact meaning of the level.”); Allenby, G., N. Hardt, and P. Rossi (2019), “Economic Foundations of
Conjoint Analysis,” in Handbook of the Economics of Marketing, Vol. 1, J.-P. H. Dubé and P. E. Rossi, eds. Oxford,
UK: North-Holland, 151–192 at 166 (“Of critical concern in designing a conjoint survey is to ensure that questions
are posed in an unambiguous and easy-to-understand manner. Specifically, the conjoint attributes and their levels
should be specified so as not to bias preference measurement and introduce unnecessary measurement error due to
confusion or lack of understanding.”).
180 Even the completely blank label is ambiguous and unclear as to how respondents should interpret the meaning.

The Omissions Surveys instruct respondents that, “[i]f a cell is BLANK, then no labels regarding the attribute are
found on your favorite dog food.” The instructions do not clarify whether this means (i) that there are zero heavy
metals in the dog food, (ii) that the dog food still “may contain measurable amounts of heavy metals” but there is no
label on the packaging, or (iii) some other interpretation entirely. See Boedeker Zarinebaf Report, Figures 8, 9.
181 Boedeker Zarinebaf Report, Appendix 1, pp. 66, 139.




                                                                                                                Page 47
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 52 of 110 PageID #:3838




         The product contains absolutely no amounts of heavy metals;
         The product contains amounts of heavy metals at levels far below the Maximum
          Tolerable Levels established by the National Resource Council and used by the FDA and
          similar European Union regulatory maximum levels for heavy metals in pet foods and
          poses no risk to dogs;
         The product contains excessive amounts of heavy metals and the consumption of the
          product could harm the health of your dog over time;
         The product contains excessive amounts of heavy metals and the consumption of one
          serving will be fatal.

81.       However, not all of these interpretations are consistent with the allegations in this matter.
I understand that ACANA and ORIJEN products contain high levels of animal-based protein
content (e.g., meat, fish, etc.), and Champion’s expert Dr. Robert H. Poppenga, a professor of
clinical and diagnostic veterinary toxicology, concluded that heavy metals occur in nature and the
environment, are routinely found in pet foods at safe levels, and that “the levels of naturally
occurring heavy metals in ACANA and ORIJEN dog food diets do not present a health risk to
dogs.”182 According to Dr. Poppenga, all competitor dog foods contained some measurable amount
of heavy metals.183 Yet Mr. Boedeker did not inform his respondents that his heavy metals warning
label would apply to most, if not all, of the dog food products on the market. Relatedly, according
to Dr. Poppenga, BPA is ubiquitous and commonly found in pet foods and human foods.184 Yet
Mr. Boedeker did not inform his respondents that his BPA warning label (“May contain
measureable amounts of BPA. BPA is a chemical compound used in plastic.”) would apply to
many dog food products on the market. Indeed, at his deposition, Mr. Boedeker acknowledged



182 Poppenga Zarinebaf Report, pp. 8, 41.
183 Poppenga Zarinebaf Report, Table 8. Note that each of these competitor brands in the Poppenga Zarinebaf
Report were used in the list of qualifying brands in Mr. Boedeker’s surveys. See Boedeker Zarinebaf Report, fn 46.
184 Poppenga Zarinebaf Report, p. 29. See also, Deposition of Sean P. Callan, Ph. D, May 9, 2019, p. 59:2–16 (“Q.

I guess, if we go back to all the different several hundred dry-kibble dog food diets that have been tested for BPA by
Ellipse Analytics, you had testified that a third had BPA. And am I right that, when you said a third had BPA, that
meant a third had parts per billion of at least 30? A. I believe that is correct, yes, quantifiable levels under our
method. Q. So of the two-thirds, approximately, that did not have a parts per billion of above 30, is it possible that
they would have had some detectable level of BPA at less than 30 parts per billion? A. It is possible, yes.”).




                                                                                                              Page 48
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 53 of 110 PageID #:3839




that his survey did not provide a definition of what constitutes a “measurable amount” of heavy
metals or BPA, and that the interpretation of these statements would be “up to the consumer.”185
82.     Mr. Boedeker also failed to provide proper context regarding the expired ingredients
warning label and the regrinds warning label. These warning labels described the alleged
presence of expired ingredients and regrinds, respectively, as:

        May contain expired ingredients. Expired ingredients are ingredients that have
        passed their ‘shelf life’ date.

        May contain regrinds. Regrinds are previously made dry dog food that is ground
        and then used in another batch of dry dog food.186


These descriptions are vague as to (i) the actual frequency with which ACANA or ORIJEN
products contain expired ingredients or regrinds, (ii) what these practices entail, (iii) whether
they apply to many or most dog food products, and (iv) whether the alleged use of expired
ingredients or regrinds poses any safety risks. According to Christopher Milam (“Mr. Milam”),
the Director of Ingredient Innovation and Supplier Partnerships at Champion, the use of regrinds
is a standard food processing industry practice where kibble are set aside for partial re-processing
for reasons unrelated to safety, such as moisture content or irregularities in the kibble shape.187 I
understand from Mr. Milam that the amount of regrinds used in Champion products, if any at all,
varies by production run and is intended to displace at most 5 percent of the dry ingredients (e.g.,
lentils, beans, and other dry carbohydrates), and does not displace any wet ingredients (e.g., fresh
or raw meat).188 I further understand that the inclusion of expired ingredients in Champion
products (i.e., the use of an ingredient that has passed an internal expiration date set by

185 Boedeker Song Deposition (Rough), p. 26:22–27:12, 35:5–36:1. Mr. Boedeker wrongly claimed at his

deposition that leaving the interpretation of this heavy metals label up to the consumer “mimics the real life
situation.” In a world where Champion were to disclose information about “measurable amounts” of heavy metals
(or any of the other allegedly omitted content) in its products, the company would no doubt provide appropriate
context, for example, by clarifying that these “measurable amounts” are naturally occurring and are well within
limits that are safe for dogs. See Poppenga Zarinebaf Report, p. 41.
186 Boedeker Zarinebaf Report, Table 7.
187 Declaration of Christopher Milam, Kellie Loeb et al., v. Champion Petfoods USA, Inc. et al., United States

District Court, Eastern District of Wisconsin, Case No. 2:18-cv-00494-JPS, December 7, 2018, ¶ 25.
188 Declaration of Christopher Milam, Scott Weaver et al., v. Champion Petfoods USA, Inc. et al., United States

District Court, Eastern District of Wisconsin, Case No. 2:18-cv-1996-JPS, March 3, 2020, ¶¶ 32–33.




                                                                                                         Page 49
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 54 of 110 PageID #:3840




Champion or the ingredient supplier, similar to a “best-used-by” date) is rare,189 and only occurs
when it is safe to do so.190 Yet Mr. Boedeker left the interpretation of this seemingly negative
product information up to his respondents without any proper context.191
83.     The unrealistic nature of the choice tasks, the lack of proper context, and the negative
nature of the product information in Mr. Boedeker’s Omissions Surveys render these surveys
susceptible to negativity bias in particular. Negativity bias describes the phenomenon where
negative traits often make a stronger impression than positive traits, negative information is more
influential in forming opinions, and negative opinions are quicker to form and are harder to
change than positive ones.192 Indeed, respondents in Mr. Boedeker’s Omissions Surveys
indicated that they would not actually purchase the majority of the products they selected.
Across a total of 17,340 choice tasks in the Omissions Surveys, 61.0 percent of the choice tasks
resulted in the respondent indicating that they would not actually purchase the product they
indicated that they preferred.193 Figure 15 shows the proportion of respondents on the Omissions
Surveys who indicated that they would not purchase their preferred option on at least half of the
choice tasks they completed, and the proportion of respondents who indicated they would not
purchase their preferred options on all of the choice tasks.194 In the ORIJEN Omissions Survey,
67.5 percent of respondents indicated that they would not purchase the product they selected on
at least half of the choice tasks they saw, and 25.0 percent indicated they would not purchase the

189 Deposition of Jeff Johnston, June 24, 2020, pp. 104:16–105:24, 107:25–108:15.
190 Declaration of Christopher Milam, Kellie Loeb et al., v. Champion Petfoods USA, Inc. et al., United States
District Court, Eastern District of Wisconsin, Case No. 2:18-cv-00494-JPS, December 7, 2018, ¶¶ 28–29;
Declaration of Christopher Milam, Scott Weaver et al., v. Champion Petfoods USA, Inc. et al., United States District
Court, Eastern District of Wisconsin, Case No. 2:18-cv-1996-JPS, March 3, 2020, ¶¶ 35–37.
191 Boedeker Song Deposition (Rough), p. 36:2–11.
192 See, e.g., Anderson, N. H. (1965), “Averaging Versus Adding as a Stimulus-Combination Rule in Impression

Formation,” Journal of Experimental Psychology, 70, 4, 394–400; Skowronski, J. J. and D. E. Carlston (1989),
“Negativity and Extremity Biases in Impression Formation: A Review of Explanations,” Psychological Bulletin,
105, 1, 131–142; Baumeister, R. F., E. Bratslavsky, C. Finkenauer, and K. D. Vohs (2001), “Bad Is Stronger Than
Good,” Review of General Psychology, 5, 4, 323–370, at p. 323 (“Taken together, these findings suggest that bad is
stronger than good, as a general principle across a broad range of psychological phenomena.”). Other research
streams have also supported the idea of greater weighting of negative information, e.g., the Prospect Theory notion
that “losses loom larger than gains.” See Kahneman, D. and A. Tversky (1979), “Prospect Theory: An Analysis of
Decision Under Risk,” Econometrica, 47, 2, 263–292. Researchers in conjoint settings have also documented
evidence of respondents placing greater weight on negative attributes. See Huber, J. (1997), “What We Have
Learned from 20 Years of Conjoint Research: When to Use Self-Explicated, Graded Pairs, Full Profiles or Choice
Experiments,” Sawtooth Software Research Paper Series, 1–15 at 7–8.
193 See work paper.
194 After each choice task, respondents were asked “would you purchase the option you selected above?” See

Boedeker Zarinebaf Report, ¶ 126.



                                                                                                             Page 50
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 55 of 110 PageID #:3841




product they selected on all of the choice tasks they saw. The corresponding figures on the
ACANA Omissions Survey are 66.0 percent and 17.7 percent.

                                       Figure 15
Percent of Respondents in Omissions Surveys Who Would Not Buy their Preferred Option

                                                  Percent of Respondents Who       Percent of Respondents
                                                 Selected "Would Not Buy" For At    Who Always Selected
           Survey            Total Respondents    Least Half of the Choice Tasks      "Would Not Buy"
ORIJEN Omissions                      585                    67.5%                         25.0%
ACANA Omissions                       571                    66.0%                         17.7%

Total                               1,156                    66.8%                         21.4%

Source: Boedeker Report and Backup Materials


VIII. Mr. Boedeker’s “Market Simulation” Approach Cannot Estimate a Change in
      Demand Attributable to the Alleged Misrepresentations and Omissions, and His
      Estimates of Economic Loss Cannot Be Combined Across His Conjoint Surveys,
      Lack External Validity, and Are Internally Inconsistent

           A.       Mr. Boedeker Cannot Reliably Estimate a Change in Demand Attributable
                    to the Alleged Misrepresentations and Omissions

84.        According to Mr. Boedeker’s own theoretical framework for economic loss, the change
in demand he attempted to measure is the difference between the demand for the At-Issue
Product in the Actual World and the demand for the At-Issue Product in the But-for World (i.e.,
without the Alleged Misrepresentations or Omissions).195 For example, according to Mr.
Boedeker’s theoretical framework, quantifying the change in demand attributable to the heavy
metals warning label requires estimating the demand for the At-Issue Product as-is and
comparing it to the demand for the At-Issue Product with the heavy metals warning label
added.196 However, Mr. Boedeker’s so-called “market simulation” approach did not estimate the
demand for the At-Issue Product as-is. Nor did his “market simulation” approach estimate the
demand for the At-Issue Product with the heavy metals warning label added.
85.        Instead, Mr. Boedeker first calculated the average utility, across all respondents, for each
possible combination of Alleged Misrepresentations labels, and, separately, each possible
combination of Alleged Omissions labels. Mr. Boedeker then used these average utilities to

195   Boedeker Zarinebaf Report, ¶¶ 41–42.
196   Boedeker Zarinebaf Report, ¶ 87.



                                                                                                   Page 51
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 56 of 110 PageID #:3842




calculate a “market share” for each combination of labels. Mr. Boedeker then implemented a
regression model with the log of price as the dependent variable, and indicator variables for each
label and the log of “market share” for each label as independent variables. He used the
indicator variable coefficients from his regression model (or the sum of coefficients in the case
of multiple Alleged Misrepresentations or Omissions) as his estimates of economic loss
attributable to the Alleged Misrepresentations or Omissions.197
86.    Again, by Mr. Boedeker’s own theoretical framework, the economic loss should be the
difference between the demand for the At-Issue Product in the Actual World and the demand for
the At-Issue Product in the But-for World (i.e., a world where the At-Issue Product does not have
the Alleged Misrepresentations or Omissions).198 However, Mr. Boedeker’s model does not
estimate any demand curves, let alone the difference between Actual and But-For demand
curves. Instead, it models the average effect of a given label on willingness to pay across all
respondents and all possible combinations of labels. This average is not equivalent to demand,
or, as Mr. Boedeker puts it, “the willingness-to-pay of the marginal consumer,”199 and there is no
reason to believe that the two would be equal.
87.    Furthermore, Mr. Boedeker’s “market simulation” approach compares products that do
not resemble the At-Issue Products in the Actual World or in the But-for World. The At-Issue
Products cannot be characterized as a bundle of select warning labels (or as a bundle of select
marketing labels) as Mr. Boedeker has done in his regression model. The At-Issue Products
have concrete product attributes, such as flavor, brand, source of protein, and meat content, each
of which Mr. Boedeker failed to model in his Conjoint Surveys. As such, Mr. Boedeker cannot
accurately characterize the At-Issue Product in the Actual World or in the But-for World. Nor
can he reliably estimate a change in demand for the At-Issue Products attributable to a specific
label, Alleged Omission, or combination of labels and/or Alleged Omissions.
88.    It is important to note that, as a marketing academic, I have never encountered a “market
simulation” using conjoint data that models a change in willingness to pay using a regression
model based on average utilities applied to all possible conjoint feature combinations, such as the
one used by Mr. Boedeker. Nor have I encountered anything similar, in academic research or in

197 Boedeker Backup Materials, “BOEDEKER000148 nb.”
198 Boedeker Zarinebaf Report, ¶¶ 41–42.
199 Boedeker Zarinebaf Report, ¶ 43.




                                                                                             Page 52
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 57 of 110 PageID #:3843




an industry setting. In his report, Mr. Boedeker did not provide any citation to academic
literature to support his proposed approach. Instead, he attempted to justify his use of every
combination of the labels as a robustness check, namely, “to assess the robustness of the demand
curve estimation under a variety of market conditions.”200 But this explanation simply does not
make sense when none of the so-called “market conditions” (i.e., combinations of labels) bears
any resemblance to the real-world.


        B.       Mr. Boedeker’s Conjoint Surveys Cannot Reliably Estimate Economic Loss
                 for an At-Issue Product with Both Alleged Misrepresentations and Alleged
                 Omissions and Should Not Be Used to Do So

89.     Mr. Boedeker’s proposed methodology for combining his economic loss estimates from
his Misrepresentations Surveys and his Omissions Surveys is incorrect and inconsistent with
Plaintiffs’ theory of harm. The Third Amended Complaint alleges that Champion’s packaging
contained misleading claims (i.e., Alleged Misrepresentations) and that important information
was omitted (i.e., Alleged Omissions).201 Plaintiffs allege they were harmed because they
“would not have paid the price premium they paid” for the At-Issue Products had they known of
the Alleged Misrepresentations and Omissions.202 And in his report, Mr. Boedeker stated that his
assignment was to quantify the economic loss “attributable to the purchase of a product
advertised with misrepresentations and omissions.”203 Thus, Mr. Boedeker’s task presumably
involves providing a reliable methodology that can be used to compute class-wide damages for

200 Boedeker Zarinebaf Report, ¶ 89 (“To assess the robustness of the demand curve estimation under a variety of
market conditions, I performed a comprehensive market simulation study. In my market simulations, I used all
variations of the attributes and levels defined in the conjoint study to test if economic damages exist”).
201 See, e.g., Third Amended Complaint, ¶ 3 (“Defendants’ packaging claims and fraudulent omissions injured

consumers”). Emphasis added. Third Amended Complaint, p. 17, title to Section III (“Why packaging claims and
omissions were misleading”). Emphasis added. Third Amended Complaint, ¶ 185 (“Defendants’ Packaging Claims
and material omissions were misleading to consumers…”). Emphasis added. Third Amended Complaint, ¶¶ 195–
196 (“Defendants violated Illinois laws by negligently, recklessly, and/or intentionally misrepresenting that the
Contaminated Dog Food conformed to the following packaging claims: [Delivering Nutrients Naturally;
Biologically Appropriate™; and Fresh Regional Ingredients]. Defendants also owed consumers a legal duty to
disclose that the Contaminated Dog Food contained and/or had a material risk of containing Heavy Metals, a
material amount of non-fresh ingredients, a material amount of non-regional ingredients, BPA, pentobarbital and/or
other ingredients and contaminants that did not conform to Defendants’ packaging claims.”). Emphasis added.
202 Third Amended Complaint, ¶ 236.
203 Boedeker Zarinebaf Report, ¶ 12. Emphasis added.




                                                                                                           Page 53
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 58 of 110 PageID #:3844




At-Issue Products with both Alleged Misrepresentations and Alleged Omissions. Mr. Boedeker
did not provide this. Instead, Mr. Boedeker proposed simply adding the median economic losses
from his Misrepresentations Surveys and his Omissions Surveys to determine total economic
loss. This approach is incorrect for two reasons.
90.     First, were one to add Mr. Boedeker’s estimated median economic losses across the
Misrepresentations and Omissions Surveys, his results imply economic losses greater than 100
percent. For example, according to Mr. Boedeker’s Appendix 4, an ACANA product featuring
all of the Alleged Misrepresentations would have a median economic loss of 32 percent and an
ACANA product featuring all of the Alleged Omissions would have a median economic loss of
85 percent.204 Adding these numbers, as proposed by Mr. Boedeker, would yield a nonsensical
result, namely that ACANA products would have sold at a negative price in the But-for World.
In other words, under this scenario, Champion would pay consumers to receive these ACANA
products.205 The inappropriateness of Mr. Boedeker’s proposed methodology is further
evidenced by the fact that his estimate of total class-wide damages exceeds total retail sales of
the At-Issue Products in Illinois according to his calculations.206 Given that Proposed Class
Members received dog food and presumably fed it to their dogs (without alleged harm to the
dogs, as I understand it), Mr. Boedeker’s de facto full-refund model is inappropriate.
91.     Furthermore, I understand that Plaintiffs use the Alleged Omissions as support for their
claims that the Alleged Misrepresentations were misleading. For example, Plaintiffs allege that
“Defendants’ Packaging Claims of Biologically Appropriate™ and ‘Fresh Regional Ingredients’
were misleading because the Contaminated Dog Food contained and/or had a material risk of
containing Heavy Metals.”207 One would assume, based on Plaintiffs’ allegations and theory of
liability, that the remedy in the But-for World would involve either removing the Alleged
Misrepresentations from the packaging or adding labels addressing the Alleged Omissions, but
not both. Thus, a calculation such as the one proposed by Mr. Boedeker that adds results across


204 Boedeker Zarinebaf Report, Appendix 4.
205 Mr. Boedeker claimed in his deposition that an economic loss of greater than 100 percent is not problematic, but
is instead evidence of an economic “bad,” or product that consumers would need to be paid to acquire. This
argument is completely illogical, as there is no But-for World in which Champion would pay consumers to take their
products. See Boedeker Song Deposition (Rough), pp. 129:10–130:5.
206 Boedeker Zarinebaf Report, Table 16.
207 Third Amended Complaint, ¶ 68. Emphasis added. See also Third Amended Complaint ¶¶ 76, 95, 138–141,

183–184.



                                                                                                            Page 54
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 59 of 110 PageID #:3845




the Misrepresentations and Omissions Surveys would double count the alleged harm and
overstate damages claimed by Plaintiffs.
       C.      Mr. Boedeker’s Estimates of Economic Loss Lack External Validity and Are
               Internally Inconsistent

92.    Mr. Boedeker’s estimates of the decline in economic value for ACANA and ORIJEN
lack external validity and do not pass a basic sanity check. In Figure 16 below, I use Mr.
Boedeker’s estimates from Table 14 and Appendix 4 of his report to calculate what his percent
decline in value implies for the dollar value of ACANA and ORIJEN products if one were to
take Mr. Boedeker’s framework and estimates at face value.




                                                                                             Page 55
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 60 of 110 PageID #:3846




                                             Figure 16
                     Estimated Declines in Value From Mr. Boedeker’s Surveys

                                             Median Price              Mr. Boedeker's             Mr. Boedeker's
                                             Level Used in          Estimated Decline in       Estimated Economic
                                               Surveys[1]             Economic Value           Value With Label(s)[2]
ACANA Omissions Survey
Heavy Metals Label                                 $66.99                   58.4%                        $27.85
BPA Label                                          $66.99                   39.9%                        $40.25
Regrinds Label                                     $66.99                   14.6%                        $57.19
Expired Ingredients Label                          $66.99                   28.3%                        $48.03
All Omissions Labels                               $66.99                   84.7%                        $10.24

ORIJEN Omissions Survey
Heavy Metals Label                                 $80.99                   43.4%                        $45.82
BPA Label                                          $80.99                   28.8%                        $57.67
Regrinds Label                                     $80.99                    9.7%                        $73.13
Expired Ingredients Label                          $80.99                   20.4%                        $64.44
All Omissions Labels                               $80.99                   71.1%                        $23.45

ACANA Misrepresentations Survey
Biologically Appropriate Label                    $66.99                     9.6%                        $60.57
Fresh & Regional Label                            $66.99                    15.0%                        $56.94
Fresh Label                                       $66.99                    14.0%                        $57.62
Regional Label                                    $66.99                    12.1%                        $58.86
Delivering Nutrients Naturally Label              $66.99                    11.8%                        $59.09
All Misrepresentations Labels                     $66.99                    32.2%                        $45.41

ORIJEN Misrepresentations Survey
Biologically Appropriate Label                    $65.99                    10.8%                        $58.86
Fresh & Regional Label                            $65.99                    15.2%                        $55.99
Fresh Label                                       $65.99                    15.2%                        $55.97
Regional Label                                    $65.99                    13.3%                        $57.22
All Misrepresentations Labels                     $65.99                    24.3%                        $49.94

Source: Boedeker Report and Backup Materials
Note:
[1] Median price levels are based on the price levels used by Mr. Boedeker in his surveys. See Boedeker Report, Tables
5–7. Note that all surveys featured a 25lb bag of dog food with the exception of the ORIJEN Misrepresentations Survey,
which featured a 13lb bag.
[2] Calculated by subtracting (“Median Price Level Used in Surveys” times “Mr. Boedeker’s Estimated Decline in Economic
Value”) from the “Median Price Level Used in Surveys.” See Boedeker Report, Table 14 and Appendix 4.



93.     Mr. Boedeker estimates that adding all four Omissions Labels to a 25-pound bag of
ACANA dry dog food would cause its economic value to decline from $66.99 to $10.24. This
does not pass a basic sanity check. The lowest priced, similarly-sized dry dog food on




                                                                                                                  Page 56
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 61 of 110 PageID #:3847




Chewy.com has a price that is almost 2 times higher than $10.24.208 Thus, Mr. Boedeker is
estimating that ACANA products would go from one of the most expensive products on the
market to being substantially cheaper than the cheapest similarly sized package of dry dog food
available on a major dog food website.
94.      Furthermore, Mr. Boedeker estimates that adding a warning label about heavy metals to a
package of ACANA dry dog food would cause a 58 percent decline in value, and that adding a
warning about BPA would cause a 40 percent decline in value. This means that Mr. Boedeker is
estimating that over one third of the value of ACANA products comes from not having BPA, and
that over half of their value comes from not having heavy metals. This is entirely unrealistic
given that most dry dog food products on the market contain heavy metals and BPA.209
95.      Mr. Boedeker also asserted that his damages estimates are reasonable because the
estimated decline in value of Champion products from the Alleged Misrepresentations and
Omissions is comparable to the prices of non-premium dog food, specifically, Pedigree dog
food.210 This comparison is not appropriate because premium dog foods (such as ACANA or
ORIJEN) differ substantially from non-premium dog foods (such as Pedigree) in dimensions that
are unrelated to the Alleged Misrepresentations and Omissions. By making such a comparison,
Mr. Boedeker implicitly assumes that the entire price differential between Champion and
Pedigree is due to the labels on the product packaging, as opposed to differences in concrete
product features, such as the ingredients used.211 To give just a few examples, a comparison of


208 The lowest price dog food in the 21–30-pound range on Chewy.com was Rachael Ray Nutrish Just 6 Natural
Grain-Free Turkey Meal & Pea Limited Ingredient Diet Dry Dog Food, which sold at $17.99 for a 24-pound bag.
Note also that Rachel Ray Nutrish Just 6 also has a lower crude protein content than Champion products (21 percent,
compared to 33 percent in ACANA Regionals Meadowlands, for example), and its main ingredient is turkey meal,
compared to deboned chicken and deboned turkey used in ACANA Regionals Meadowlands. See “Rachael Ray
Nutrish Just 6 Natural Grain-Free Turkey Meal & Pea Limited Ingredient Diet Dry Dog Food,” Chewy,
https://www.chewy.com/rachael-ray-nutrish-just-6-natural/dp/170595; “Meadowland,” Acana, https://acana.com/en-
US/for-dogs-1/meadowland/ds-aca-meadowlands-dog html.
209 Poppenga Zarinebaf Report, pp. 21, 29–30.
210 Boedeker Zarinebaf Report, ¶ 170. Mr. Boedeker estimates the price of a 25-pound bag of Pedigree dog food to

be $16.30 and then implies that ACANA’s “78% price premium over a Pedigree product” is roughly equivalent to
the price premium due to the alleged omission(s) and/or misrepresentation(s). Note that Mr. Boedeker does not
provide any reference to calculations in his model for any set of omissions(s) and/or misrepresentation(s) that would
yield a 78 percent price premium.
211 Even Mr. Silverman acknowledged at his deposition that “in every food product I ever worked with the higher

the ingredient cost or the greater the ingredient cost, the higher the cost of the ultimate cost of the product to




                                                                                                             Page 57
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 62 of 110 PageID #:3848




ORIJEN and Pedigree dog foods on PawDiet.com indicates that ORIJEN dog foods contain 42.7
percent crude protein, compared to Pedigree dog foods, which contain only 25.6 percent crude
protein.212 PawDiet.com also lists 27 “controversial” ingredients (e.g., powdered cellulose or
high fructose corn syrup) and ten “harmful” ingredients (e.g., food coloring or propylene glycol)
found in Pedigree and not in ORIJEN.213 Neither ORIJEN’s protein content nor these Pedigree-
only ingredients are related to the allegations in this matter and presumably each of these explain
some of the difference in market prices between a Pedigree product and an ORIJEN product.214
96.     As a further sanity check on Mr. Boedeker’s results, I examined whether Mr. Boedeker’s
estimates across the ACANA and ORIJEN brands were internally consistent. Given that Mr.
Boedeker provided no information about ACANA or ORIJEN on his Omissions Surveys (and
only asked about the respondent’s “favorite dog food”), 215 one would expect Mr. Boedeker’s
estimates for the same Alleged Omission(s) to be similar across his ACANA and ORIJEN
surveys. However, they are not. For example, for a warning label about heavy metals, Mr.
Boedeker’s estimated decline for ACANA is 15 percentage points (or 35 percent) higher than the
estimated decline for ORIJEN. As another example, for a warning label about expired
ingredients, Mr. Boedeker’s estimated decline for ACANA is more than 7 percentage points (or
39 percent) higher than the estimated decline for ORIJEN. See Figure 17. Nowhere in his report
does Mr. Boedeker explain why the same labels generate such different price premiums across
ACANA and ORIJEN products.




consumers” and that the comparison of ORIJEN to Pedigree is “an apples to oranges comparison, particularly based
on the ultimate price point of the products.” See Silverman Song Deposition, pp. 133:1–134:3.
212 According to PawDiet.com, “[p]rotein is an extremely important part of your dog’s diet. Without sufficient

protein, dogs can develop a wide-range of serious health problems … Orijen dry dog foods clearly provides more
protein than Pedigree. In fact, the difference between the protein content is roughly 17.16 percent, which is a
significant amount.” See “Orijen vs. Pedigree,” PawDiet.com, https://www.pawdiet.com/compare/orijen-vs-
pedigree-pet-food-brand-comparison/.
213 See “Orijen vs. Pedigree,” PawDiet.com, https://www.pawdiet.com/compare/orijen-vs-pedigree-pet-food-brand-

comparison/.
214 At his deposition, Mr. Boedeker agreed that Pedigree “is not a premium dog food, was not a comparable

premium dog food to Champion” but did not provide any justification for why one should expect Champion
products to be priced similarly to Pedigree in the But-For World. See Boedeker Song Deposition (Rough), pp.
122:3–123:10.
215 The only difference between the ACANA Omissions Survey and the ORIJEN Omissions Survey was the price

levels used in the choice tasks. See Boedeker Zarinebaf Report, ¶¶ 137–140, Table 7, and Appendix 1, pp. 43–73,
116–146.



                                                                                                         Page 58
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 63 of 110 PageID #:3849




                                        Figure 17
         Mr. Boedeker’s Estimated Decline in Economic Value for Alleged Omissions

                                              Mr. Boedeker's Estimated Decline in
                                                        Economic Value
                    Label(s)                      ACANA                ORIJEN
                    Expired Ingredients            28.3%                20.4%
                    Heavy Metals                   58.4%                43.4%
                    BPA                            39.9%                28.8%
                    Regrinds                       14.6%                 9.7%
                    All Labels                     84.7%                71.1%
                    Source: Boedeker Report, Table 14; Appendix 4



IX.     Mr. Boedeker’s Expectation Survey Is Fundamentally Flawed and Cannot Provide
        Reliable Information On Consumer Expectations

97.     In addition to his conjoint surveys, Mr. Boedeker conducted what he refers to as an
“Expectation Survey.” Mr. Boedeker stated that he conducted his Expectation Survey “1) to
measure consumer perception regarding the misrepresentations and omissions at issue; and 2) to
assess the extent to which those misrepresentations and omissions have a material impact on
consumer purchase interest.”216 The Expectation Survey cannot address either of those goals due
to its fundamentally flawed design and unreliable results.


        A.       Overview of Mr. Boedeker’s Expectation Survey

98.     The Expectation Survey sample consisted of 500 respondents and used the same
screening criteria as those used in Mr. Boedeker’s Conjoint Surveys.217 After qualifying for the
survey, respondents in the Expectation Survey were randomly assigned to see an image of a 25-
pound package of ACANA Regionals Meadowland or an image of a 25-pound package of
ORIJEN Regional Red.218 Respondents were also shown the price of the product they saw.
Figure 18 provides a screenshot of what respondents assigned to see the ORIJEN product were
shown in Mr. Boedeker’s Expectation Survey.219



216 Boedeker Zarinebaf Report, ¶ 173.
217 Boedeker Zarinebaf Report, ¶¶ 175–176.
218 Boedeker Zarinebaf Report, ¶ 177.
219 Boedeker Zarinebaf Report, Appendix 1, p. 316.




                                                                                              Page 59
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 64 of 110 PageID #:3850




                                      Figure 18
              ORIJEN Product Shown to Respondents in the Expectation Survey




99.     Respondents were then shown a similar screen where they were asked to review the back
of the ORIJEN or ACANA product that they were assigned to see. 220 Finally, respondents were
then asked 16 agree/disagree questions, and 12 questions where they were asked to indicate
whether a given label or statement made them more or less likely to purchase the Champion
product they saw.221
100.    Mr. Boedeker did not provide any explanation in his report of how questions were
ordered in his Expectation Survey. The screenshots he provided in Appendix 1 of his report
appear to indicate that respondents assigned to see the ORIJEN product saw the questions in a
different order than respondents assigned to see the ACANA product.222 Mr. Boedeker testified
at his deposition that the order of some questions were randomized, however, he was not able to
provide details on the randomization or point to where the randomization was described in his


220 Boedeker Zarinebaf Report, Appendix 1, pp. 318, 337.
221 Boedeker Zarinebaf Report, Appendix 1, pp. 321–334, 340–355.
222 Boedeker Zarinebaf Report, Appendix 1, pp. 316–355.




                                                                                           Page 60
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 65 of 110 PageID #:3851




report.223 Given the lack of information, I proceed with the order that questions are presented for
the ORIJEN product screenshots shown in Mr. Boedeker’s Appendix 1.224
101.    Respondents were first shown the prompt “From the ‘Regional’ statements on the dog
food shown, I would expect that…” and asked to indicate, on a 5-point scale from “Strongly
Disagree” to “Strongly Agree,” whether they agreed or disagreed with each of the three
statements.225 Figure 19 presents a screenshot of Mr. Boedeker’s prompt and questions related to
the “Regional” statement.226

                                          Figure 19
                   Agree/Disagree Questions Related to “Regional” Statement




102.    Respondents were then shown a similar prompt for “Biologically Appropriate” and asked
to answer five Agree/Disagree Questions, followed by a prompt for “Fresh” and asked to answer
four Agree/Disagree Questions, followed by a prompt for either “Nourish as Nature Intended”
(for respondents who saw the ORIJEN product) or “Delivering Nutrients Naturally” (for
respondents who saw the ACANA product) and asked to answer four Agree/Disagree



223 Boedeker Colangelo Deposition, pp. 57:2–59:3.
224 Boedeker Zarinebaf Report, Appendix 1, pp. 316–334.
225 Boedeker Zarinebaf Report, Appendix 1, pp. 321, 342.
226 Boedeker Zarinebaf Report, Appendix 1, p. 322.




                                                                                             Page 61
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 66 of 110 PageID #:3852




Questions.227 In total, respondents saw 16 Agree/Disagree Questions. Again, due to Mr.
Boedeker’s failure to provide basic details about the implementation of his survey, it is not clear
whether these questions were shown consecutively or in a randomized order across
respondents.228
103.    Respondents were then shown seven labels and were asked for each label whether the
label made the respondents “more or less likely to purchase the dog food shown?”229 Mr.
Boedeker does not explain how he decided which labels to include—in fact, one of the labels for
the ORIJEN product and one of the labels for the ACANA product are not at issue. For each
label, respondents were provided with a five-point scale from “Far less likely” to “Far more
likely.” An example of a survey screen with two of these labels for the ORIJEN product is
shown in Figure 20.230




227 Boedeker Zarinebaf Report, Figures 12–15, Appendix 1, pp. 321–334, 340–355. Note that the screenshots of Mr.
Boedeker’s Expectation Survey do not include an image of the “Nourish as Nature Intended” question; however,
based on Figure 15 in his report it appears that this question was asked.
228 Boedeker Colangelo Deposition, pp. 57:2–59:3.
229 Respondents assigned to see the ORIJEN product saw labels for “Biologically Appropriate,” “Wholeprey Diet,”

“Low Temperature,” “Nourish as Nature Intended,” “Fresh Ingredients,” “Regional Ingredients,” and “Fresh
Regional Ingredients.” Respondents assigned to see the ACANA product saw labels for “Biologically Appropriate,”
“Wholeprey Diet,” “High Palatability,” “Delivering Nutrients Naturally,” “Fresh Ingredients,” “Regional
Ingredients,” and “Fresh Regional Ingredients.” See Boedeker Zarinebaf Report, Figures 16, 22. My understanding
is that that the labels about “Wholeprey Diet,” “Nourish as Nature Intended,” “High Palatability,” and “Low
Temperature” are not at issue in this matter.
230 Boedeker Zarinebaf Report, Appendix 1, p. 332.




                                                                                                        Page 62
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 67 of 110 PageID #:3853




                                               Figure 20
                               Purchase Intent Questions Based on Labels




104.       Respondents were then asked “With regard to the dog food shown, if one or more of the
following were true, would you be more or less likely to purchase the dog food, all else equal?”
and shown five statements (e.g., “Does not contain regrinds”).231 For each statement,
respondents were again provided with a five-point scale from “Far less likely” to “Far more
likely.” Figure 21 presents these questions with the ORIJEN product. 232 Again, the order of
questions in the Expectation Survey is unclear.




231   Boedeker Zarinebaf Report, Appendix 1, pp. 333–334, 354–355.
232   Boedeker Zarinebaf Report, Appendix 1, p. 334.



                                                                                           Page 63
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 68 of 110 PageID #:3854




                                               Figure 21
                             Purchase Intent Questions Based on Statements




105.       Based on responses to these questions, Mr. Boedeker concluded that “[t]he results
indicate that a significant portion of consumers interpret the Products’ packaging to be
misleading, assuming Plaintiffs’ allegations are true;”233 and that “67.9% to 77.5% of
respondents would be more likely to purchase the dog food bag shown if it did not contain BPA,
pentobarbital, heavy metals, regrinds, or expired ingredients, respectively.”234 Mr. Boedeker did
not provide any explanation for how the results of his Expectation Survey allow him to reach
these conclusions.
           B.       Mr. Boedeker’s Expectation Survey Sample Is Not Representative of
                    Proposed Class Members and Cannot Be Used to Estimate Their Perceptions
                    or Purchase Intentions

106.       As in the case of Mr. Boedeker’s Conjoint Surveys, the sample of respondents who
qualified for the Expectation Survey is not representative of Proposed Class Members. Mr.
Boedeker’s Expectation Survey sample consists primarily of respondents who have not even
considered purchasing the At-Issue Products, and therefore, the data collected from Mr.
Boedeker’s Expectation Survey is irrelevant to this matter.

233   Boedeker Zarinebaf Report, ¶ 179.
234   Boedeker Zarinebaf Report, ¶ 180.



                                                                                               Page 64
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 69 of 110 PageID #:3855




107.       Figure 22 below summarizes how many respondents in Mr. Boedeker’s Expectation
Survey purchased or considered purchasing ACANA or ORIJEN products.235, 236 Only 57
respondents out of 500 (11.4 percent) indicated that they purchased or considered purchasing
ACANA or ORIJEN in the last three years. 237

                                          Figure 22
              Percent of Boedeker Expectation Survey Respondents Who Indicated
                  Purchasing or Considering Purchasing ACANA or ORIJEN

                                                                      Number of                  Percent of
                                                                     Respondents                Respondents

Total Respondents                                                           500                      100.0%

      Did Not Purchase or Consider Purchasing ACANA or
                                                                            443                        88.6%
      ORIJEN in the Last 3 Years
      Purchased or Considered Purchasing ACANA or
                                                                             57                        11.4%
      ORIJEN in the Last 3 Years

Source: Boedeker Report and Backup Materials



235 The process for qualifying for Mr. Boedeker’s Expectation Survey was the same as the process for qualifying for
Mr. Boedeker’s Conjoint Surveys. Respondents were not required to have purchased or considered purchasing
ACANA or ORIJEN. Instead, respondents only had to have purchased or considered purchasing one or more dog
food brands from a list of 32 brands provided in Mr. Boedeker’s Expectation Survey. The qualifying brands used to
screen respondents include the following: ACANA, Blue, Blue Wilderness, Castor & Polloux Pristine-Raw Bites,
Earthborn Natural, Fromm 4 Star, Fromm Gold, Go! Sensitive, Go! Fit and Free, Holistic Select, Instinct Original
Grain Free, K9 Natural, Kirkland Signature Nature’s Domain, Merrick Backcountry, Merrick Classics, Merrick
Grain Free, Natural Balance, Nature’s Variety, NOW Fresh, NutriSource Grain Free, Nutro, Open Farm, ORIJEN,
Primal, Purina Pro Plan, Rawz, SOJO’s Complete Beef, Stella & Chewy’s, Taste of the Wild, Vital Essentials
Limited Ingredient, Wellness CORE, and Zignature.
236 As in the case of his Conjoint Surveys, Mr. Boedeker only produced information regarding his final sample of

500 respondents. It is worth noting that the Reference Guide on Survey Research states that, “[t]he completeness of
the survey report is one indicator of the trustworthiness of the survey and the professionalism of the expert who is
presenting the results of the survey. A survey report generally should provide in detail … [a] description of the
results of sample implementation, including the number of a. potential respondents contacted, b. potential
respondents not reached, c. noneligibles, d. refusals, e. incomplete interviews or terminations, and f. completed
interviews.” See Diamond (2011), p. 415. Neither Mr. Boedeker’s report nor his appendices or production files
includes information regarding how many survey invitations were sent, how many of the total invitees took the
survey, how many respondents began but did not complete the surveys, and how many respondents completed the
surveys but were excluded from Mr. Boedeker’s final sample.
237 Mr. Boedeker did not ask respondents in his Expectation Survey whether they had ever purchased ACANA or

ORIJEN products as he did in three of his four Conjoint Surveys. Therefore, the only information available from the
Boedeker Expectation Survey on whether a respondent purchased ACANA or ORIJEN products comes from
whether a given respondent indicated that they purchased or considered purchasing ACANA or ORIJEN products in
the last three years. See Boedeker Colangelo Deposition, p. 68:16–22.




                                                                                                            Page 65
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 70 of 110 PageID #:3856




108.     Further, very few of the respondents who purchased or considered purchasing ACANA
or ORIJEN products in the last three years currently reside in Illinois. Figure 23 below shows
that only 29 respondents out of 500 (5.8 percent) indicated that they currently reside in Illinois.
Of these 29 respondents, only 3 purchased or considered purchasing ACANA or ORIJEN in the
last three years.

                                             Figure 23
                        Percent of Boedeker Expectation Survey Respondents
                           Who Could Be Members of the Proposed Class

                                                               Number of                 Percent of
                                                              Respondents               Respondents

   Total Respondents                                                 500                     100.0%

       Currently Reside in Illinois                                   29                       5.8%

          Currently Reside in Illinois and
          Purchased or Considered Purchasing                           3                       0.6%
          ACANA or ORIJEN in the Last 3 Years

   Source: Boedeker Report and Backup Materials


109.     Furthermore, as in Mr. Boedeker’s Conjoint Surveys, the incomes of respondents in Mr.
Boedeker’s Expectation Survey provide further evidence that his respondents are not
representative of ACANA or ORIJEN purchasers. More than a quarter of Mr. Boedeker’s survey
respondents had incomes less than $50,000.238
110.     Because the vast majority of Mr. Boedeker’s survey data was collected from respondents
who have not purchased (and likely would not purchase) the At-Issue Products, Mr. Boedeker
cannot use this survey data to reliably estimate consumer expectations about the At-Issue
Products. If Mr. Boedeker were to limit his analysis to focus only respondents who indicated
that they currently reside in Illinois and that they purchased or considered purchasing ACANA or



238 Boedeker Zarinebaf Report, Table 11. Again, this is inconsistent with ACANA and ORIJEN’s positioning as

premium brands. See “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017,
CPF0145434–5538, at 489; Section VII.A.




                                                                                                       Page 66
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 71 of 110 PageID #:3857




ORIJEN products in the last three years, the resulting sample would consist of 3 respondents –
far too small of a sample to rely on.239
111.     As I explained in Section VII.A, “[a] survey that provides information about a wholly
irrelevant population is itself irrelevant.”240 Because the large majority of respondents in Mr.
Boedeker’s Expectation Survey sample are not representative of ACANA or ORIJEN
purchasers, the results of his Expectation Survey (assuming they are reliable, which they are not)
cannot reliably be extrapolated to Proposed Class Members.
         C.       Mr. Boedeker’s Expectation Survey Does Not Include a Control Group And
                  Is Subject To Acquiescence Bias; Therefore, It Cannot Reliably Estimate
                  Consumer Perceptions or Purchase Intent for the At-Issue Products

112.     Mr. Boedeker stated that he conducted his Expectation Survey “1) to measure consumer
perception regarding the misrepresentations and omissions at issue; and 2) to assess the extent to
which those misrepresentations and omissions have a material impact on consumer purchase
interest.”241 In other words, Mr. Boedeker attempted to test two causal propositions with his
Expectation Survey, namely:
              a. How the Alleged Misrepresentations and Omissions affected respondents’
                  perceptions of the At-Issue Product; and
              b. Whether the Alleged Misrepresentations and Omissions had a material impact on
                  respondents’ purchasing decisions.
These propositions are causal because the issue is not simply whether respondents have
inaccurate perceptions of the At-Issue Products, but whether the Alleged Misrepresentations and
Omissions caused the inaccurate perceptions (or had any subsequent impact on purchasing
decisions).242

239 See Figure 23 above.
240 Diamond (2011), p. 377.
241 Boedeker Zarinebaf Report, ¶ 172.
242 Mr. Boedeker testified at his deposition that the Expectation Survey “… just looks descriptively, not in a cause

and effect kind of sense, but descriptively. If something changes, an attribute changes, would consumers pay more
or less for that particular product.” See Boedeker Colangelo Deposition, p. 16:15–24. Later in his deposition, Mr.
Boedeker provided a similar explanation of his Expectation Survey: “So if some attribute changes then how much
more likely from far less likely to far more likely would somebody change their behavior or their choices made.”
See Boedeker Colangelo Deposition, p. 17:16–25. This appears to be a contradiction as he claims that the
Expectation Survey was not asking a causal question, but was looking at how a change in one variable (a product




                                                                                                              Page 67
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 72 of 110 PageID #:3858




113.     Proper testing of causal propositions using a survey requires designing a survey
instrument that can rule out alternative explanations for any effects observed in the survey (such
as respondents’ prior beliefs or some baseline level of error that has nothing to do with the
proposition that is being tested).243 This is done through the use of an appropriate control group
(or an appropriate control question where applicable). As discussed in Dr. Shari Diamond’s
Reference Guide on Survey Research:

         Surveys that merely record consumer impressions have a limited ability to answer
         questions about the origins of those impressions. The difficulty is that the
         consumer’s response to any question on the survey may be the result of
         information or misinformation from sources other than the trademark the
         respondent is being shown or the commercial he or she has just watched.244

         It is possible to adjust many survey designs so that causal inferences about the
         effect of a trademark or an allegedly deceptive commercial become clear and
         unambiguous. By adding one or more appropriate control groups, the survey
         expert can test directly the influence of the stimulus.245

         Every measure of opinion or belief in a survey reflects some degree of error.
         Control groups and, as a second choice, control questions are the most reliable
         means for assessing response levels against the baseline level of error associated
         with a particular question.246


114.     Mr. Boedeker’s Expectation Survey did not include a control group or a control question.
To assess consumer perceptions, Mr. Boedeker showed all respondents the At-Issue Product
packaging, provided a series of 16 statements about the At-Issue Product, and asked whether
respondents agreed or disagreed with each statement. Without a control group, there is no way

attribute) would lead to a change in another variable (consumer behavior). The process of a change in one variable
leading to a change in another variable would by definition necessitate a causal relationship. In fact, if Mr.
Boedeker is claiming that his survey does not seek to address a causal question, then it is unclear how his
Expectation Survey is relevant to this matter at all.
243 For example, if respondents already held certain beliefs prior to viewing the Alleged Misrepresentations and

Omissions, then a survey that only records respondents’ impressions after viewing the Alleged Misrepresentations
and Omissions would not be able to disentangle whether the results were due to respondents’ preexisting beliefs, a
natural level of error that exists independent of any effect of the Alleged Misrepresentations and Omissions, or the
respondents’ exposure to the Alleged Misrepresentations and Omissions.
244 Diamond (2011), p. 397.
245 Diamond (2011), p. 398.
246 Diamond (2011), p. 401.




                                                                                                              Page 68
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 73 of 110 PageID #:3859




to determine whether the agreement or disagreement with these statements was due solely to the
Alleged Misrepresentations and Omissions, or influenced by some other factor such as
preexisting impressions, general expectations about dog food, or guessing. For example, 36.4
percent of respondents in the Expectation Survey indicated that they “Strongly Agree” that the
“Regional” statement makes them expect that the product “does not contain imported
ingredients.”247 However, it is possible that a similar share of respondents would have provided
this response if they had been shown the same package without the “Regional” statement or if
they had been shown a generic dog food package.
115.     Mr. Boedeker’s error in not including a control group is further exacerbated by the
question format he used in his attempt to measure consumer perceptions. Mr. Boedeker provided
respondents with a closed-ended “Agree/Disagree” answer scale on 16 statements (e.g., “The
dog food shown does not contain imported ingredients” or “The dog food shown does not
contain pentobarbital.”)248 The Reference Guide on Survey Research is clear that this type of
question format cannot provide meaningful results unless the survey design includes a control
group:

         One form of closed-ended question format that typically produces some distortion
         is the popular agree/disagree, true/false, or yes/no question. Although this format
         is appealing because it is easy to write and score these questions and their
         responses, the format is also seriously problematic. With its simplicity comes
         acquiescence… Only when control groups or control questions are added to the
         survey design can this question format provide reasonable response estimates.249


116.     The reason that “Agree/Disagree” Questions are unreliable when used without a control
group is that they lead to acquiescence from respondents.250 Acquiescence bias occurs when
respondents “[endorse] an assertion made in a question, regardless of the assertion’s content.”251
Indeed, the results of the Expectation Survey provide clear evidence that the survey was subject

247 Boedeker Zarinebaf Report, Figure 13.
248 Boedeker Zarinebaf Report, Figures 12–15, 18–21, Appendix 1, pp. 321–326, 340–347.
249 Diamond (2011), p. 394.
250 Diamond (2011), p. 394.
251 Krosnick, J. A., and S. Presser (2010), “Question and Questionnaire Design,” in Handbook of Survey Research, J.

D. Wright and P. V. Marsden, eds., West Yorkshire, England: Emerald Group Publishing Limited, 263–313
(“Krosnick and Presser (2010)”) at p. 275.




                                                                                                           Page 69
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 74 of 110 PageID #:3860




to acquiescence bias because respondents tended to agree with whatever statement they were
shown, regardless of the statement’s content. Over 50 percent of Mr. Boedeker’s respondents
indicated they “Strongly Agree” or “Agree” with 15 out of the 16 Agree/Disagree Questions on
the Expectation Survey.252 In fact, a large share of respondents agreed with statements that were
unrelated to the prompts they were presented with. For example, almost 50 percent of
respondents who saw the ORIJEN product on Mr. Boedeker’s Expectation Survey agreed that a
“Nourish as nature intended” statement would lead them to expect that the dog food they were
shown “is specifically formulated for large breed dogs.”253 There is no reason why a “Nourish as
nature intended” statement would make consumers expect that the product was formulated for
large breed dogs. This is not the only nonsensical result of Mr. Boedeker’s survey design.
Almost 68 percent of respondents who saw the ORIJEN product and 66 percent of respondents
who saw the ACANA product indicated that they either “Agree” or “Strongly Agree” that a
“Regional” statement would make them expect that the product “does not contain any grains.”254
Again, there is no reason why the “Regional” statement would lead to this expectation. These
nonsensical results are likely the result of acquiescence bias in that respondents tend to agree to
assertions, regardless of their content, when questions use the agree/disagree format.
117.    To assess purchase intent, Mr. Boedeker again showed all respondents seven labels from
the product packaging and five statements about the product and then asked respondents whether
each of these labels and statements made them more or less likely to purchase the Champion
product they were asked to review.255 But Mr. Boedeker provided information about the At-Issue
Products unrelated to the Alleged Misrepresentations and Omissions, as he probed his
respondents about their likelihood of purchase.256 This information (e.g., “The dog food shown
has high palatability”) may have been more important to respondents’ purchase intent than the
Alleged Misrepresentations and Omissions. Without a control group, it is impossible to
disentangle the effect of these other pieces of information, respondents’ preexisting beliefs, or


252 Boedeker Zarinebaf Report, Figures 12–15, 18–21.
253 Boedeker Zarinebaf Report, Figure 15.
254 Boedeker Zarinebaf Report, Figures 13, 19.
255 Boedeker Zarinebaf Report, Appendix 1, 327–334, 348–355.
256 Boedeker Zarinebaf Report, Appendix 1, pp. 316, 324, 335, and 341.




                                                                                              Page 70
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 75 of 110 PageID #:3861




other background noise (such as misunderstanding the question or misstating their response)
from the effect of the Alleged Misrepresentations and Omissions.257
118.    In fact, Mr. Boedeker acknowledged at his deposition that respondents may have
provided identical answers even if they had not been shown the labels related to the At-Issue
Misrepresentations and Omissions. When asked whether respondents would have provided
different answers if they had not seen the statements and labels related to the At-Issue
Misrepresentations and Omissions, Mr. Boedeker stated that “That’s a good question, let me
ponder that for a second… the answer cannot be given based on the data I have.”258 The reason
that Mr. Boedeker’s data cannot provide an answer to this fundamental question is that he did not
include a control group in his survey design.
119.    In addition, in his purchase intent questions, Mr. Boedeker did not properly define or
provide proper context around the statements, violating survey design best practices.259, 260 For
example, Mr. Boedeker did not inform respondents that heavy metals and BPA are present in
most, if not all, of competitor products or that the heavy metals that are present in Champion
products are naturally occurring.261 Respondents may have provided very different answers if
they were provided with appropriate context for these statements.
        D.       Mr. Boedeker Failed To Pretest His Expectation Survey

120.    When discussing why he conducted pre-tests for his Conjoint Surveys, Mr. Boedeker
correctly stated in his report that “Properly conducted pre-tests can inform the researcher of
potential flaws in the survey design or sources of potential misunderstanding of the meaning of
questions, giving the researcher a chance to rephrase and change wording of the questionnaire to


257 The price that Mr. Boedeker shows respondents for the 25-lb bag of ORIJEN Regional Red is 34 dollars higher

than the median price that he uses for the exact same product in his ORIJEN Omissions Survey. Mr. Boedeker
provides no explanation of why he inflated the price of the product for the purposes of his Expectation Survey, and
the inflated price may have biased respondents towards providing more positive answers about the products they
were asked to review. See Boedeker Zarinebaf Report, Table 7, Appendix 1, p. 316. See also, Diamond (2011), pp.
398–399.
258 Boedeker Colangelo Deposition, p. 37:1–16.
259 Diamond (2011), p. 388
260 Mr. Boedeker’s Expectation Survey included the following statements about heavy metals and BPA: “Does not

contain heavy metals” and “Does not contain BPA.” See Boedeker Zarinebaf Report, Appendix 1, pp. 334, 355.
261 Poppenga Zarinebaf Report, Table 8, pp. 21, 29.




                                                                                                            Page 71
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 76 of 110 PageID #:3862




be clear and unambiguous.”262 Conducting pre-tests to improve the clarity and design of survey
instruments is a best practice followed by academics and survey practitioners.263
121.     However, Mr. Boedeker chose not to conduct a pre-test for his Expectation Survey. This
is despite the fact that academic research recommends conducting pre-tests, the fact that Mr.
Boedeker discussed the importance of pre-tests in his own report, and the fact that Mr. Boedeker
conducted pre-tests for his Conjoint Surveys. Instead, Mr. Boedeker testified that he reviewed
the first “50 or so” answers to a question at the end of his Expectation Survey that asked
respondents “Did you have a clear understanding of the questions in this survey.”264 This is not a
proper pre-test.265 Had Mr. Boedeker conducted an actual pre-test, he may have avoided some of
the fundamental errors in survey design that make his Expectation Survey unreliable.

X.       Mr. Silverman’s Opinions on Consumer Perceptions and Purchase Decisions
         Related to the Alleged Misrepresentations and Omissions Lack Empirical Basis and
         Are Unreliable

122.     Mr. Silverman was asked to provide opinions regarding how Proposed Class Members
perceived the Alleged Misrepresentations and Omissions, and whether these Alleged
Misrepresentations and Omissions were material to their purchase decisions.266 Mr. Silverman
opined on the perceptions and purchase decisions of Proposed Class Members without
conducting any empirical analyses of Proposed Class Members or any consumers. Further, in
reaching his conclusions about how consumers may perceive or react to the Alleged
Misrepresentations and Omissions, Mr. Silverman did not consider factors that can influence the
perceptions and purchase decisions of Proposed Class Members. As such, Mr. Silverman’s
opinions lack empirical basis and are unreliable.



262 Boedeker Zarinebaf Report, ¶ 150.
263 Diamond (2011), p. 388; Krosnick and Presser (2010), pp. 294–295.
264 Boedeker Colangelo Deposition, 32:16–33:13; Boedeker Zarinebaf Report, Appendix 1, p. 356.
265 Diamond describes a pre-test as: “In many pretests or pilot tests, the proposed survey is administered to a small

sample (usually between 25 and 75) of the same type of respondents who would be eligible to participate in the full-
scale survey. The interviewers observe the respondents for any difficulties they may have with the questions and
probe for the source of any such difficulties so that the questions can be rephrased if confusion or other difficulties
arise.” See Diamond (2011), pp. 388–389.
266 Silverman Zarinebaf Report, ¶ 5.




                                                                                                                Page 72
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 77 of 110 PageID #:3863




         A.       Mr. Silverman Has Not Conducted Any Research of Actual Champion
                  Purchasers and Thus Cannot Provide Opinions Regarding Their Perceptions
                  of the Alleged Misrepresentations and Omissions

123.     Mr. Silverman offered the following opinions regarding Proposed Class Members’
perceptions of the Alleged Misrepresentations and Omissions:
              a. When making food purchasing decisions for their family, consumers look for
                  products that are “healthy, made with high-quality ingredients, natural, and are
                  superior to other products in the same category.” 267
              b. Because “[m]any consumers treat their pets as family members,” they are willing
                  to pay premium prices for pet foods with these same attributes. 268
              c. The Alleged Misrepresentations communicate to consumers that the At-Issue
                  Products have these same attributes. 269
              d. Proposed Class Members are concerned about the possible presence of heavy
                  metals, BPA, pentobarbital, non-fresh ingredients, and non-regional ingredients in
                  those products, and would see the possible presence of these ingredients as
                  inconsistent with the Alleged Misrepresentations.270
124.     None of Mr. Silverman’s opinions regarding consumers’ perceptions and evaluations of
products and marketing claims on product packaging is supported by empirical evidence.
Marketing experts and practitioners use a variety of empirical methods to evaluate consumers’
perceptions of products, ranging from rigorous methods, such as consumer surveys,271 to




267 Silverman Zarinebaf Report, ¶ 32.
268 Silverman Zarinebaf Report, ¶ 32.
269 Silverman Zarinebaf Report, ¶ 32.
270 Silverman Zarinebaf Report, ¶ 32.
271 Diamond (2011), p. 361 (“Sample surveys are used to describe or enumerate the beliefs, attitudes, or behavior of

persons or other social units. Surveys typically are offered in legal proceedings to establish or refute claims about
the characteristics of those individuals or social units (e.g., whether consumers are likely to be misled by the claims
contained in an allegedly deceptive advertisement; which qualities purchasers focus on in making [purchase]
decisions”).




                                                                                                                Page 73
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 78 of 110 PageID #:3864




qualitative inquiries, such as interviews or focus groups.272 Yet, according to Mr. Silverman’s
deposition testimony, he did not conduct any of those methods.273 In particular:

            He did not interview any consumers who purchased ACANA or ORIJEN;274
            He did not conduct any focus groups of consumers who purchased ACANA or
             ORIJEN;275
            He did not conduct any consumer surveys of consumers who purchased ACANA or
             ORIJEN;276
            He did not review any secondary research studies of consumers who purchased
             ACANA or ORIJEN.277

125.    Instead of conducting or reviewing market research, Mr. Silverman based his opinions on
his own personal review of Champion’s packaging and his personal experiences as an
advertising practitioner creating ad campaigns for a wide variety of products278—none of which
are comparable to ACANA or ORIJEN premium dog food.279 Mr. Silverman’s approach
therefore does not follow objective or scientific standards. A proper evaluation of consumer


272 Kotler, P. and K. L. Keller (2016), Marketing Management, Essex, England: Pearson Education
Limited, pp. 125–128. Although Mr. Silverman did not conduct any interviews or focus groups of Champion
purchasers for the current matter, he appears to be familiar with the method, having “personally interviewed more
than 5,000 customers and attended at least 3,500 focus group sessions for products ranging from automobiles to dog
toys … [covering topics such as] why [consumers] preferred certain dog food brands, and what they liked (or did not
like) in proposed commercials for dog foods.” See Silverman Zarinebaf Report, ¶ 26.
273 Deposition of Bruce Silverman, March 17, 2021 (“Silverman Colangelo Deposition”), pp. 12:13–13:5.
274 Silverman Song Deposition, p. 30:7–10. Mr. Silverman also testified that he did not review the depositions of

the named plaintiffs in this case or in any of the related cases. See Silverman Song Deposition, p. 19:2–9.
275 Silverman Song Deposition, p. 30:13–16.
276 Silverman Song Deposition, p. 30:17–21.
277 Silverman Song Deposition, pp. 48:5–10, 139:6–11.
278 Silverman Zarinebaf Report, ¶ 10 (“My opinions are reflective of the practical knowledge and insights I have

gained over the course of a 50-year career working at the highest levels in the ‘real world’ of marketing, branding
and advertising.”); Silverman Song Deposition, pp. 29:24–30:6 (“Q. [W]hat were you asked to do as part of your
engagement for this case? A. Well, really the focus of my assignment was to review the claims that were on the
package, the statements that the plaintiffs were alleging were false or deceptive using my expertise as a marketing
expert, branding expert, communications expert to provide opinions as to whether or not those claims would have
been material to consumers.”); Silverman Song Deposition, p. 137:4–7 (“[T]he opinions I’ve expressed here are
based on my experience dealing with consumers and learning about consumers.”).
279 Silverman Song Deposition, p. 42:1–8 (“Q. Of all the companies you’ve worked for as an advertising executive

which was the most similar to Champion Petfoods? A. Well, the way I look at it, you know, I’ve already told you I
worked on two dog food accounts so, you know, I can arguably say that they were similar, but I don’t think they
were similar. They weren’t selling premium products.”).




                                                                                                           Page 74
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 79 of 110 PageID #:3865




perceptions of a product or a product’s marketing claims requires an empirical study of actual
consumers, such as by conducting or reviewing consumer surveys, focus groups, interviews, or
secondary research. Mr. Silverman understands this principle in the context of creating effective
advertising campaigns for his clients in the course of his private practice. He has testified that
his clients often spend millions of dollars annually on primary and secondary research studies to
understand how consumers learn, think, and feel about the products they are considering
purchasing.280 Yet in connection with his work in this current matter, Mr. Silverman claims to
understand how Champion purchasers perceived the Alleged Misrepresentations and Omissions
without conducting or reviewing any empirical research specific to actual Champion purchasers.
        B.       Mr. Silverman Did Not Consider Factors That Can Influence the Perceptions
                 and Purchase Decisions of Proposed Class Members

126.    Mr. Silverman also offered the following opinions regarding the materiality of the
Alleged Misrepresentations and Omissions to Proposed Class Members’ purchase decisions:
             a. Consumers are positively influenced by the Alleged Misrepresentations that
                 appear on Champion’s packaging when making their purchase decisions. 281
             b. In regards to the Alleged Misrepresentations, “[c]onsumers are likely to rely on
                 the veracity of these statements.”282
             c. Purchasers of premium-priced dog food are “concerned about the possible
                 presence of heavy metals, BPA, pentobarbital, non-fresh ingredients, and non-
                 regional ingredients in those products” and would view the possible presence of
                 these contaminants as material to their purchasing decisions. 283
             d. Disclosure on At-Issue Products’ packaging that the products “contained and/or
                 had a risk of containing” these contaminants “would have adversely affected
                 consumers’ willingness to purchase the Champion products.”284


280 Silverman Zarinebaf Report, ¶ 26; Silverman Song Deposition, p. 102:22–25. Mr. Silverman also testified in his
deposition that during his time as an advertising executive he would “do studies in some instances” to understand
what consumers understood and believed about advertising statements. See Silverman Song Deposition, p. 47:14–
20; see also Silverman Song Deposition, p. 60:1–13 (Mr. Silverman conducted focus groups to understand whether
consumers in the northeast would be “impressed” by his client’s marketing claims).
281 Silverman Zarinebaf Report, ¶ 32.
282 Silverman Zarinebaf Report, ¶ 32.
283 Silverman Zarinebaf Report, ¶ 32.
284 Silverman Zarinebaf Report, ¶ 32.




                                                                                                           Page 75
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 80 of 110 PageID #:3866




However, Mr. Silverman failed to consider factors that can influence consumers’ perceptions and
purchase decisions.
127.    For example, Mr. Silverman provided only a cursory discussion of the information
presented on the product packaging other than the Alleged Misrepresentations. Additional
information on the packaging provides context and can influence how Proposed Class Members
perceived the Alleged Misrepresentations and whether the Alleged Misrepresentations were
material. Mr. Silverman dismissed this by saying that “it has been my experience that very few
consumers make a point of checking the accuracy of each and every front of package claim by
reading the fine print disclaimers that may appear on the back of a package or in a nutrition label,
especially if they believe the brand to be trustworthy.”285 But if this is true, then consumers
would also not have seen or relied on some of the Alleged Misrepresentations in the first place
(e.g., “Delivering Nutrients Naturally” and “Fresh Regional Ingredients”), which are not
necessarily prominent or on the front of the package.286 In addition, information that provides
context and indicates that the product is not made solely from fresh ingredients is featured
prominently on Champion products. In particular, the “Meat Math” panel on Champion products
is featured prominently and provides information on the amount of fresh and non-fresh meat
contained in the product.287 Mr. Silverman provides no evidence for his opinion that consumers
would ignore one prominently featured label that clearly indicates a product is made of fresh and
non-fresh ingredients, while focusing exclusively on a relatively vague marketing slogan (e.g.,
“Biologically Appropriate”). Indeed, at his deposition, Mr. Silverman acknowledged that, “a
significant portion of consumers of products like these look at both the front and back [of the
package].”288
128.    Mr. Silverman also did not properly consider information or knowledge Proposed Class
Members may have utilized beyond Champion’s product packaging. For example, many

285 Silverman Zarinebaf Report, ¶ 53.
286 See, e.g., Boedeker Backup Materials (Song), “DS 2015 ACANA Heritage Meats 13lb.pdf.”
287 Silverman Zarinebaf Report, ¶ 110. As an example, the packaging for a 13-pound bag of ACANA Heritage

Meats Formula dog food produced by Mr. Boedeker in the Song matter indicates that of the 7 ¾ pounds of Beef,
Pork, and Lamb ingredients, “[h]alf are FRESH or RAW” and “half are DRIED or OILS.” The ingredients list on
the same package includes, among other things, freeze-dried beef liver, freeze-dried pork liver, and freeze-dried
lamb liver. See Boedeker Backup Materials (Song), “DS 2015 ACANA Heritage Meats 13lb.pdf.”
288 Silverman Colangelo Deposition, p. 25:3–4.




                                                                                                            Page 76
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 81 of 110 PageID #:3867




consumers consult their veterinarians or specialty pet food store employees and research
products on the internet.289 At his deposition, Mr. Silverman testified that he himself selected a
dog food brand based on the recommendation of the dog’s breeder and not based on the product
packaging at all.290 Mr. Silverman also acknowledged that “Champion depends on word-of-
mouth from satisfied pet parents, veterinarians and positive reviews on relevant websites…”291
He went on to say that “the Challenged Statements on the package help close the sale,” yet
provided no evidence for this assertion.292
129.     In addition, consumer knowledge regarding the routine presence of trace amounts of
heavy metals at safe levels (such as mercury in a variety of products including pet foods)293 could
have informed consumers’ reactions to the Alleged Misrepresentations and Omissions as well as
their purchase decisions. But Mr. Silverman simply concluded that (i) any presence of heavy
metals (even within industry safety standards) is inconsistent with Champion’s packaging claims
because he personally did “not believe that a reasonable consumer would see mercury, or for that
matter any other heavy metal, as a ‘fresh regional ingredient,’”294 and (ii) “if consumers were to
learn of Champion’s failure to disclose the presence of heavy metals … their willingness to pay a
premium for [Champion] products would decrease or they would possibly refuse purchase them
at all.”295
130.     Similarly, Mr. Silverman did not consider any information regarding marketing claims
and ingredients used by competing brands that Proposed Class Members may have utilized
during their purchase decision. For example, I understand that all, or nearly all, dry kibble dog
foods have measureable levels of heavy metals.296 Indeed, at his deposition Mr. Silverman could
not name a single dry kibble dog food sold in the United States that does not have detectable


289 “Brand Finance U.S. Dog Pet Food Survey,” Brand Finance, January 13, 2017, CPF0145434–5538, at 459.
290 Silverman Song Deposition, pp. 8:3–6; 9:13–17.
291 Silverman Zarinebaf Report, ¶ 62.
292 Silverman Zarinebaf Report, ¶ 62.
293 Poppenga Zarinebaf Report, pp. 8, 11–12, 21.
294 Silverman Zarinebaf Report, ¶ 167. When asked in deposition, Mr. Silverman acknowledged that an ingredient

can in fact be both fresh and contain heavy metals (e.g., naturally occurring heavy metals in a freshly caught fish).
See Silverman Song Deposition, p. 114:3–11.
295 Silverman Zarinebaf Report, ¶ 225.
296 Poppenga Zarinebaf Report, pp. 15, 21.




                                                                                                               Page 77
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 82 of 110 PageID #:3868




levels of heavy metals.297 When asked what dog food he would purchase if every dog food had
detectable levels of heavy metals, Mr. Silverman responded, “If every dog food had detectable
levels of those things, then I’d have to – you know, it’s a wash. I’ve got to feed the dog
something. I want to feed her as well as we possibly can.”298
131.       In sum, Mr. Silverman did not perform any empirical research on Champion purchasers
(or any empirical research at all), and instead just offered his personal opinions. Likewise, his ad
hoc approach to assessing consumer perceptions and the materiality of the Alleged
Misrepresentations and Omissions failed to account for information or knowledge Proposed
Class Members may have utilized based on Champion’s product packaging or beyond
Champion’s product packaging. Thus, Mr. Silverman’s approach not only lacks empirical basis
but his opinions amount to no more than unsubstantiated speculations.




____________________________

Professor Dominique M. Hanssens
March 29, 2021




297   Silverman Song Deposition, pp. 105:25–106:24.
298   Silverman Song Deposition, p. 136:1–8.



                                                                                             Page 78
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 83 of 110 PageID #:3869
                                                                       Appendix A



                                 DOMINIQUE M. HANSSENS

                           Distinguished Research Professor of Marketing
                              UCLA Anderson School of Management




Office

    UCLA Anderson School of Management
    110 Westwood Plaza, Suite B417
    Los Angeles, California 90095-1481, USA

    Phone +1 310.825.4497 and +1 310.206.7422 (fax)

    E-mail dominique.hanssens@anderson.ucla.edu

Academic Positions

    UCLA, Anderson School of Management
       Distinguished Research Professor, 2015-present
       Bud Knapp Professor of Marketing, 1999-2015

    Marketing Science Institute, Cambridge, MA
       Executive Director, 2005-07

    Catholic University of Leuven, Belgium
        Visiting Professor, Department of Applied Economics, 1984

    Purdue University
        Graduate Instructor, School of Industrial Management, 1975-76

Education

    Ph.D., Purdue University, Management
        Thesis: "An Empirical Study of Time-Series Analysis in Marketing Model Building."
        Chair: Frank M. Bass

    M.S., Purdue University, Management

    Licenciate, University of Antwerp (UFSIA), Applied Economics

Languages

    Dutch, English, French, German, Spanish
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 84 of 110 PageID #:3870
                                                                       Appendix A




                                           RESEARCH


Books and Monographs

    D. M. Hanssens. Long Term Impact of Marketing: A Compendium. World Scientific Publishing,
    2018.

    N. Mizik and D. M. Hanssens, Eds., Handbook of Marketing Analytics: Methods and Applications in
    Marketing Management, Public Policy and Litigation Support. Edward Elgar, 2018.

       Reviewed in Applied Marketing Analytics (Vol. 4, #2, 2018)

    D.M. Hanssens, Ed., Empirical Generalizations about Marketing Impact. Cambridge, MA:
    Marketing Science Institute, Relevant Knowledge Series, 2009. Second Edition, 2015.

       Designated as a “must read” book by Quirk’s Marketing Research, February 2013.

    J. Villanueva and D.M. Hanssens. Customer Equity: Measurement, Management and Research
    Opportunities. Foundations and Trends in Marketing, 2007.

    D.M. Hanssens, L.J. Parsons and R.L. Schultz. Market Response Models: Econometric and Time
    Series Analysis, 2nd Edition, Kluwer Academic Publishers, 2001. Reprinted, 2003.

        Reviewed in Journal of Marketing Research (August 2002), Interfaces (July-August 2003),
        International Journal of Forecasting (April-June 2005).

        Chinese translation, Shanghai People’s Publishing House, 2003.
        Japanese translation, Yuhikaku Publishing Company, 2017

    D.M. Hanssens, L.J. Parsons and R.L. Schultz. Market Response Models: Econometric and Time
    Series Analysis, Kluwer Academic Publishers, 1990.

        Reviewed in Journal of Marketing Research (May 1991), International Journal of Research in
        Marketing (June 1991).


Chapters in Books

   Hanssens, D.M., L. Michelozzi & N. Mizik, “Brand Value, Marketing Spending, and Brand Royalty
   Rates,” in J. Steckel and J. Gersen, Eds., Legal Applications of Marketing Theory. Cambridge
   University Press, forthcoming, 2021.

   Hanssens, D.M. (2020), "Market Response Models for Social Marketing Causes", in Iacobucci,
   D. (Ed.) Continuing to Broaden the Marketing Concept (Review of Marketing Research, Vol. 17),
   Emerald Publishing Limited, pp. 87-96, 2020.


                                                                                                     2
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 85 of 110 PageID #:3871
                                                                       Appendix A



   Hanssens, D.M. “Artificial Intelligence, Marketing Science and Sustained Profitability,” in
   The Future of Management in an AI World, J. Canals and F.Heukamp, Eds., Palgrave Macmillan,
   2019.

   Hanssens, D.M., “Return of Media Models,” in Handbook of Market Research, C. Homburg, M.
   Klarmann and A. Vomber, Eds., Springer Verlag, 2019.

   Hanssens, D.M. and Dekimpe, M.G., "Models for the Financial Performance Effects of Marketing,”
   in Handbook of Marketing Decision Models, 2nd Edition, B. Wierenga and R. van der Lans (Ed.),
   Springer, 2017.

   Hanssens, D.M., “What is Known about the Long-Term Impact of Advertising ?” in
   Accountable Marketing: Linking Marketing Actions to Financial Performance, D. Stewart and C.
   Gugel, Eds., Routledge, 2016.

   Hanssens, D.M., J.Villanueva & S.Yoo, “Word-of-Mouth and Marketing Effects on Customer
   Equity,” in Handbook of Research on Customer Equity in Marketing, V. Kumar and Denish Shah,
   Eds., Edward-Elgar Publishing, MA, 2015.

   Hanssens, D.M., “History of Marketing Science: Econometric Models,” in The History of Marketing
   Science, R. Winer and S. Neslin, Eds., Now Publishers Inc., 2014.

   Luo, X., K. Pauwels & D.M. Hanssens, “Time-Series Models of Pricing the Impact of Marketing on
   Firm Value,” in Handbook of Marketing and Finance, S. Ganesan, Ed., Edward-Elgar Publishing,
   MA, 2012.

   Dekimpe, M.G. & D. M. Hanssens, “The Hidden Powers of Advertising Investments,” in Liber
   Amicorum in Honor of Peter S.H. Leeflang, J. Wierenga, P. Verhoef and J. Hoekstra, Eds.,
   Rijksuniversiteit Groningen, 2011.

   Hanssens, D. M. and M. G. Dekimpe, “Short-term and Long-term Effects of Marketing Strategy,” in
   Handbook of Marketing Strategy, V. Shankar and G. S. Carpenter, ed., Edward-Elgar Publishing,
   MA, 2012.

   Lehmann, D.R. and Hanssens, D.M., “Marketing Metrics,” in Wiley International Encyclopedia of
   Marketing, R. Peterson and R. Kerin, Eds., 2011.

   Hanssens, D.M. and Dekimpe, M.G., "Models for the Financial Performance Effects of Marketing,”
   in Handbook of Marketing Decision Models, B. Wierenga (Ed.), Springer Science, 2008.

   Dekimpe, M.G., Franses, P.H., Hanssens, D.M. and Naik, P., "Time Series Models in Marketing,” in
   Handbook of Marketing Decision Models, B. Wierenga (Ed.), Springer Science, 2008.

   Dekimpe, M.G. and Hanssens, D.M., "Advertising Response Modeling,” in Handbook of Advertising,
   G. Tellis and T. Ambler (Eds.), Sage Publications, 2007.

   Dekimpe, M.G. and Hanssens, D.M., "Persistence Modeling for Assessing Marketing Strategy
   Performance," in Assessing Marketing Strategy Performance, Lehmann, D. and Moorman, C. (Eds.),
   Marketing Science Institute, 2004.

                                                                                                     3
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 86 of 110 PageID #:3872
                                                                       Appendix A




   Hanssens, D.M. “Allocating Marketing Communication Expenditures: A Long-Run View,” in
   Measuring and Allocating Marcom Budgets: Seven Expert Points of View, Batra, R. and Reibstein,
   D. (Eds.), Marketing Science Institute, 2003.

   Hanssens, D.M. and Parsons, L.J., “Econometric and Time-Series Market Response Models,” in
   Handbooks in OR & MS, Vol 5, Eliashberg, J. and Lilien, G.L. (Eds.), Elsevier Science Publishers,
   1993. Translated in Japanese, 1998.

Academic Articles

    Edeling, A., S. Srinivasan and D.M. Hanssens, “The Marketing-Finance Interface: A New
    Integrative Review of Metrics, Methods, Findings and Future Directions,” International Journal of
    Research in Marketing, forthcoming, 2021.

    Ding, Y., W. DeSarbo, D.M.Hanssens, K.Jedidi, J.Lynch and D.Lehmann, “The Past, Present and
    Future of Measurement and Methods in Marketing Analysis,” Marketing Letters, June 2020.

    N. Bharadwaj, R. Rao and D.M. Hanssens, “Corporate Brand Value and Cash Holdings,” Journal of
    Brand Management, July 2020.

    D.M. Hanssens, “The Case for Research on the Marketing-Finance Interface,” Recherche et
    Applications en Marketing (English Edition), 34 (3), 2019.

       French translation available in “Arguments en faveur d’une recherche a l’interface Marketing -
       Finance,” Recherche et Applications en Marketing, 34 (3), 2019.

    D.M. Hanssens, “The Value of Empirical Generalizations in Marketing,” Journal of the Academy of
    Marketing Science, January 2018.

    H. Kim and D.M. Hanssens, “Advertising and Word-of-Mouth Effects on Pre-Launch Consumer
    Interest and Initial Sales of Experience Products,” Journal of Interactive Marketing, 37, February
    2017.

    D. M. Hanssens, F. Wang and X-P. Zhang, “Performance Growth and Opportunistic Marketing
    Spending,” International Journal of Research in Marketing, December 2016.

       Finalist, 2017 Best Paper Award, International Journal of Research in Marketing

    D.M. Hanssens and K. Pauwels, “Demonstrating the Value of Marketing,” Journal of
    Marketing, November 2016.

       Finalist, 2017 MSI/Paul Root Best Paper Award, Journal of Marketing

    P. Chintagunta, D.M. Hanssens and J. Hauser, “Marketing Science and Big Data,” Marketing
    Science, May-June 2016.




                                                                                                         4
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 87 of 110 PageID #:3873
                                                                       Appendix A



   H. S. Shin, D.M. Hanssens and K.I.Kim, “The Role of Online Buzz for Leader vs. Challenger
   Brands: The Case of the MP3 Player Market,” Electronic Commerce Research, 2016.
   doi:10.1007/s10660-016-9218-7.

   M. Fischer, H. Shin and D.M. Hanssens, “Brand Performance Volatility from Marketing Spending,”
   Management Science, January 2016.

   D.M. Hanssens, K. Pauwels, S. Srinivasan, M. Vanhuele and G.Yildirim, “Consumer Attitude
   Metrics for Guiding Marketing Mix Decisions,” Marketing Science, July-August 2014.

      Finalist, Robert D. Buzzell Best Paper Award, Marketing Science Institute

   S. Gupta, D. Hanssens, J. Hauser, D. Lehmann & B. Schmitt, “Introduction to Theory and Practice in
   Marketing Special Section of Marketing Science,” Marketing Science, January-February 2014.

   P. Chintagunta, D. Hanssens, J. Hauser, J. Raju, K. Srinivasan & R. Staelin, “Marketing Science: A
   Strategic Review,” Marketing Science, January-February 2013.

   D.M. Hanssens, “Response Models, Data Sources, and Dynamics: Commentary on ‘Measuring the
   Impact of Negative Demand Shocks on Car Dealer Networks’,” Marketing Science, January-
   February 2012.

   M.G. Dekimpe & D.M. Hanssens, "Time Series Models in Marketing: Some Recent Developments,”
   Marketing - Journal of Research and Management, Special Issue in Honor of Lutz Hildebrandt, 6
   (1), 2010.

   A.Joshi & D.M. Hanssens, “The Direct and Indirect Effects of Advertising Spending on Firm
   Value,” Journal of Marketing, January 2010.

      MSI/Paul Root Best Paper Award, Journal of Marketing, 2011
      Robert D. Buzzell Best Paper Award, Marketing Science Institute, 2006

   D.M. Hanssens, R. T. Rust & R. K. Srivastava, “Marketing Strategy and Wall Street: Nailing Down
   Marketing’s Impact,” Journal of Marketing, October 2009.

   D.M. Hanssens, “Advertising Impact Generalizations in a Marketing Mix Context,” Journal of
   Advertising Research, June 2009.

   S. Srinivasan & D.M. Hanssens , “Marketing and Firm Value: Metrics, Methods, Findings and
   Future Directions,” Journal of Marketing Research, June 2009.

     Lead article
     With commentaries and rejoinder
     Finalist for the 2009-2010 Paul Green Best Paper Award.
     Finalist for the 2014 William O’Dell Long Term Impact Award

     French translation available in “Marketing et valeur de l'entreprise : mesures, méthodes, résultats et
     voies futures de recherché,” Recherche et Applications en Marketing, 24 (4), 2009.


                                                                                                         5
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 88 of 110 PageID #:3874
                                                                       Appendix A



   A.Joshi & D.M. Hanssens, “Movie Advertising and the Stock Market Valuation of Studios,”
   Marketing Science, March-April 2009.

   P. Leeflang, T. Bijmolt, J. van Doorn, D. Hanssens, H. van Heerde, P. Verhoef & J. Wierenga, “Lift
   versus Base: Current Trends in Marketing Dynamics,” International Journal of Research in
   Marketing, March 2009.

      Finalist, Best Paper Award, International Journal of Research in Marketing

   S. Srinivasan, K. Pauwels, J. Silva-Risso and D.M. Hanssens , “Product Innovations, Advertising
   Spending and Stock Returns,” Journal of Marketing, January 2009.

   B.Bronnenberg, J.P.Dubé, C. Mela, P. Albuquerque, T. Erdem, B. Gordon, D. Hanssens, G. Hitsch,
   H. Hong & B. Sun, “Measuring long-run marketing effects and their implications for long-run
   marketing decisions,” Marketing Letters, September 2008.

   J. Villanueva, S. Yoo and D.M. Hanssens, “The Impact of Marketing-Induced vs. Word-of-Mouth
   Customer Acquisition on Customer Equity,” Journal of Marketing Research, February 2008.

      Emerald Management Reviews Citations of Excellence Award, 2012

   K.Pauwels & D.M. Hanssens, ”Performance Regimes and Marketing Policy Shifts,“ Marketing
   Science, May-June 2007.

      Lead article
      Finalist, John D.C. Little Best Paper award
      Finalist, Frank M. Bass Best Dissertation-based Paper award

   S. Gupta, D. Hanssens, B. Hardie, W. Kahn, V. Kumar, N. Lin, N. Ravishanker and S. Sriram
   (2006), “Modeling Customer Lifetime Value,” Journal of Service Research, 9, 2 (November).

   J-B. Steenkamp, V.R.Nijs, D.M. Hanssens and M.G. Dekimpe, "Competitive Reactions to
   Advertising and Promotion Attacks," Marketing Science, Winter 2005.

   D.M. Hanssens, P. Leeflang and D.R. Wittink, “Market Response Models and Marketing Practice,”
   Applied Stochastic Models in Business and Industry, July-October 2005.

      With commentaries and rejoinder

   M.G. Dekimpe, D.M. Hanssens, V. Nijs and J-B. Steenkamp, “Measuring Short- and Long-Run
   Promotional Effectiveness on Scanner Data using Persistence Modeling,” Applied Stochastic Models
   in Business and Industry, July-October 2005.

      With commentaries and rejoinder




                                                                                                        6
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 89 of 110 PageID #:3875
                                                                       Appendix A



   K.Pauwels, I. Currim, M. Dekimpe, E. Ghysels, D. Hanssens, N. Mizik and P.Naik, “Modeling
   Marketing Dynamics by Time Series Econometrics,” Marketing Letters, 15:4, 2004.

   S. Srinivasan, K. Pauwels, D.M. Hanssens & M. Dekimpe, “Do Promotions Benefit Manufacturers,
   Retailers, or Both?,” Management Science, May 2004.

      Best Paper Award, 2001 European Marketing Academy Meetings

      French translation available in “Les promotions beneficient-elles aux fabricants, aux distributeurs,
      ou aux deux?”, Recherche et Applications en Marketing, 19 (3), 2004.

   K. Pauwels, J. Silva-Risso, S. Srinivasan and D.M. Hanssens, “The Long-Term Impact of New-
   Product Introductions and Promotions On Financial Performance and Firm Value,” Journal of
   Marketing, October 2004.

   D.M.Hanssens & M. Ouyang, “Hysteresis in Marketing Response: When is Marketing Spending an
   Investment? Review of Marketing Science, 419, (2002).

   K.Pauwels, D.M. Hanssens & S.Siddarth, “The Long-Term Effects of Price Promotions on Category
   Incidence, Brand Choice and Purchase Quantity,” Journal of Marketing Research, November 2002,
   p. 421-439.

       Finalist for the 2002-2003 Paul Green Best Paper Award.
       Winner of the 2007 William O'Dell Award

   V. Nijs, M. Dekimpe, J.-B. Steenkamp & D.M. Hanssens, “The Category Effects of Price
   Promotions, Marketing Science, Winter 2001.

       Lead article.
       Co-Winner of the 2001 John D.C. Little Best Paper Award.
       Winner of the 2002 Frank M. Bass Outstanding Dissertation Award.
       Finalist, 2011 Long-Term Impact Award, Society for Marketing Science

   M.G. Dekimpe and D.M. Hanssens, “Time-Series Models in Marketing: Past, Present and Future,”
   International Journal of Research in Marketing, September 2000.

   G. Giuffrida, W. Chu and D.M. Hanssens, “Mining Classification Rules from Datasets with Large
   Number of Many-Valued Attributes,” in Lecture Notes in Computer Science, 1777, Springer Verlag,
   2000.

   M.G. Dekimpe and D.M. Hanssens, "Sustained Spending and Persistent Response: A New Look at
   Long-Term Marketing Profitability," Journal of Marketing Research, November 1999, p. 1-31.

       Lead article.
       Winner of the 1999-2000 Paul Green Best Paper Award.
       Finalist for the 2004 William O'Dell Award.

   M.G. Dekimpe, D.M. Hanssens & J.Silva-Risso, "Long-Run Effects of Price Promotions in Scanner
   Markets," Journal of Econometrics, March-April 1999, p. 269-291.

                                                                                                        7
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 90 of 110 PageID #:3876
                                                                       Appendix A




   M.G. Dekimpe, L. van de Gucht, D.M. Hanssens & K. Powers, "Long-Run Abstinence After
   Treatment for Narcotcs Abuse: What Are the Odds?", Management Science, November 1998.

   D.M. Hanssens, "Order Forecasts, Retail Sales and the Marketing Mix for Consumer Durables,
   Journal of Forecasting, June-July 1998.

   M.G. Dekimpe and D.M. Hanssens, "Empirical Generalizations about Market Evolution and
   Stationarity," Marketing Science, Summer 1995.

   M.G. Dekimpe and D.M. Hanssens, "The Persistence of Marketing Effects on Sales," Marketing
   Science, Winter 1995.

       Lead article.
       Co-Winner of the 1995 John D.C. Little Best Paper Award.

   G.S. Carpenter and D.M. Hanssens, "Market Expansion, Cannibalization and Optimal Airline
   Pricing," International Journal of Forecasting, Vol 10, 1994.

   A. Roy, D.M. Hanssens and J.S. Raju, "Competitive Pricing by a Price Leader," Management
   Science, July 1994.

       Lead article.

   K. Powers, D.M. Hanssens, Y.I. Hser and M.D. Anglin, "Policy Analysis with a Long-Term Time
   Series Model: Controlling Narcotics Use and Property Crime," Mathematical and Computer
   Modeling, Vol. 17, 2, 1993.

   D.M. Hanssens and J.K. Johansson, "Synergy or Rivalry? The Japanese Automobile Companies'
   Export Expansion," Journal of International Business Studies, Fall 1991.

   K. Powers, D.M. Hanssens, Y.I. Hser and M.D. Anglin, "Measuring the Long-Term Effects of Public
   Policy: The Case of Narcotics Use and Property Crime," Management Science, June 1991.

       Lead article.

   G.S. Carpenter, L.G. Cooper, D.M. Hanssens and D.F. Midgley, "Modeling Asymmetric
   Competition," Marketing Science, Fall 1988.

   D.M. Hanssens and P. Vanden Abeele, "A Time-Series Study of the Formation and Predictive
   Performance of EEC Production Survey Expectations," Journal of Business & Economic Statistics,
   October 1987.

   S.I. Ornstein and D.M. Hanssens, "Resale Price Maintenance: Output Increasing or Restricting? The
   Case of Retail Liquor Stores," Journal of Industrial Economics, September 1987.

       Lead article. Reprinted in Journal of Reprints of Antitrust Law and Economics, W.Comanor
       (Guest Editor), 1990.

                                                                                                    8
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 91 of 110 PageID #:3877
                                                                       Appendix A




   H. Gatignon and D.M. Hanssens, "Modeling Marketing Interactions with Application to Sales Force
   Effectiveness," Journal of Marketing Research, August 1987.

       Lead article.
       Finalist for the 1992 William O'Dell Award.

   S.I. Ornstein and D.M. Hanssens, "Alcohol Control Laws and the Consumption of Distilled Spirits
   and Beer," Journal of Consumer Research, September 1985.

   W.A.V. Clark, H.E. Freeman and D.M. Hanssens, "Opportunities for Revitalizing Stagnant Markets:
   An Analysis of Consumer Durables," Journal of Product Innovation Management, December 1984.

   D.M. Hanssens and L.M. Liu, "Lag Specification in Rational Distributed Lag Structural Models,"
   Journal of Business & Economic Statistics, October 1983.

   D.M. Hanssens and H.A. Levien, "An Econometric Study of Recruitment Marketing in the U.S.
   Navy," Management Science, October 1983.

   L.M. Liu and D.M. Hanssens, "Identification of Multiple-Input Transfer Function Models,"
   Communications in Statistics (Theory & Methods), 1982(3).

   L.M. Liu and D.M. Hanssens, "A Bayesian Approach to Time-Varying Cross-Sectional Models,"
   Journal of Econometrics, April 1981.

   D.M. Hanssens, "Market Response, Competitive Behavior and Time-Series Analysis," Journal of
   Marketing Research, November 1980.

       Finalist for the 1985 William O'Dell Award.

   D.M. Hanssens, "Bivariate Time-Series Analysis of the Relationship between Advertising and
   Sales," Applied Economics, September 1980.

   D.M. Hanssens and B.A. Weitz, "The Effectiveness of Industrial Print Advertisements across
   Product Categories," Journal of Marketing Research, August 1980.

   E.A. Pessemier, A.C. Bemmaor and D.M. Hanssens, “A Pilot Study of the Willingness to Donate
   Human Body Parts,” Journal of Consumer Research, December 1977.


Working Papers

   R. Becerril-Arreola and D.M. Hanssens, “Measuring and Explaining Product Positionality,” April
   2020. Under review.

   R. Song, S. Jang, Y. Wang, D.M. Hanssens and J. Suh, “Reinforcement Learning and Risk
   Preference in Equity Linked Notes Markets,” September 2019. Under review.

                                                                                                     9
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 92 of 110 PageID #:3878
                                                                       Appendix A




   H. S. Shin, D. M. Hanssens, K.I. Kim and J. A. Choe, "Positive vs. Negative e-Sentiment and the
   Market Performance of High-Tech Products," August 2013.

       Grant recipient, Marketing Science Institute

    S. Yoo, D.M. Hanssens & H. Kim, ”Marketing and the Evolution of Customer Equity of Frequently
    Purchased Brands,” October 2012.

    H. S. Shin, M. Sakakibara & D. M. Hanssens, "Marketing and R&D Investment of Leader vs.
    Follower," July 2010.


Articles for Executives

    D.M. Hanssens, “Editorial: Marketing Science and Epidemiology,” Applied Marketing Analytics, 6,1,
    2020.

    May, T., T. Chretien, C. Brandt Jones and D.M. Hanssens, “Beyond CSAT – Building Brands with
    Integrated Insights to Drive Results,” Journal of Brand Strategy, 8, 4, Spring 2020.

    D.M. Hanssens, “Creating Strong Brands for the Information Age,” The Journal of World Marketing
    Summit, October 2019.

    M. Fischer, H. Shin and D.M. Hanssens, “Marketing Spending and Brand Performance Volatility,”
    GfK Marketing Intelligence Review, 10, 1, May 2018.

    D.M. Hanssens, “Marketing Impact in the Digital Age,” The Journal of World Marketing Summit,
    November 2017.

    D. M. Hanssens, F. Wang and X-P. Zhang, “Vigilant Marketing: Catching Fleeting Opportunities for
    Growth Spurts,” Applied Marketing Analytics, 3, 2, 2017.

    P. Chintagunta, D.M. Hanssens and J.R. Hauser, “Why does Marketing Need to Strongly Embrace
    Data Science?,” GfK Marketing Intelligence Review, 8, 2, 2016.

    P. Farris, D. M. Hanssens, J. Lenskold and D. Reibstein, “Marketing Return on Investment: Seeking
    Clarity for Concept and Measurement,” Applied Marketing Analytics, Summer 2015.

       Marketing Science Institute Top Download Award, 2015

    C. Binder and D.M. Hanssens, “Why Strong Customer Relationships Trump Powerful Brands,”
    Harvard Business Review Online, April 2015.

    D.M. Hanssens, “The Long-Term Impact of Advertising,” GfK Marketing Intelligence Review, 2015.

    D. Kehrer (interview with D.M. Hanssens), “Why ROI is Often Wrong for Measuring Marketing
    Impact,” Forbes Insights, July 2013.


                                                                                                     10
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 93 of 110 PageID #:3879
                                                                       Appendix A



   D.M. Hanssens and M.G. Dekimpe, “The Flow Story,” Marketing Management, Summer 2012.

   D. M. Hanssens, “What is Known about the Long-Term Impact of Advertising,” Marketing
   Accountability Standards Board Practitioner Paper, No. 2011-01, February 2011.

   D.M. Hanssens, “Stability, Growth, Decline: Beating Recession Fatigue Requires Right Diagnosis,”
   IESE Insight, 5, Second Quarter 2010 (in Spanish and English).

   D.M. Hanssens, D. Thorpe & C. Finkbeiner, “Marketing When Customer Equity Matters,” Harvard
   Business Review, May 2008.

   D.M. Hanssens and E. Taylor, “The Village Voice: communities of customers and prospects are
   creating new challenges and opportunities,“ Marketing Management, March-April 2007.

   D.M. Hanssens and B. Lewis, “Divvying up the Marketing Pie,” BAI Banking Strategies,
   September/October 2005.

   S. Srinivasan, K. Pauwels, D.M. Hanssens & M. Dekimpe, “Who Benefits from Price Promotions?”,
   Harvard Business Review, September 2002.

   D. M. Hanssens, “Information Driven Marketing Strategy,” International Journal of Medical
   Marketing, Summer 2002.

   D.M. Hanssens, "Comment on Hysteresis in Marketing," Sloan Management Review, Summer 1997

   R. Birt and D.M. Hanssens, "Customer-Focused Database Marketing," Case-in-Point Report, 1996.

   D.M. Hanssens, "Customer Information: The New Strategic Asset," Chief Executive, 1996.

   D.M. Hanssens, "Managementopleiding voor de 21ste Eeuw," Economisch & Sociaal Tijdschrift,
   June 1994 (in Dutch).

   D.M. Hanssens and P. Loewe, "Taking the Mystery out of Marketing," Management Review, August
   1994.

Book Reviews

   "A Comparative Review of Econometrics Books," in Journal of Marketing Research, February 1992.

   "Time Series and Forecasting with IDA," by H. Roberts, in Journal of the American Statistical
   Association, June 1985.

   "Innovation Diffusion: Models and Applications," by V. Mahajan and R. Peterson, in Journal of
   Marketing Research, November 1985.




                                                                                                   11
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 94 of 110 PageID #:3880
                                                                       Appendix A



                                            TEACHING

Courses Taught at UCLA

       Elements of Marketing (MBA)
       Mathematical Models in Marketing (MBA/PhD)
       International Marketing (MBA)
       Quantitative Research in Marketing (PhD)
       Time Series Analysis (PhD/MBA)
       Special Research Topics in Marketing (PhD)
       Management Field Studies Advisorship (MBA)
       Directed Readings in Applied Econometrics and International Marketing (PhD/MBA)
       Workshop in Marketing (PhD)
       Data Analysis and Decisions under Uncertainty (Executive MBA)
       Research in Marketing Management (Ph.D.)
       Marketing Strategy and Policy (Executive MBA)
       Marketing Strategy and Planning (MBA)
       Action Research Project (Executive MBA)
       Customer Information Strategy (Executive MBA)
       Managerial Problem Solving (MBA)
       Marketing Management II (MBA)
       Marketing Strategy and Planning: Focus on Central & Eastern Europe (MBA)

Doctoral Committees

   As chair or co-chair:

       Bonita J. Campbell, PhD Management, 1979. Professor of Engineering, California State
            University, Northridge
       Yoshi Sugita, PhD Management, 1985. Professor of Economics, Gakushuin Univ. Tokyo
       Abhik Roy, PhD Management, 1989. Professor of Marketing, Quinnipiac University
       Keiko Powers, PhD Psychology, 1990. Senior Marketing Scientist, MarketShare.
       Maria Cison, PhD Economics, 1990. Economist, General Motors Corporation, Detroit
       Marnik Dekimpe, PhD Management, 1992. Research Professor, Tilburg University
       Koen Pauwels, PhD Management, 2001. Professor, Northeastern University
       Julian Villanueva, PhD Management, 2003. Professor, IESE, Madrid
       Shijin Yoo, PhD Management, 2004. Professor, Korea University
       Amit Joshi, PhD Management, 2005. Professor, IMD, Lausanne
       Hyun Shin, PhD Management, 2008. Associate Professor, Hanyang Univ., Korea
       Rafael Becerril, PhD Management, 2013. Assistant Professor, Univ. of South Carolina
       Ho Kim, PhD Management, 2013. Assistant Professor, Univ. of Missouri, St. Louis

   As member:

       Luiz Caleffe, PhD Education, 1980
       Hubert Gatignon, PhD Management, 1981
       Douglas Nigh, PhD Management, 1981
       Marjorie Chan, PhD Management, 1981
       Daniel Wunsch, PhD Education, 1981

                                                                                              12
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 95 of 110 PageID #:3881
                                                                       Appendix A



        Mary Kreik, Dr. Public Health, 1982
        Ngina Lythcott, Dr. Public Health, 1982
        Harish Sujan, PhD Management, 1983
        Sharon Garrett, PhD Public Health, 1983
        Jan Ouren, PhD Public Health, 1983
        Robert Curtis, PhD Management, 1985
        Melvyn Menezes, PhD Management, 1985
        Benoit Boyer, PhD Management, 1987
        Kannan Srinivasan, PhD Management, 1986
        Harold Stanislaw, PhD Psychology, 1987
        Leon Crabbe, PhD Economics, 1988
        Joao Assuncao, PhD Management, 1990
        Parvish Nourjah, PhD Epidemiology, 1991
        Ronald Rivas, PhD Management, 1997
        Ronald Dietel, EdD Education, 1997
        Reza Sadri, PhD Computer Science, 2001
        Catarina Sismeiro, PhD Management, 2002
        Yan-Nei Law, PhD Computer Science, 2005
        Wayne Taylor, PhD Management, 2017

    As external member:

        Katrijn Gielens, Doctor in Applied Economics, Catholic University of Leuven, 1999
        Vincent Nijs, Doctor in Applied Economics, Catholic University of Leuven, 2001
        Marcel Kornelis, Doctor in Economics, University of Groningen, 2002
        Isaac Dinner, PhD, Columbia University, 2011
        Ofer Mintz, PhD, University of California, Irvine, 2011
        Chloe Moon, PhD, University of California, Riverside, 2020




Executive Seminars (since 2000)

        Wells Fargo Bank, 1995-2005
        PriceWaterhouseCoopers, 2000
        Columbia University Executive Program, 2001
        Marketing Strategy in the Information Age, 2000-02
             Faculty Director, 2000-02
        UCLA Strategic Leadership Institute, 2000-2003
        Ambrosetti, Italy, 2002, 2004, 2005, 2006
        Credit Suisse, 2002-03
        University of California San Diego, Executive Program, 2003
        Auchan, France, 2004
        Gen-Probe, San Diego, 2004
        Numico, Singapore, 2006
        Greater Paris Investment Agency, 2007
        SAS Forum, Madrid, 2007
        Marketing Roundtable, Georgia State University, 2008

                                                                                            13
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 96 of 110 PageID #:3882
                                                                       Appendix A



       Amgen, 2008
       Baptie CMO Community, 2008
       Korea Productivity Center, 2009
       Coca-Cola Latin America, 2010
       Adobe, 2012
       Teradata, 2013, 2015
       American Bar Association, 2013
       Hollywood IT Society, 2015, 2016
       World Marketing Summit, Tokyo, 2016
       Forbes CMO Summit, 2018
       World Marketing Summit, Istanbul (2018), Tokyo (2019), Manila (2020),
           Lahore (2020), New Delhi (2020), Kuala Lumpur (2020)
       MMA Global (2020)
       Electronic World Marketing Summit (2020)




                                                                               14
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 97 of 110 PageID #:3883
                                                                       Appendix A



                                         ADMINISTRATION


Executive Director, Marketing Science Institute, Cambridge, Massachusetts, 2005-2007

    MSI is a not-for-profit institute founded in 1961 with the mission of bringing together the leading
    academics and practitioners in marketing to create knowledge that improves business performance.
    The Executive Director serves a two-year term, overseeing the research priorities, research grants,
    conference content, publications, collaborative research and other programs of the Institute. He or
    she also serves as key liaison between the MSI member companies and academic researchers.

Executive Positions at UCLA, Anderson Graduate School of Management

    Chairman, 1988-1990

    Chief academic officer for the 150 full-time and part-time faculty of the sole department in the
    school. Key responsibilities include hiring, promotion, salary negotiations, course assignments,
    summer research funding, departmental organization and budgeting. Position involves extensive
    contacts with the dean of the school and the university administration.

    Associate Dean, Academic Affairs & Strategic Planning, 1991-1993

    Responsible for all degree programs, interdisciplinary research centers, and information technology
    services of the school. Also charged with developing a strategic plan for the school. Position
    involves extensive contacts with the external constituencies. Acts as dean of the school in his
    absence.

    Vice-President, Management Education Associates, 1991-1993

    Faculty Director, Global Executive MBA Program for the Americas, 2010-2013

    Faculty Director, Morrison Center for Marketing and Data Analytics, 2015-2016


Other Administrative Functions

    UCLA Anderson School of Management

    Marketing Area Chair, 1984-87, 1993-96, 1999-00, 2004-05, 2007-09, 2012-14.
    Elected Member of Staffing Committee, 1982-83, 1984-86, 2000-02.
    Chairman, Research Committee, 1986-88
    Research Committee, 1990-1998, 2008-2013
    Chairman, Executive Education Committee, 1993--95
    Advisory Board member, Center for Corporate Renewal, 1995-1998
    Elected Member of Faculty Executive Committee, 1997-2000, 2010-2013.
    Board of Visitors Marketing Task Force, 1997-98, 2002-03
    Teaching Improvement Committee, 1998-01
    Advisory Board member, Center for Management in the Information Economy, 2000-02
    Chairman, Faculty Advisory Board, Entertainment Research Center, 2002-2004

                                                                                                       15
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 98 of 110 PageID #:3884
                                                                       Appendix A




   Faculty Director, Entertainment & Media Management Institute, 2004-05.
   Compensation Task Force, 2011
   Co-chair, UCLA Anderson Task Force on Branding, 2011-2012

   University of California

   Review Committee, UC Irvine Graduate School of Management, 1988
   Chairman, UCLA Task Force on Economic Reconstruction and Development, 1992
   Task Force on UCLA Faculty Workload, 1993--94
   Task Force on Part-Time Masters Programs, 1993--94
   Clinical Scholars Program Committee, UCLA School of Medicine, 1997-2002
   Dean Search Committee, UCLA School of Education, 1999
   Chairman, Dean Review Committee, UCLA School of Letters and Sciences, 2001-02
   Dean Review Committee, UCLA Extension, 2011
   Faculty Welfare Committee, UCLA Academic Senate, 2011-2014
   Dean Search Committee, UCLA Extension, 2013
   Vice Chancellor Search Committee, UCLA, 2015
       External Review Committee, Samueli School of Engineering, UC Irvine, 2016

   Other

   Faculty Advisory Board, Gemini Consulting, San Francisco, 1988-1997
   Marketing Advisory Board, KeraVision, San Jose, 1995-1999
   Board of Directors, i-Mind Education Systems, 1998-2001
   Academic Trustee, Marketing Science Institute, Boston, 2002-2005
   Executive Committee, Marketing Science Institute, Boston, 2005-2011.
   External Review Committee, Wharton School Marketing Department, 2003
   Member, UCLA Committee on Research, 2003-2005.
   Founding Director, Marketing Accountability Standards Board (MASB), 2006-2017
   External Review Committee, New York University Marketing Department, 2008
   Selection Committee, AMA Irwin Distinguished Marketing Educator Award, 2006-2009
        Chairman, 2008-2009
   Board of Directors, MarketShare, Los Angeles, 2006-2015
   International Advisory Board, HEC School of Management, Paris, 2009-2015
   External Review Committee, Erasmus Research Institute of Management, Rotterdam, 2010
   Academic Advisory Board, Unilever Marketing Science Unit, London, 2012-2015
   Supervisory Board, Erasmus University Research Institute of Management, 2012-
   Senior Advisor, Cornerstone Research, 2014-
   Advisory Board, MarketShare, Los Angeles, 2016-17
   President, INFORMS Society for Marketing Science, 2016-17
   Selection Committee, Buck Weaver Award for Lifetime Contribution to Marketing
       Theory & Practice, ISMS, 2018-present
   Advisory Board, LiftLab, San Francisco, 2019-
   Chair, Research Evaluation Committee, Tilburg Institute for Economics and Management, 2020



                                                                                                16
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 99 of 110 PageID #:3885
                                                                       Appendix A



                                   PROFESSIONAL SERVICE

Grants

    UCLA Alcohol Research Center, $39,000, for a study of regulation effect on alcohol consumption,
    1979-80 (with S.I. Ornstein)
    Director, Robert Anderson Research Endowment in Management, $250,000, 1988-93, 1997-99
    Columbia Charitable Foundation, $230,000, Information Technology Planning Grant, 1991-1992
    Director, William Leonhard Research Endowment in Management, $200,000, 1993-97
    Various Marketing Science Institute research grants, 1996-present

Editorial Boards

    Journal of Marketing Research, 1984-88 and 2003-05
    Journal of Marketing Research, Associate Editor, 2007-10
    Journal of Marketing Research, Editor’s Advisory Board, 2010-16
    Journal of Marketing, Associate Editor, 2014-16
    Journal of Marketing, Special Issue Co-Editor, 2007-09
    Marketing Science, 1983-94
    Marketing Science, Area Editor, 1988-91
    Marketing Science, Editor’s Advisory Board, 2010-15
    Marketing Science, Special Issue Co-Editor, 2013-16
    Management Science, Associate Editor, 1978-88
    Recherche et Applications en Marketing, 1987-
    International Journal of Research in Marketing, 1993-2003
    International Journal of Research in Marketing, Associate Editor, 2009-2016
    Applied Marketing Analytics, Editorial Board, 2014-

Ad Hoc Reviewing

    Marketing Science, 1981-82
    Journal of Forecasting, 1981--
    Management Science, 1981--
    Journal of Marketing Research, 1981-83
    Journal of Consumer Research, 1982--
    Interfaces, 1992--
    Decision Sciences, 1982--
    International Journal of Research in Marketing, 1983-92
    Computers & Industrial Engineering, 1983--
    Journal of Business & Economic Statistics, 1984--
    Journal of Product Innovation Management, 1984--
    Psychometrika, 1985--
    National Science Foundation, 1984--
    Communications in Statistics, 1987--
    Journal of Time Series Analysis, 1988--
    Journal of Marketing, 1987--
    International Journal of Forecasting, 1992--
    Journal of Econometrics, 1996-
    Marketing Letters, 1996-

                                                                                                  17
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 100 of 110 PageID #:3886
                                                                       Appendix A



    Research Council of the United Kingdom, 1997
    Research Foundation – Flanders, 2016


Invited Research Seminars

    2020 University of Texas, Austin
    2019 Columbia University*
         Harvard Law School*
    2018 IESE, Barcelona*
         BI Norwegian School of Management*
    2017 University of Groningen*
         University of California, Riverside
    2016 University of Tennessee
         University of Pennsylvania, Wharton School
         Indiana University, University of Notre Dame*,
         Chinese University of Hong Kong*
         University of Oxford
    2015 University of Kansas, University of South Carolina,
         London Business School, New York University*,
         Bogazici University, Istanbul*, Tilburg University*
    2014 University of Maryland, Northwestern University,
         Universität zu Köln, Tohoku University
    2013 University of Michigan
    2012 University of Texas, Austin, University of Central Florida,
         University of Florida, Fudan University Shanghai,
         University of Washington
    2011 Boston University*, University of Utah
    2010 University of California, Davis, University of North Carolina,
         Texas Christian University, Erasmus University, Rotterdam*
         BI Norwegian School of Management*
    2009 Korea University*, Georgia State University*, University of Arizona
    2008 UCLA Anderson Faculty Lecture Series, University of Minnesota,
         Tilburg University*, University of Missouri, Georgia State University
    2007 Boston University, Columbia University, Arizona State University
    2006 University of Groningen*, Harvard Business School,
         Emory University, Texas A&M University,
         University of Maryland, Massachusetts Institute of Technology,
         Dartmouth College
    2005 Washington University, St. Louis, Ohio State University,
         Singapore Management University, University of Connecticut
         Yale University, MIT Data Center
    2004 UCLA Marschak Interdisciplinary Colloquium, University of California, San Diego,
         UCLA Finance Seminar Series, Koc University, Istanbul
    2003 Tulane University, Dartmouth College, McGill University,
         Tilburg University, Duke University
    2002 University of Texas, Austin, Erasmus University, University of Groningen
    2001 University of Texas at Dallas, Simon Fraser University,
         Tilburg University

                                                                                            18
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 101 of 110 PageID #:3887
                                                                       Appendix A



    2000 AMA Advanced Research Forum, Monterey, University of Western Ontario
    1999 University of California, Riverside, University of Southern California,
         Georgetown University, UCLA Anderson Faculty Lecture Series
    1998 Humboldt University, Berlin, Northwestern University
    1997 University of Cambridge, University of Washington Marketing Camp
    1996 University of California, Berkeley, University of Budapest,
         Marketing Science Institute (1996-present)
    1995 University of Texas, Austin, University of California, Irvine,
         Universitat Mainz
    1994 Catholic University of Leuven, University of Iowa,
         Hong Kong University of Science & Technology
    1991 INSEAD, Catholic University of Leuven Law School
    1990 Catholic University of Leuven, Washington University, St. Louis,
         University of Florida, AMA Doctoral Consortium
    1989 Georgetown University, Columbia University Marketing Camp
    1987 Columbia University
    1986 University of Houston
    1985 Carnegie-Mellon University
    1984 Washington State University, HEC Paris, Universidad de Zaragoza,
         Universiteit Antwerpen, Universite de Mons, Universiteit Gent,
         Universitat Bielefeld
    1983 UCLA Economics Department
    1982 University of Texas at Dallas, University of Washington
    1981 Stanford University, Harvard University

    * denote plenary lectures at conferences hosted by or at the university

Consulting

    airlines: Air France
    automotive: Ford, Mercedes, Lexus
    consumer products: General Mills, Mars, Mattel Toys, Nestle, Coca-Cola
    entertainment: Sony, Electronic Arts, Xbox, Disney, NBC, Vivendi
    financial services: Home Savings, Wells Fargo, Wachovia, Schwab, CitiCorp, Fidelity
    health care: Amgen, Johnson & Johnson, Safeguard Health, GlaxoSmithKline, KeraVision
    information services: Catalina Marketing, TRW, TNS, MSN, Google
    insurance: Progressive, Zurich
    law firms: expert witness list available upon request
    marketing analytics: LiftLab, LivePerson
    public sector: US Navy Recruiting Command
    retailing: Ralphs, Wickes, Gelson’s, Build-a-Bear, Albertsons
    technology: Hewlett Packard, Hughes, Xerox, Dell, Microsoft, CDW, Motorola, Intel
    telecommunications: British Columbia Telecom, British Telecom, General Telephone




                                                                                           19
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 102 of 110 PageID #:3888
                                                                       Appendix A



Honors and Awards

    2016 Wroe Alderson Award, Wharton School, University of Pennsylvania
    2015 Buck Weaver Award for Lifetime Contribution to Marketing Theory & Practice, ISMS
    2013 V. Mahajan Award for Career Contributions to Marketing Strategy Research, AMA
    2010 Fellow, INFORMS Society for Marketing Science
    2010 MSI/H. Paul Root Best Paper Award, Journal of Marketing
    2007 Gilbert A. Churchill Lifetime Achievement Award, AMA
    2007 William O’Dell Best Paper Award, Journal of Marketing Research
    2006 Robert D. Buzzell Best Paper Award, Marketing Science Institute
    2003 Neidorf “Decade” Teaching Award, UCLA Anderson School of Management
    2003 Teaching Excellence Award, UCLA Executive MBA Program
    2002 Frank M. Bass Outstanding Dissertation Award, Marketing Science
    2001 John D.C. Little Best Paper Award, Marketing Science
    2001 European Marketing Academy Best Paper Award
    1999 Paul E. Green Best Paper Award, Journal of Marketing Research
    1997 Teaching Excellence Award, UCLA Executive MBA Program
    1995 John D.C. Little Best Paper Award, Marketing Science
    1996 EMAC Doctoral Consortium Faculty Member
    1990 AMA Doctoral Consortium Faculty member, 1990-present
    1988 Teaching Excellence Award, UCLA Executive MBA Program
    1983 Outstanding Reviewer Award, Marketing Science
    1981 George Robbins Distinguished Teaching Award, UCLA School of Management
    1981 Career Development Award, UCLA
    1977 Member Beta Gamma Sigma (National Business Honor Society), 1977-present
    1977 Purdue University representative, Albert Haring Annual Symposium
    1976 Fellow, C.I.M., Brussels, Belgium (doctoral dissertation fellowship)
    1975 Outstanding Teacher's Award, Purdue University


Media

    Various interviews on management topics for Wall Street Journal, New York Times, Los Angeles
    Times, Fortune, Los Angeles Business Journal, ABC World News, NPR and other media.




                                                                          Revised, January 2021




                                                                                                   20
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 103 of 110 PageID #:3889
                                                                       Appendix B




Dominique M. Hanssens, Ph.D.                                                          March 2021
Distinguished Research Professor of Marketing
UCLA Anderson School of Management


                       TESTIMONY HISTORY IN LAST FOUR YEARS



1. Epic Games Inc. v. Apple, Inc., United States District Court, Northern District of California.
   Deposition taken on March 25, 2021.

2. J. Song and S. Wertkin v. Champion Petfoods, United States District Court, District of
   Minnesota. Deposition taken on December 16, 2020.

3. J. Koenig v. Vizio, Inc., Superior Court of the State of California, County of Los Angeles.
   Deposition taken on June 23, 2020.

4. Miller and Paulson v. Peter Thomas Roth, United States District Court, Northern District of
   California. Deposition taken on April 15, 2020.

5. MGA Entertainment, Inc. vs. Zuru, LLC, Superior Court of the State of California, County of Los
   Angeles. Testimony at preliminary injunction hearing given on March 6, 2020.

6. Sirius XM Radio Inc, U.S. Copyright Royalty Board, Washington, D.C. Depositions taken on
   February 11 and July 2, 2020. Trial testimony given on August 26, 2020.

7. Blackberry v. Facebook et al., United States District Court, Central District of California. Deposition
   taken on December 21, 2019.

8. G. Woolley et al. v. Ygrene Energy Fund, United States District Court, Northern District of
   California. Deposition taken on September 26, 2019.

9. S. Weaver v. Champion Petfoods, United States District Court, Eastern District of Wisconsin.
   Deposition taken on September 18, 2019.

10. D. Krommenhock and S. Hadley v. Post Foods LLC, United States District Court, Northern District
    of California. Deposition taken on July 11, 2019.

11. J. Beaty and J. Beaty v. Ford Motor Company, United States District Court, Western District of
    Washington. Deposition taken on June 6, 2019.

12. J. Reitman and C. Shoaff v. Champion Petfoods, United States District Court, Central District of
    California, Western Division. Deposition taken on May 22, 2019.

13. Obagi Cosmeceuticals v. ZO Skin Health, Judicial Arbitration and Mediation Services. Deposition
    taken on April 25, 2019. Trial testimony given on May 17, 2019.




                                                                                                     Page 1
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 104 of 110 PageID #:3890
                                                                       Appendix B




14. Liqwd, Inc. and Olaplex, LLP v. L’Oreal USA, Inc. et al., United States District Court, District of
    Delaware. Deposition taken on March 4, 2019.

15. Merck & Co. Inc. and Merck Sharp & Dohme Corp. v. Merck KGaA, United States District Court,
    District of New Jersey. Depositions taken on February 14 and 15, 2019.

16. Kellie Loeb v. Champion Petfoods, United States District Court, Eastern District of Wisconsin.
    Deposition taken on February 6, 2019.

17. Ryan Porter and Haarin Kwon v. NBTY Inc., United States District Court, Northern District of
    Illinois, Eastern Division. Deposition taken on November 29, 2018.

18. Chrysler-Dodge-Jeep Ecodiesel Marketing, Sales Practices, and Products Liability, United States
    District Court, Northern District of California. Deposition taken on August 17, 2018.

19. General Motors LLC Ignition Switch Litigation, United States District Court, Southern District of
    New York. Deposition taken on April 30, 2018.

20. The Coca-Cola Company v. Commissioner of Internal Revenue, United States Tax Court. Deposition
    taken on November 16, 2017. Trial testimony given on April 12, 2018.

21. Swiftair, LLC v. Southwest Airlines, Superior Court of the State of California. Deposition taken on
    September 6, 2017.

22. Lions Gate Entertainment v. TD Ameritrade and Havas Worldwide New York, United States District
    Court, Central District of California. Deposition taken on June 15, 2017.

23. Kobe Falco et al. v. Nissan North America, Inc., United States District Court, Central District of
    California. Deposition taken on May 31, 2017.

24. Brandy Varner et al. v. Dometic Corporation, United States District Court, Southern District of
    Florida. Deposition taken on May 18, 2017.

25. Leah Segedie et al. v. The Hain Celestial Group, Inc., United States District Court, Southern District
    of New York. Deposition taken on May 16, 2017.

26. The People of the State of California v. General Motors LLC, Superior Court of the State of
    California. Deposition taken on May 2, 2017.

27. Bahamas Surgery Center v. Kimberly-Clark Corp. and Halyard Health, Inc., United States District
    Court, Central District of California. Trial testimony given on April 5, 2017.




                                                                                                         Page 2
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 105 of 110 PageID #:3891
                                                                       Appendix C




                            Documents Relied Upon
Academic Articles

      •   Allenby, G., J. Brazell, J. Howell, and P. Rossi (2013), “Using Conjoint Analysis to
          Determine the Market Value of Product Features,” Proceedings of the Sawtooth
          Software Conference, 341–355.
      •   Allenby, G., J. Brazell, J. Howell, and P. Rossi (2014), “Economic Valuation of
          Product Features,” Quantitative Marketing and Economics, 12, 4, 421–456.
      •   Allenby, G., J. Brazell, J. Howell, and P. Rossi (2014), “Valuation of Patented
          Product Features,” Journal of Law and Economics, 57, 3, 629–663.
      •   Anderson, N. H. (1965), “Averaging Versus Adding as a Stimulus-Combination Rule
          in Impression Formation,” Journal of Experimental Psychology, 70, 4, 394–400.
      •   Baumeister, R. F., E. Bratslavsky, C. Finkenauer, and K. D. Vohs, (2001), “Bad Is
          Stronger Than Good,” Review of General Psychology, 5, 4, 323–370.
      •   Ben-Akiva, M., D. McFadden, and K. Train (2019), “Foundations of Stated
          Preference Elicitation: Consumer Behavior and Choice-Based Conjoint Analysis,”
          Foundations and Trends in Econometrics, 10, 1–2, 1–144.
      •   Carson, R. T., J. D. Louviere, D. A. Anderson, P. Arabie, D. S. Bunch, D. A.
          Hensher, R. M. Johnson, W. F. Kuhfeld, D. Steinberg, J. Swait, H. Timmermans, and
          J. B. Wiley (1994), “Experimental Analysis of Choice,” Marketing Letters, 5, 4, 351–
          368.
      •   Cattin, P. and D. R. Wittink (1982), “Commercial Use of Conjoint Analysis: A
          Survey,” Journal of Marketing, 46, 3, 44‒53.
      •   Huber, J. (1997), “What We Have Learned from 20 Years of Conjoint Research:
          When to Use Self-Explicated, Graded Pairs, Full Profiles or Choice Experiments,”
          Sawtooth Software Research Paper Series, 1–15.
      •   Kahneman, D. and A. Tversky (1979), “Prospect Theory: An Analysis of Decision
          Under Risk,” Econometrica, 47, 2, 263–292.
      •   Macdonald, E. K. and B. M. Sharp (2000), “Brand Awareness Effects on Consumer
          Decision Making for a Common, Repeat Purchase Product: A Replication,” Journal
          of Business Research, 48, 5–15.
      •   Skowronski, J. J. and D. E. Carlston (1989), “Negativity and Extremity Biases in
          Impression Formation: A Review of Explanations,” Psychological Bulletin, 105, 1,
          131–142.




                                                                                            Page 1
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 106 of 110 PageID #:3892
                                                                       Appendix C



Books and Book Chapters

      •   Allen, M. A., R. E. Hall, and V. A. Lazear (2011), “Reference Guide on Estimation of
          Economic Damages,” in Reference Manual on Scientific Evidence, Washington, D.
          C.: The National Academies Press, 425–502.
      •   Allenby, G., N. Hardt, and P. Rossi (2019), “Economic Foundations of Conjoint
          Analysis,” in Handbook of the Economics of Marketing, Vol. 1, J.-P. H. Dubé and P.
          E. Rossi, eds. Oxford, UK: North-Holland, 151–192.
      •   Diamond, S. S. (2011), “Reference Guide on Survey Research,” in Reference Manual
          on Scientific Evidence, Washington, D. C.: The National Academies Press, 359–423.
      •   Goolsbee, A., S. Levitt, and C. Syverson (2016), “Supply and Demand,” in
          Microeconomics, New York, NY: Worth Publishers, 11–51.
      •   Kotler, P., and K. L. Keller (2016), Marketing Management, Essex, England:
          Pearson Education Limited.
      •   Krosnick, J. A., and S. Presser (2010), “Question and Questionnaire Design,” in
          Handbook of Survey Research, J. D. Wright and P. V. Marsden, eds., West Yorkshire,
          England: Emerald Group Publishing Limited, 263–313.
      •   Mankiw, N. G. (2008), “The Market Forces of Supply and Demand,” in Principles of
          Microeconomics, Mason, OH: South-Western Cengage Learning, 65–88.
      •   Mas-Colell, A., M. D. Whinston, and J. R. Green (1995), “Competitive Markets,” in
          Microeconomic Theory, New York, NY: Oxford University Press, 311–343.
      •   Nicholson, W. (1998), Microeconomic Theory: Basic Principles and Extensions,
          Orlando, FL: The Dryden Press.
      •   Orme, B. K. (2014), Getting Started with Conjoint Analysis: Strategies for Product
          Design and Pricing Research, Manhattan Beach, CA: Research Publishers LLC.
      •   Peter, J. P. and J. C. Olson (2010), “Affect and Cognition and Marketing Strategy,” in
          Consumer Behavior and Marketing Strategy, New York, NY: McGraw-Hill/Irwin,
          36–65.
      •   Pindyck, R. S., and D. L. Rubenfeld (2009), Microeconomics, Upper Saddle River,
          NJ: Pearson Education, Inc.
      •   Rao, V. R. (2014), Applied Conjoint Analysis, New York, NY: Springer.
      •   Varian, H. R. (1992), “Competitive Markets,” in Microeconomic Analysis, New
          York, NY: W. W. Norton & Company, Inc., 215–232.




                                                                                          Page 2
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 107 of 110 PageID #:3893
                                                                       Appendix C



Depositions

      •   Deposition of Sean P. Callan, Ph. D, May 9, 2019.
      •   Deposition of Jeff Johnston, June 24, 2020.
      •   Deposition of Jennifer Song, August 25, 2020.
      •   Deposition of Scott Wertkin, August 31, 2020.
      •   Deposition of Tracy Knierim, October 7, 2020.
      •   Deposition of Cheryl Wellnitz, October 14, 2020.
      •   Deposition of Ramy Shaker, October 21, 2020.
      •   Deposition of Lisa Barta, October 22, 2020.
      •   Deposition of Kathleen Paradowski, October 28, 2020.
      •   Deposition of Joan Meyer, November 13, 2020.
      •   Deposition of Afshin Zarinebaf, November 23, 2020.
      •   Deposition of Bruce Silverman, November 24, 2020.
      •   Deposition of Stefan Boedeker (Rough Transcript), December 2, 2020.
      •   Deposition of Zachary Chernik, December 8, 2020.
      •   Deposition of Stefan Boedeker, March 16, 2021.
      •   Deposition of Bruce Silverman, March 17, 2021.

Expert Reports

      •   Expert Report of Stefan Boedeker in Support of Plaintiff’s Motion for Class
          Certification, Kellie Loeb et al., v. Champion Petfoods USA Inc. et al., United States
          District Court, Eastern District of Wisconsin, Case No. 18-494, November 16, 2018,
          and backup materials.
      •   Expert Report of Stefan Boedeker, Jennifer Song et al., v. Champion Petfoods USA,
          Inc. et al., United States District Court, District of Minnesota, Case No. 18-cv-03205-
          PJS-KMM, November 2, 2020, and backup materials.
      •   Expert Report of Stefan Boedeker, Ramy Shaker et al., v. Champion Petfoods USA,
          Inc. et al., United States District Court, Eastern District of Michigan, Case No. 2:18-
          cv-13603-LJM-DRG, February 24, 2021, and backup materials.
      •   Expert Report of Stefan Boedeker, Rachel Colangelo et al., v. Champion Petfoods
          USA, Inc. et al., United States District Court, Northern District of New York, Case
          No. 6:18-CV-01228-LEK-DEP, February 24, 2021, and backup materials.



                                                                                             Page 3
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 108 of 110 PageID #:3894
                                                                       Appendix C



      •   Expert Report of Stefan Boedeker, Afshin Zarinebaf et al., v. Champion Petfoods
          USA, Inc. et al., United States District Court, Northern District of Illinois, Eastern
          Division, Case No. 1:18-cv-06951, February 24, 2021, and backup materials.
      •   Expert Report of Dr. Robert H. Poppenga, DVM, PhD, DABVT, Ramy Shaker et al.,
          v. Champion Petfoods USA, Inc. et al., United States District Court, Eastern District
          of Michigan, Case No. 2:18-cv-13603-LJM-DRG, February 19, 2021.
      •   Expert Report of Dr. Robert H. Poppenga, DVM, PhD, DABVT, Rachel Colangelo et
          al., v. Champion Petfoods USA, Inc. et al., United States District Court, Northern
          District of New York, Case No. 6:18-cv-01228-LEK-DEP, February 19, 2021.
      •   Expert Report of Dr. Robert H. Poppenga, DVM, PhD, DABVT, Afshin Zarinebaf et
          al., v. Champion Petfoods USA, Inc. et al., United States District Court, Northern
          District of Illinois, Eastern Division, Case No. 18-cv-06951, February 19, 2021.
      •   Expert Report of Bruce G. Silverman, Jennifer Song et al., v. Champion Petfoods
          USA, Inc. et al., United States District Court, District of Minnesota, Case No. 18-cv-
          03205-PJS-KMM, November 2, 2020.
      •   Expert Report of Bruce G. Silverman, Ramy Shaker et al., v. Champion Petfoods
          USA, Inc. et al., United States District Court, Eastern District of Michigan, Case No.
          2:18-cv-13603-LJM-DRG, February 24, 2021.
      •   Expert Report of Bruce G. Silverman, Rachel Colangelo et al., v. Champion Petfoods
          USA, Inc. et al., United States District Court, Northern District of New York, Case
          No. 6:18-CV-01228-LEK-DEP, February 24, 2021.
      •   Expert Report of Bruce G. Silverman, Afshin Zarinebaf et al., v. Champion Petfoods
          USA, Inc. et al., United States District Court, Northern District of Illinois, Eastern
          Division, Case No. 1:18-cv-06951, February 24, 2021.

Legal Documents

      •   Declaration of Christopher Milam, Kellie Loeb et al., v. Champion Petfoods USA, Inc.
          et al., United States District Court, Eastern District of Wisconsin, Case No. 2:18-cv-
          00494-JPS, December 7, 2018.
      •   Declaration of Christopher Milam, Scott Weaver et al., v. Champion Petfoods USA,
          Inc. et al., United States District Court, Eastern District of Wisconsin, Case No. 2:18-
          cv-1996-JPS, March 3, 2020.
      •   Second Amended Class Action Complaint, Ramy Shaker et al., v. Champion Petfoods
          USA, Inc. et al., United States District Court, Eastern District of Michigan, Case No.
          2:18-cv-13603-LJM-DRG, March 20, 2020.




                                                                                              Page 4
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 109 of 110 PageID #:3895
                                                                       Appendix C



      •    Second Amended Class Action Complaint, Rachel Colangelo et al., v. Champion
           Petfoods USA, Inc. et al., United States District Court, Northern District of New
           York, Case No. 6:18-CV-01228-LEK-DEP, April 24, 2020.
      •    Third Amended Class Action Complaint, Afshin Zarinebaf et al., v. Champion
           Petfoods USA, Inc. et al, United States District Court, Northern District of Illinois,
           Eastern Division, Case No. 1:18-cv-06951, June 17, 2020.

Websites

      •    “Meadowland,” Acana, https://acana.com/en_US/for-dogs-1/meadowland/ds-aca-
           meadowlands-dog.html.
      •     “Lamb & Apple Recipe,” Acana, https://acana.com/en-US/for-dogs-1/ lamb-and-
           apple-recipe/ds-aca- singles-lamb-apple-2020.html.
      •    “Free-Run Poultry Formula,” Acana, https://acana.com/en-US/for-dogs-1/free-run-
           poultry-formula/ds-aca-free-run-poultry.html.
      •    “Duck & Pear Recipe,” Acana, https://acana.com/en-US/for-dogs-1/duck-and-pear-
           recipe/ds-aca-singles-duck-pear-2020.html.
      •    “Six Fish,” Orijen, https:// orijen.ca/en-US/for-dogs-2/six-fish/ds- ori-six-fish-
           dog.html.
      •    “Acana vs. Pedigree,” PawDiet.com, https://www.pawdiet.com/compare/acana-vs-
           pedigree-pet-food-brand-comparison/.
      •    “Buying & Choosing Pet Food is Priority, petMD Survey Finds,” PetMD,
           https://www.petmd.com/dog/nutrition/buying-choosing-pet-food-priority-petmd-
           survey-finds.
      •    “Cheap Vs. Expensive Running Shoes: Does It Matter,” Podium Runner, February
           19, 2018, https://www.podiumrunner.com/gear/cheap-vs-expensive-shoes-matter/.
      •    “Dry Dog Food,” Petco,
           https://www.petco.com/shop/en/petcostore/category/dog/dog-food/dry-dog-food.
      •    “How to Choose the Best Pet Food for Puppies,” VetStreet, March 11, 2014,
           http://www.vetstreet.com/drmarty-becker/how-to-choose-the-best-pet-food-for-
           puppies.
      •    “Nike ZoomX Vaporfly NEXT%,” Nike, https://www.nike.com/t/zoomx-vaporfly-
           next-running-shoe-4Q5jfG/AO4568-800.
      •    “Orijen vs. Pedigree,” PawDiet.com, https://www.pawdiet.com/compare/orijen-vs-
           pedigree-pet-food-brand-comparison/.
      •    “Our Brands,” Champion Petfoods, https://championpetfoods.com/our-brands.html.



                                                                                                Page 5
Case: 1:18-cv-06951 Document #: 117-2 Filed: 05/06/21 Page 110 of 110 PageID #:3896
                                                                       Appendix C



      •   “Rachel Ray Nutrish Just 6 Natural Grain-Free Turkey Meal & Pea Limited
          Ingredient Diet Dry Dog Food,” Chewy, https://www.chewy.com/rachael-ray-nutrish-
          just-6-natural/dp/170595.
      •   “What Every Pet Owner Should Know about Food Allergies,” Clinical Nutrition
          Service at Cummings School, January 27, 2017,
          http://vetnutrition.tufts.edu/2017/01/food-allergies/.
      •   “Why You Should Tailor Your Dog’s Food to Their Age and Breed,” The Telegraph,
          December 15, 2017, https://www.telegraph.co.uk/pets/family-animals/choose-the-
          right-food-for-your-dog/.

Bates Stamped Documents

      •   CFP1766183.xlsx
      •   CPF0145434–5538




                                                                                        Page 6
